        Case 3:14-cv-01279-BR Document 18 Filed 09/08/14 Page 1 of 28
        Case 3:14-cv-01532-BR Document 1-3 Filed 09/25/14 Page 1 of 86




Brenna K. Legaard, OSB #001658
Email: blegaard@schwabe.com
Jeffrey S. Eden, OSB #851903
Email: jeden@schwabe.com
SCHWABE, WILLIAMSON & WYATT, P.C.
1211 SW 5th Avenue, Suite 1900
Portland, OR 97204
Telephone: 503-222-9981
Facsimile: 503-796-2900

Karen G. Johnson-McKewan, admitted pro hac vice
Email: kjohnson-mckewan@orrick.com
Robert S. Shwarts, admitted pro hac vice
Email: rshwarts@orrick.com
Erin M. Connell, admitted pro hac vice
Email: econnell@orrick.com
ORRICK, HERRINGTON & SUTCLIFFE LLP
The Orrick Building
405 Howard Street
San Francisco, CA 94105-2625
Telephone: (415) 773-5700
Facsimile: (415) 773-5759

Dorian E. Daley, pro hac vice pending
Email: dorian.daley@oracle.com
Deborah K. Miller, pro hac vice pending
Email: deborah.miller@oracle.com
Peggy E. Bruggman, pro hac vice pending
Email: peggy.bruggman@oracle.com
ORACLE CORPORATION
LEGAL DEPARTMENT
500 Redwood Shores, CA 94065
Telephone: 650-506-9534
Facscimile: 650-506-7114

Attorneys for Oracle America, Inc.




                                                                 EXHIBIT C
                                                              PAGE 1 OF 189
        Case 3:14-cv-01279-BR Document 18 Filed 09/08/14 Page 2 of 28
        Case 3:14-cv-01532-BR Document 1-3 Filed 09/25/14 Page 2 of 86




                          THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF OREGON

                                       PORTLAND DIVISION




ORACLE AMERICA, INC., a Delaware                                             No. 3:14-cv-01279-BR
Corporation,
                                                   AMENDED COMPLAINT
                                                   FOR:
                          Plaintiff,
                                                   (1) COPYRIGHT INFRINGEMENT
   v.                                              (2) BREACH OF CONTRACT;
                                                   (3) BREACH OF THE IMPLIED
THE OREGON HEALTH INSURANCE                            COVENANT OF GOOD FAITH AND
EXCHANGE CORPORATION, dba                              FAIR DEALING; AND
COVER OREGON, an Oregon Limited                    (4) QUANTUM MERUIT
Liability Corporation; THE STATE OF                DEMAND FOR JURY TRIAL
OREGON, BY AND THROUGH THE
OREGON HEALTH AUTHORITY AND
THE OREGON DEPARTMENT OF
HEALTH SERVICES, AND DOES 1-25,
INCLUSIVE

                         Defendants.

        Plaintiff Oracle America, Inc. (“Oracle “) brings this Complaint against Defendant The

Oregon Health Insurance Exchange Corporation, doing business as Cover Oregon (“Cover

Oregon”), and Defendant the State of Oregon, through its agencies the Oregon Health Authority

(“OHA”) and Department of Health Services (“DHS”), for copyright infringement, breach of

contract, breach of the implied covenant of good faith and fair dealing, and quantum meruit

based on Cover Oregon’s continued use, distribution and preparation of derivative works based

on software developed by Oracle for which Cover Oregon has not paid as required under the

parties’ agreements. Payment was an express condition to the licenses for the custom software

that Oracle created, and the failure to pay means that Cover Oregon, OHA and DHS have no

right to reproduce, prepare derivative works, distribute, or publicly display the software.



                                                                                    EXHIBIT C
                                                                                 PAGE 2 OF 189
        Case 3:14-cv-01279-BR Document 18 Filed 09/08/14 Page 3 of 28
        Case 3:14-cv-01532-BR Document 1-3 Filed 09/25/14 Page 3 of 86




       Oracle is a company with a 30-year history of successfully developing and implementing

some of the most complex technical systems in the world, including the health insurance

exchanges of at least a half dozen states. Oregon hired Oracle—among many others—to help

build Oregon’s health insurance exchange, and Oracle worked at Oregon’s direction on that

project. Since October 1, 2013, hundreds of thousands of Oregonians have been enrolled in

health insurance or Medicaid through the use of the software that Oracle and others built. That,

however, is a fact most Oregonians do not understand, because when the press reported that the

exchange was not accessible for consumer self-service on October 1, 2013, public officials chose

not to give a measured, fully informed response. Cover Oregon and public officials could have

done two things in the face of those press reports: (a) own up to the management and technical

challenges they had encountered and commit to a plan for resolving them; or (b) blame someone

else. They chose the latter, and fixed their sights on Oracle. While flogging Oracle publicly,

Cover Oregon continued privately to ask for Oracle’s help. (Indeed, it continues to this day to

seek Oracle’s technical help with the project). Oracle gave that help for many months, in spite of

the public excoriation, because it was committed to helping Cover Oregon complete the project

and because Cover Oregon repeatedly promised to pay Oracle for its services. In the end,

though, Cover Oregon reneged on its promises, thus prompting this lawsuit.

       Oracle seeks damages and any such other relief as the Court may deem proper. Oracle

alleges the following based on personal knowledge and on information and belief as to the acts

of others:

                                           PARTIES

       1.      Plaintiff Oracle is a subsidiary of Oracle Corporation, and is a Delaware

corporation whose principal place of business is Redwood City, California. Oracle develops and




                                                                                   EXHIBIT C
                                                                                PAGE 3 OF 189
         Case 3:14-cv-01279-BR Document 18 Filed 09/08/14 Page 4 of 28
         Case 3:14-cv-01532-BR Document 1-3 Filed 09/25/14 Page 4 of 86




licenses certain intellectual property, including enterprise software programs and related

services. Oracle is the world’s leading supplier of enterprise hardware and software systems and

related technical support and consulting services for those systems. Oracle’s enterprise software

includes the “Oracle Enterprise Architecture” solution, the “Oracle Policy Automation” solution,

and the “Siebel Customer Relationship Management” applications, all of which can be

customized to meet the needs of customers.

         2.    On information and belief, Defendant Cover Oregon is an Oregon public

corporation under ORS 741.001(1) with its principal place of business at 16760 S.W. Upper

Boones Ferry Road, Suite 200, Durham, in Washington County, Oregon 97224. Cover Oregon

does business in the District of Oregon.

         3.    On information and belief, Defendant Oregon Department of Health Services

(“DHS”) is the agency of the state of Oregon responsible for most of the state’s social services

programs. Defendant Oregon Health Authority (“OHA”) is the agency of the state of Oregon

responsible for managing most of the state’s health care programs, including the state’s Medicaid

program. During at least a portion of the period relevant to this action, OHA was a part of DHS,

and entered into contracts with Oracle on behalf of both agencies. Oracle is informed and

believes that OHA is now a fully separate and independent agency of the state of Oregon.

                                JURISDICTION AND VENUE

         4.    The Court has federal question subject matter jurisdiction under 28 U.S.C. § 1331

because the federal courts are vested with exclusive jurisdiction in copyright cases. 28 U.S.C.

§1338(a). The Court independently has diversity jurisdiction over the claims between Oracle

and Cover Oregon because they are citizens of different states and the amount in controversy

exceeds $75,000, excluding interest and costs. Additionally and independently, this Court may

properly exercise supplemental jurisdiction over the state law claims pursuant to 28 U.S.C.

§1367(a) because they are related to and form part of the same subject matter as the copyright

claim.




                                                                                   EXHIBIT C
                                                                                PAGE 4 OF 189
        Case 3:14-cv-01279-BR Document 18 Filed 09/08/14 Page 5 of 28
        Case 3:14-cv-01532-BR Document 1-3 Filed 09/25/14 Page 5 of 86




       5.      Venue in this District is appropriate because Cover Oregon has consented to

venue in this District in its contract with Oracle, including the Oracle License and Services

Agreement signed by the parties on or around March 14, 2013, in which Cover Oregon agreed:

               This agreement is governed by the substantive and procedural laws
               of Oregon and you and Oracle agree to submit to the exclusive
               jurisdiction of, and venue in, if in state Courts, in the Circuit Court
               of the State of Oregon for Marion County or, if in federal courts,
               the United States District Court for the District of Oregon, in any
               dispute arising out of or relating to this agreement.

Identical language appears in a separate agreement dated November 30, 2011, entered into

between Oracle, on the one hand, and DHS and OHA, on the other.

       6.      Venue in this District is also appropriate under 28 U.S.C. § 1391 as Cover Oregon

is headquartered in Durham, in Washington County in Oregon.

                                  FACTUAL ALLEGATIONS
            THE HISTORY OF THE OREGON HEALTH INSURANCE EXCHANGE PROJECT


       7.      On March 23, 2010, President Obama signed into law the Patient Protection and

Affordable Care Act (“ACA”), establishing the legal foundations for states to create health

insurance exchanges by which individuals and small businesses could compare and purchase

health insurance policies and, where eligible, obtain federal subsidies for premium payments.

       8.      At the time the ACA was enacted, the state of Oregon’s Department of Health and

Human Services (“DHS”) was already engaged in an ambitious IT project of its own to

modernize its delivery of health and human services to low-income Oregonians. Oregon was

preparing to undertake what it called its “Modernization” project designed to upgrade Oregon’s

Internet-based health and human services information technology system, by which Oregon

would provide web accessibility, for both consumers and caseworkers, to its social services

programs, such as the Supplemental Nutrition Assistance Program, Temporary Assistance for

Needy Families, and Medicaid.




                                                                                     EXHIBIT C
                                                                                  PAGE 5 OF 189
        Case 3:14-cv-01279-BR Document 18 Filed 09/08/14 Page 6 of 28
        Case 3:14-cv-01532-BR Document 1-3 Filed 09/25/14 Page 6 of 86




       9.      In 2009, while the DHS Modernization Project was in its early stages, the Oregon

Legislature created the Oregon Health Authority (“OHA”) to which it transferred some of the

programs long resident under the DHS umbrella, including the state’s health-related programs.

The transition was expected to take two years to complete, from 2009 to 2011. As a result of

that redistribution of work, the Modernization Project included elements of programming that

spanned both agencies, necessitating substantial coordination between those two organizations

and development of a shared administrative services system for the two entities.

       10.     Passage of the ACA in the midst of the DHS/OHA transition presented Oregon

with another massive technical and organizational challenge: creating its own health insurance

exchange. Oregon decided not only to build its own exchange, but to integrate it with its to-be-

modernized health and human services programs. Oregon thus undertook two major information

technology projects at once, at least one of which had no established template or precedent, and

whose legal parameters were still a work in progress.

       11.     Oregon compounded the already high level of difficulty of its undertaking with at

least three more decisions:

               (a)     Rather than engage the services of an experienced system integrator—in

effect, a general contractor to manage the massive project—Oregon decided to manage the

project by itself, despite having little or no experience with projects of such novelty, complexity

or scale. That decision was akin to an individual with no construction experience undertaking to

manage the processes of designing and building a massive multi-use downtown skyscraper

without an architect or general contractor, instead engaging and managing dozens of separate

subcontractors with different specialties to build different parts of the project.

               (b)     Oregon was already developing the Modernization project across two

bureaucracies—DHS and the recently created OHA—and added development of the health

insurance exchange to OHA’s responsibilities. Then, when OHA ran out of federal grant money

to build the exchange (which was then still very much a work in progress), it hastily transferred

responsibility for construction of the exchange to the newly created entity, Cover Oregon, which



                                                                                        EXHIBIT C
                                                                                     PAGE 6 OF 189
        Case 3:14-cv-01279-BR Document 18 Filed 09/08/14 Page 7 of 28
        Case 3:14-cv-01532-BR Document 1-3 Filed 09/25/14 Page 7 of 86




had qualified for substantial federal grant money intended to sustain its operation of the

exchange. Using funds supplied entirely from the federal government, the state thus undertook a

multi-part project of unprecedented size and complexity for which it had no expertise, divided

responsibility for its management and decision-making among multiple organizations, and

decided to forego hiring any experienced professionals to lead the project. It then abruptly

transferred the uncompleted work to a separate entity when the state ran out of federal money. In

other words, decisions about how to erect that downtown skyscraper without an architect or a

general contractor were now going to be made by a group of inexperienced people who could not

agree on how to make decisions, let alone which decisions were most important. That same

group of people was also going to direct the work of a large collection of subcontractors, each of

whom played a different role in relation to the projects, and all of whose work required

coordination. Oracle was just one of many contractors engaged for these projects, a list that

included Deloitte & Touche, Eagle Creek Software Services, Speridian Technologies, Point B

Management Consultants, KPMG LLP, Maximus Inc., Cognosante, LLC, TahoeBlu, Inc., Purple

Squirrel, Walsh & Associates, LLC, Wakely Consulting Group, Radha Consulting, and a variety

of individual consultants. (One of those contractors—Maximus, Inc.—was hired for the express

purpose of enabling OHA, and later Cover Oregon, “to understand known and probable risks,

and establish priorities for mitigation/remediation strategies.” Maximus dutifully reported on the

risks, but OHA and Cover Oregon seemed largely to ignore the contents of those reports.)

               (c)     When OHA handed the health insurance exchange (sometimes referred to

as “HIX”) project to Cover Oregon just a few months before the October 1, 2013 open

enrollment start date under the ACA, Cover Oregon decided that it would operate in a

technological environment (comprised of hardware and software) that was entirely separate from

that being used for the Modernization project. That decision alone caused substantial additional

costs, weeks of delays, and wholly unnecessary additional complexity. Oracle is informed and

believes this decision was the direct result of bureaucratic dysfunction between DHS and OHA,

and those two agencies’ inability to work with the brand new Cover Oregon.



                                                                                    EXHIBIT C
                                                                                 PAGE 7 OF 189
        Case 3:14-cv-01279-BR Document 18 Filed 09/08/14 Page 8 of 28
        Case 3:14-cv-01532-BR Document 1-3 Filed 09/25/14 Page 8 of 86




       12.     Throughout the time that Oracle worked for DHS, OHA, and Cover Oregon, all of

them ignored repeated warnings from Oracle and their own advisors that the project was in

trouble for reasons only they could correct, including:

               (a)     The government bureaucracies and Cover Oregon worked poorly together.

They did not agree on work priorities, they competed with one another for resources and in

decision-making, and they failed to provide authoritative direction to all of the contractors

working on the project. Communications among the different entities were “ineffective and at

times contentious,” according to a report commissioned by Oregon’s governor. For example, at

one point, OHA’s Chief Information Officer complained to Oracle personnel that Cover

Oregon’s efforts were “becoming highly disruptive to the Modernization effort,” and that her

team felt “they are being run over” by Cover Oregon. As a result, one organization would make

decisions without taking account of implications of that decision for the work being performed

for the other organization; the result was often duplication of effort and rework. That

dysfunction endured throughout the project. As late as mid-September 2013—just two weeks

before the start of the federally-mandated open-enrollment period—Maximus issued a report in

which it observed that the overall “business transformation/integration between OHA and CO is

not being tracked like a formal project. Typically a project of this size would have specific

governance reporting, charter, scope, tasks, milestones, deliverables, and deadlines for the

interagency work that is to be accomplished both operationally and technically.” The risk

Maximus identified that flowed from this was that Cover Oregon could not be sure that the

project would be implemented in the expected timeframe.

               (b)     Cover Oregon failed to make timely decisions either alone, or with OHA

and DHS, about the health insurance exchange’s functional requirements, which serve to provide

the overall structure and scope of the IT project. On a large project, it is critical for the system

integrator to define functional requirements early on in the project and adhere to those

requirements. With Cover Oregon and the state agencies acting as the system integrator, the

obligation to provide those functional requirements rested solely with them, and not with Oracle.



                                                                                      EXHIBIT C
                                                                                   PAGE 8 OF 189
         Case 3:14-cv-01279-BR Document 18 Filed 09/08/14 Page 9 of 28
         Case 3:14-cv-01532-BR Document 1-3 Filed 09/25/14 Page 9 of 86




Indeed, the organizations involved in the project could not even agree on a single process for

defining those functional requirements. In late January or early February 2012, a group of state

employees took a 60-day “retreat” for the express purpose of articulating the project’s

requirements, and returned empty-handed. The quality assurance consultant, Maximus, Inc.,

reported on the lack of fully-articulated requirements in its March 2012 report (“Requirements

baseline should have been completed and approved by the customer at this phase in the project”).

While Maximus characterized the 60-day retreat as “a step in the right direction,” it expressed

doubt about the likely efficacy of the effort, since it wasn’t clear that key stakeholders at OHA or

DHS were even involved. By June 2012, Maximus reported:

               HIX Corp. [later known as Cover Oregon] did not perceive that
               requirements had been adequately defined and in early February of
               2012, it was announced that they were undertaking an effort to
               define the business requirements. This effort was originally
               defined as a 60 day effort, but it has taken longer than originally
               stated and full requirement definition is not expected to conclude
               until mid to late June. To date, a detailed schedule of this effort has
               not been made available to the MAXIMUS Team and it is our
               understanding that it is under development.

         13.   This failure to make (or stand by) essential decisions persisted for the duration of

the project. At one point, then interim director of Cover Oregon, Dr. Bruce Goldberg, confided

to Oracle personnel that getting Cover Oregon personnel to make decisions was “like pushing a

rope.”

               (a)     Cover Oregon and state agency representatives involved in the project

changed their minds frequently about the work they wanted performed and how they wanted it

completed, and did not follow appropriate channels within either their own decision-making

organizations or the Oracle team to communicate desired changes. Oracle software developers

found themselves asked to perform on-the-spot code changes to meet ad hoc requests from

Cover Oregon employees (a phenomenon Cover Oregon’s Chief Technology Officer himself

acknowledged was “short circuiting our processes”), and at least one Cover Oregon employee




                                                                                     EXHIBIT C
                                                                                  PAGE 9 OF 189
       Case 3:14-cv-01279-BR Document 18 Filed 09/08/14 Page 10 of 28
       Case 3:14-cv-01532-BR Document 1-3 Filed 09/25/14 Page 10 of 86




attempted to implement his own changes to otherwise final code. The consequences of these

uncontrolled changes and shifting priorities were entirely predictable. Although Oracle

attempted to persuade its customers to implement and enforce controls on its change processes,

Cover Oregon did not heed Oracle’s advice, and instead scolded Oracle for overstepping its

bounds with respect to project management. The following exchange between Oracle’s Chief

Corporate Architect, Edward Screven, and Cover Oregon’s Chief Technology Officer, Garrett

Reynolds is illustrative of the problem:

               From: Edward Screven [mailto: [address redacted]]
               Sent: Thursday, January 16, 2014 5:15 PM
               To: Reynolds Garrett
               Cc: Goldberg, Bruce; Karjala Aaron
               Subject: Urgent: Administrative Access to Siebel

               Garrett,
               Oracle employees on site in Durham report that in a meeting today
               you stated that you now have Siebel Administrator privilege, and
               you have used that privilege to directly make environment and
               application changes to the production environment. Is this
               correct?
               Following established change control procedures is essential.
               Making any change to production without following proper
               procedure puts the system at risk, both at the time of the change
               and later, during upgrades. If you have made such changes, please
               send a written description of each change, including when you
               made it. Also, please do not make any more changes.
               From past email you have written, I gather you believe you
               understand Siebel so well that you can make changes on your own,
               without involving others or following process. But even trivial
               changes can result in confusion that leads to serious mistakes down
               the road, and even an expert can make mistakes. Recall that your
               proposed procedure to complete migration of data elements to data
               vault would have resulted data loss.
                 - Edward


                                               …




                                                                                 EXHIBIT C
                                                                             PAGE 10 OF 189
        Case 3:14-cv-01279-BR Document 18 Filed 09/08/14 Page 11 of 28
        Case 3:14-cv-01532-BR Document 1-3 Filed 09/25/14 Page 11 of 86




               On 1/16/2014 6:28 PM, Reynolds Garrett wrote:

               I thought Cover Oregon paid for and owned the system....
               Thanks


               B. Garrett Reynolds
               Chief Technology Officer
               Cover Oregon | [redacted]
               [redacted] | [redacted]


        14.    Cover Oregon had ample and repeated warnings that the healthcare exchange

might not be fully functional for consumers on October 1, 2013, the date the state and federal
insurance exchanges were required to go live under the ACA. Maximus issued monthly reports

throughout most of the project to Cover Oregon, and warned about trouble with development of

the insurance exchange from the start. For example, in March 2012, Maximus wrote:

               Detailed and maintainable functional and technical requirements
               are critical to the success of the project. As of February 2012, gaps
               in requirements are unknown. There have been multiple attempts
               to clarify requirements, but as yet none have been adequate. In an
               attempt to address some of the past failed efforts, a new
               requirements process (called the ‘60-day’ Requirements Process)
               was introduced on 02/08/12 and will be ‘owned’ by HIX
               Corporation rather than HIX-IT. Clearly articulating ownership of
               this process is a step in the right direction. However, the
               involvement of other stakeholders, including OHA and DHS, are
               [sic] not yet clear. Nor is there a way as yet to determine if the 60
               day time frame is realistic.

A year later, the March 2013 Maximus report still flagged the lack of solid requirements as a

risk:

               With the project deadline less than 1 year away and the lack of a
               stable and experienced organization, development and delivery
               teams within OHA as well as the requirements delay within [Cover
               Oregon], the probability of missing the target date is currently an
               issue.

In May of 2013, Cover Oregon’s then-executive director, Rocky King, admitted requirements

were still not adequate and asked Oracle for help in finalizing the technical requirements:




                                                                                   EXHIBIT C
                                                                               PAGE 11 OF 189
       Case 3:14-cv-01279-BR Document 18 Filed 09/08/14 Page 12 of 28
       Case 3:14-cv-01532-BR Document 1-3 Filed 09/25/14 Page 12 of 86



               The on the ground Oracle team has informed Cover Oregon that
               we still need to tighten up requirements in some areas. When we
               looked into it, we found three areas where requirements still need
               to be fully developed. These include the back office customer
               service areas, some global user interface functions and security
               policies. When Cover Oregon looked into it further, we found that
               functional and technical design has not been fully updated since
               October of 2012. This poses issues with system integration testing,
               and also puts Cover Oregon at risk due to not having a fully
               documented system. Cover Oregon requests that Oracle helps to
               tighten up any remaining requirements as well as puts focus on
               completing technical documentation as soon as possible by
               bringing in additional resources. We do not want to divert the on-
               the-ground developers and analysts.

This request was an extraordinary one: Cover Oregon was the owner of the project and therefore

responsible for making decisions about what the exchange would and wouldn’t do. The parties’

contracts made it abundantly clear that Oracle had no role in establishing the functional

requirements for the exchange, and Cover Oregon should have finalized them long before May

of 2013.
       15.     In late July 2013—just two months before the October 1, 2013 deadline—Oracle

made a presentation to the Cover Oregon board in which it explained that Cover Oregon still had

not completed its work on functional requirements for the exchange, and noted that there was

only limited time remaining for final functional and integration testing. Without finalized

requirements and complete use cases, Oracle could perform only limited testing (with respect to

the work and areas of the site that had been completed), but not end-to-end performance testing.

The report to the Cover Oregon board stated that the project was at substantial risk. The

Maximus report for July reiterated that warning, putting the overall risk level for the project at

“high.” It explained in its executive summary:

               Please note, that while progress was made during the month, the
               progress was not considered significant enough to lower the
               overall risk of the whole endeavor. In other words, progress in
               some areas since last month is offset by the fact that there is one
               less month until the federally mandated deadlines. Additionally,
               each rating category will carry a different relative weight when
               assessing the overall risk level of the effort. For example, while 10
               out of 16 Quality Rating Categories are medium (yellow) or low
               (green), critical categories including “Scope,” “Schedule,” and




                                                                                     EXHIBIT C
                                                                                 PAGE 12 OF 189
       Case 3:14-cv-01279-BR Document 18 Filed 09/08/14 Page 13 of 28
       Case 3:14-cv-01532-BR Document 1-3 Filed 09/25/14 Page 13 of 86



               “Inter-Org Coordination” remain high (red), which drives the
               overall high (red) risk assessment.

       16.     Cover Oregon continued to ignore most of those warnings until virtually the eve

of the deadline. Just two weeks before the deadline, an Oracle consultant advised Cover

Oregon’s Chief Information Officer, Aaron Karjala, that it was time to stop issuing change

orders, that two more had just been “auto-approved” with demands for immediate

implementation, and both were likely to create more problems than they solved. The message

reported:

               As we all knew would happen, as 10/1 approaches, stakeholders
               are starting to throw everything into the wheelbarrow with hopes
               of getting it in. I’m also seeing [Cover Oregon] members coming
               down to the Training Room and interacting with the developers,
               speaking to these new requirements. We’ve had the CR [change
               request] process for some time and though it’s not without its
               flaws, it has been pretty functional in adding order to the
               requirements channel. I feel like when we need that order most we
               are abandoning it. When the business walks downstairs and taps
               developers to talk new requirements with them it is a distraction at
               best and at worst we lose momentum and focus on priority items.

Maximus confirmed the truth of Oracle’s complaint about Cover Oregon’s ineffective change

control process. In its report issued two weeks before the October 1 deadline, Maximus reported

that “[u]nauthorized changes are still making their way into the system.”

       17.     On September 18, 2013—mere days before the October 1 deadline—Cover

Oregon’s Executive Director still had not grasped the deep substantive challenges to going live

that his organization had created in the development process. He repeatedly conveyed concern

about the “sizzle not the steak” of the massive IT project, as evidenced by a lengthy email he

wrote to an Oracle consultant in which he described his desire to make the website look good,

and apparently assumed the ongoing functional challenges would resolve themselves:

               Probably everyone will disagree with me[,] my staff, yours,
               consultants actually [sic] I know they would disagree with me –
               but step back and have a discussion with Aaron [Karjala]. Take a
               customer perspective rather than an IT perspective. Again, I do
               not want to detract from the priority 1’s that must be done to go
               live 10/1 but damn, if the road is going to be be [sic] bumpy, let
               me at least be driving a good looking car.



                                                                                   EXHIBIT C
                                                                               PAGE 13 OF 189
       Case 3:14-cv-01279-BR Document 18 Filed 09/08/14 Page 14 of 28
       Case 3:14-cv-01532-BR Document 1-3 Filed 09/25/14 Page 14 of 86



Emphasis original.
       18.     Starting in late August, 2013, Oracle added substantial additional resources to the

project at Cover Oregon’s request in hopes of accelerating the pace of work, instilling in the

Cover Oregon employees a greater sense of discipline about completing requirements and use

cases, and stopping the constant change orders, both formal and informal. Over several months,

Oracle committed, among others, its Chief Corporate Architect and members of his team,

members of Oracle’s “A Team,” (a highly-specialized technical team comprised of enterprise

architects, solution specialists and software engineers), representatives of Oracle Laboratories,

members of the Testing and Release Management Teams, as well as additional subject matter

experts in testing, release management, and the software products being deployed, to assist on

the project. Cover Oregon’s incapacity for lasting decision-making or project discipline,

however, continued to frustrate Oracle’s efforts at every turn. Nevertheless, Oracle continued to

work at Cover Oregon’s request, trying to drive the project to a conclusion.

       19.     In the months leading up to October 1, and continuing thereafter, Oracle did its

best to ensure that the most important pieces of the website—including eligibility determinations

and actual enrollment into programs—worked for Oregonians during the open-enrollment

period. At a high level, a fully-functioning exchange had to include four principal functions: (a)

a “citizen self-service” portal; (b) a portal through which Community Partners and Agents, as

well as Customer Service Representatives could gain access for customers; (c) eligibility

determination and enrollment functions; and (d) “back-office” operations for billing. Of these,

the most important were the second and third pieces that would enable insurance professionals to

process applications for individual customers, assess their eligibility and get them enrolled in

plans. This is where Oracle tried to focus its efforts, often in spite of Cover Oregon’s demands.

       20.     Despite the project’s technical and bureaucratic challenges, a website was

produced that enabled Cover Oregon and the state’s agencies to enroll more than 430,000

Oregonians in health insurance or Medicaid under the ACA, as Cover Oregon’s management

reported in June, 2014. While the consumer-facing, self-service portal did not open during the




                                                                                    EXHIBIT C
                                                                                PAGE 14 OF 189
        Case 3:14-cv-01279-BR Document 18 Filed 09/08/14 Page 15 of 28
        Case 3:14-cv-01532-BR Document 1-3 Filed 09/25/14 Page 15 of 86




initial open-enrollment period, Community Partners and Agents, and Customer Service

Representatives were able to use the site to enroll Oregonians.

       21.     By February, 2014, a health insurance exchange website existed that included the

citizen self-service functionality. Cover Oregon did not disclose that information to the public

and did not open the working self-service portal for individuals, for unexplained reasons of its

own. Between February and mid-June, Oracle continued to work (at Cover Oregon’s request) on

completing the back-office functionality and improving the other functionality that was already

in place.

       22.     Cover Oregon’s board of directors has since announced the intention to abandon

Cover Oregon’s plan to provide a state-based HIX for Oregon, and has announced instead that it

has transferred Oracle’s software code to the state.

                                     THE SMEAR CAMPAIGN
       23.     Though the state and Cover Oregon succeeded in enrolling a very large number of

Oregonians in health care coverage, the failure to deliver a working citizen self-service portal on

October 1, 2013 was a political embarrassment for Governor Kitzhaber, who immediately looked

for places to lay the blame. Among those who have lost their jobs at OHA or Cover Oregon over

this project are Carolyn Lawson, OHA’s Chief Information Officer; Rocky King, Cover

Oregon’s Executive Director; Bruce Goldberg, Cover Oregon’s Interim Executive Director;

Aaron Karjala, Cover Oregon’s Chief Technology Officer; and Triz delaRosa, Cover Oregon’s

Chief Operating Officer. Carolyn Lawson was the first to go, and after destroying her

professional reputation, the Governor quickly turned his sights on Oracle, and set out

systematically to vilify the company in the media.

       24.     Ms. Lawson refused to accept her scapegoating quietly, however. She issued a

tort claim notice on March 17, 2014 in which she alleged that several individuals associated with

Cover Oregon and OHA attempted to deflect responsibility for the problems with Cover Oregon

“by organizing, encouraging, allowing, tolerating and/or engaging in a substantial cover-up, the

purpose of which was to protect selected individuals … while unfairly and untruthfully pointing



                                                                                    EXHIBIT C
                                                                                PAGE 15 OF 189
       Case 3:14-cv-01279-BR Document 18 Filed 09/08/14 Page 16 of 28
       Case 3:14-cv-01532-BR Document 1-3 Filed 09/25/14 Page 16 of 86




the finger at others.” In that same notice, she went on to explain that the conspiracy she

observed “centered on a ‘core story’” that the exchange failed to launch properly for two

reasons: first, that Ms. Lawson had mismanaged it; and second, that “Oracle, which had been

hired to build most of the Exchange’s infrastructure, committed serious and fatal blunders in its

work.” According to Ms. Lawson, when she declined to go along with the plan to blame Oracle,

she was herself targeted. Her tort claim notice alleges that one OHA employee told her,

“’Somebody has to be held to blame for this—it’s going to be Rocky [King], or it’s going to be

Oracle, or it’s going to be you. We want it to be Oracle, but it can be you if you want.’”

(Emphasis added).

       25.     While Oracle continued to work on the exchange at Cover Oregon’s request,

Governor Kitzhaber embarked upon a months-long campaign to blame Oracle for OHA’s and

Cover Oregon’s mismanagement of the health insurance exchange project. In furtherance of that

campaign, Governor Kitzhaber held several interviews and press conferences during which he

blamed and criticized Oracle for the problems with the exchange. Critical to Governor

Kitzhaber’s scapegoating was the threat of litigation against Oracle. During a January 9, 2014

press conference, for example, Governor Kitzhaber announced that he hired First Data to

conduct an “independent assessment” of the Cover Oregon project, asserting First Data’s report

would determine, in part, whether Oregon would sue Oracle. Cover Oregon privately continued

to request Oracle’s help. Oracle, believing that the best solution for Oregonians was to focus on

completing the project, continued to work, quietly and without public retort, in spite of the

constant public slander.

       26.     When First Data’s report came out, it attributed a large part of the problems to

Cover Oregon’s mismanagement of the project including its failure to hire a systems integrator.

Governor Kitzhaber admitted “oversight was a problem at Cover Oregon…” He later admitted

in his May 29, 2014 letter to Attorney General Rosenblum that OHA’s and Cover Oregon’s

“decisions contributed to the failure to deliver a working website….” These admissions did not

slow his campaign against Oracle; in a March 20, 2014 press conference, Governor Kitzhaber



                                                                                    EXHIBIT C
                                                                                PAGE 16 OF 189
       Case 3:14-cv-01279-BR Document 18 Filed 09/08/14 Page 17 of 28
       Case 3:14-cv-01532-BR Document 1-3 Filed 09/25/14 Page 17 of 86




again blamed Oracle for the Oregon Health Exchange project’s shortcomings and repeated his

threat to sue the company. His campaign culminated on May 29, 2014 when he made a surprise

appearance before a committee of the Oregon Legislature excoriating Oracle for its work and

demanding that the Attorney General file suit. Even as the Governor threatened to sue Oracle,

Cover Oregon continued to ask for Oracle’s help and signed contract extensions, and Oracle

continued to work. Indeed, on July 25, 2014, Cover Oregon contractors asked Oracle to supply

personnel as subcontractors to assist them on the project, and Oracle continues today to render

managed cloud services to Cover Oregon.

       27.     Even after August 8, 2014, when Oracle filed its original complaint in this matter,

and again after August 22, 2014—when the state finally filed its long-threatened lawsuit against

Oracle—Cover Oregon, DHS and OHA continued to seek Oracle’s assistance with health

insurance exchange-related projects.

                                        THE CONTRACTS
       28.     The relationship between Oracle and Cover Oregon is defined by the contracts

between them by which the parties defined their respective rights and responsibilities. Oracle

has performed its obligations under those agreements, but Cover Oregon has not.

       29.     As of April 30, 2013, OHA ran out of money for the insurance exchange project.

Because Cover Oregon had received substantial federal funding to run the exchange, OHA and

Cover Oregon agreed to transfer the exchange project ahead of schedule and, on or about May 1,

2013, Cover Oregon assumed ownership of the project and responsibility for managing the

insurance exchange project and its many subcontractors from that point forward.

       30.     In anticipation of transferring the health insurance exchange project to Cover

Oregon, on or about March 14, 2013, Cover Oregon and Oracle entered into an Oracle License

and Services Agreement (“OLSA”), a true and correct copy of which, including all amendments,

is attached hereto as Exhibit A. Under the Cover Oregon OLSA (as under all prior agreements




                                                                                  EXHIBIT C
                                                                              PAGE 17 OF 189
       Case 3:14-cv-01279-BR Document 18 Filed 09/08/14 Page 18 of 28
       Case 3:14-cv-01532-BR Document 1-3 Filed 09/25/14 Page 18 of 86




with the State Agencies, Oracle owns all copyrights in the code developed and delivered

pursuant to the OLSA). .

       31.     Under the Cover Oregon OLSA, Cover Oregon would receive—upon payment for

services—a non-exclusive, non-assignable right to use the software Oracle developed and

delivered to Cover Oregon under the OLSA:

               Upon payment for services, you have the non-exclusive, non-
               assignable, royalty free, perpetual, limited right to use for your
               internal business operations anything developed by Oracle and
               delivered to you under this agreement; however, certain
               deliverables may be subject to additional license terms provided in
               the ordering document.

(Emphasis added). (The same language appears in a November 30, 2011 OLSA that Oracle

entered into with DHS and OHA before Cover Oregon took over responsibility for the HIX

project, a contract that Oregon’s Department of Justice also reviewed and approved.)

       32.     Cover Oregon and Oracle also entered into an Amendment to the OLSA,

containing among other terms, a “Source Code” provision stating that all source code Oracle

delivered to Cover Oregon was subject to the terms of the OLSA and any application order and

program documentation. The parties therefore intended that Oracle would own all intellectual

property in the software developed pursuant to the OLSA, and that Cover Oregon would not

obtain a right to use any of the software until it paid for Oracle’s services. Oracle continued to

retain all ownership and intellectual property rights to the programs and software it developed

and delivered to Cover Oregon.

       33.     Pursuant to 17 U.S.C. §408 and associated regulations of the Copyright Office,

Oracle has applied for registrations of copyright in certain new programs created and delivered

pursuant to the services delivered under the OLSA as follows (collectively, the “Cover Oregon

OLSA Copyright Assets”):

               (a)     The original version of Siebel Health Insurance Exchange, Version

1.0.0.1 has been granted US Copyright Registration No. TX 7-899-942. The intermediate and

final versions of Siebel Health Insurance Exchange as they were delivered to Cover Oregon have



                                                                                    EXHIBIT C
                                                                                PAGE 18 OF 189
       Case 3:14-cv-01279-BR Document 18 Filed 09/08/14 Page 19 of 28
       Case 3:14-cv-01532-BR Document 1-3 Filed 09/25/14 Page 19 of 86




been granted US Copyright Registration Nos. TX 7-899-948 and TX 7-899-944. The final

version of Siebel Health Insurance Exchange is a derivative work of the original version, and US

Copyright Registration No. TX 7-899-944 includes all improvements authored by Oracle and its

subcontractors in the intervening versions.

               (b)     The original version of Oracle Policy Automation Full Determination

Eligibility Rulebase, Version 1.0.0.1, has been granted US Copyright Registration No. TX 7-

901-851. The intermediate and final versions of Oracle Policy Automation Full Determination

Eligibility Rulebase, as they were delivered to Cover Oregon, have been granted US Copyright

Registration Nos.TX 7-901-847 and TX 7-901-840. The final version of Oracle Policy

Automation Eligibility Benefit Application is a derivative work of the original version, US

Copyright Registration No. TX 7-901-840 includes all improvements authored by Oracle and its

subcontractors in the intervening versions.

               (c)     On September 8, 2014 Oracle applied for registration of and the US

Copyright Office received a complete application including the complete application, fee, and

deposit for the original Oracle Policy Automation Eligibility Benefit Application, Version

1.0.0.1, and the subject application was granted Case No. 1-1727711042. On the same date,

Oracle applied for registration of, and the US Copyright Office received complete applications,

including applications, fees, and deposits, for the intermediate and final versions of the Oracle

Policy Automation Eligibility Benefit Application, and those applications received Case Nos. 1-

1727711114 and 1-1727711150. The final version of Oracle Policy Automation Eligibility

Benefit Application is a derivative work of the original version, and the application for

registration of copyright thereof includes all improvements authored by Oracle and its

subcontractors in the intervening versions.

               (d)     On September 8, 2014, Oracle applied for and the US Copyright Office

received complete applications, including application, fee, and deposit, for registration of the

original version of WebCenter Health Insurance Exchange Application, Version 1.0.0.1, and the

subject application was granted Case. No. 1-1727711196. On the same date, Oracle applied for



                                                                                    EXHIBIT C
                                                                                PAGE 19 OF 189
        Case 3:14-cv-01279-BR Document 18 Filed 09/08/14 Page 20 of 28
        Case 3:14-cv-01532-BR Document 1-3 Filed 09/25/14 Page 20 of 86




registration of and the US Copyright Office received complete applications, including

applications, fees, and deposits, for the intermediate and final versions of WebCenter Health

Insurance Exchange Application, and those applications received Case Nos. 1-1727711281

and 1-1727711318. The final version of WebCenter Health Insurance Exchange Application is a

derivative work of the original version, and the application for registration of copyright thereof

includes all improvements authored by Oracle and its subcontractors in the intervening versions.

       34.     Pursuant to a written inter-company agreement, Plaintiff Oracle America, Inc.,

has acquired all right, title, and interest in the copyright in the software code created under the

OLSA for the Cover Oregon OLSA Copyright Assets. Furthermore, such assignment includes

all accrued and unaccrued claims for infringement of copyright pertaining to such software code,

including specifically the claim for infringement against Cover Oregon, OHA and DHS.

       35.     Cover Oregon also executed several “Ordering Documents” identifying the

services Cover Oregon requested and the fees Cover Oregon had agreed to pay Oracle for those

services. As in the OLSA, Cover Oregon agreed in each Ordering Document that—upon

payment for services—Cover Oregon would receive a non-exclusive, royalty-free license to the

software Oracle developed for Cover Oregon:

               Upon payment for services, Cover Oregon shall have a royalty-
               free, nonexclusive, and irrevocable license for Cover Oregon and
               the U.S. Federal Government to reproduce, publish, or otherwise
               use anything developed and delivered under this Ordering
               Document resulting from the services provided hereunder and to
               the authorize others to do the same solely for the development
               and/or use of a government-operated health insurance exchange
               and eligibility automation system in accordance with the
               Affordable Health Care Act and applicable regulations of Federal
               purpose. You shall not have any other rights in or to anything
               developed and delivered to you hereunder.

(Emphasis added). True and correct copies of the Ordering Documents for Oracle consulting

services are attached hereto, collectively, as Exhibit B.

       36.     Each Ordering Document also referenced and included a “Time and Materials

Exhibit” (“T&M Exhibit”), identifying the specific services Cover Oregon had requested. Under




                                                                                      EXHIBIT C
                                                                                  PAGE 20 OF 189
        Case 3:14-cv-01279-BR Document 18 Filed 09/08/14 Page 21 of 28
        Case 3:14-cv-01532-BR Document 1-3 Filed 09/25/14 Page 21 of 86




the T&M Exhibits, Cover Oregon agreed (a) Oracle would provide its services on a time and

materials basis, (b) Cover Oregon would pay for all time spent performing such services, and

(c) Oracle would “assist” Cover Oregon on the project, and work at Cover Oregon’s sole

direction.

       37.     It is not unusual for consultants such as Oracle to work on a time and materials

basis. Indeed, many consultants, including Oracle, have done so on many projects, including

projects for public sector customers. The reason Oracle worked on a time and materials basis—

and not for a fixed fee—is a simple one. While everyone involved understood the ultimate

objectives of the projects—to create a fully-functional, web-accessible, self-service health

insurance exchange, to modernize the state’s provision of its broader health and human services

offerings, and to integrate the multiple systems involved—Cover Oregon and the state agencies

had no real plan for how, exactly, those projects would operate or how they would work

together. Without a fixed scope for the project—the equivalent of architectural blueprints—no

contractor could reasonably be expected to agree to work on a fixed-fee basis. Because only

DHS, OHA and, ultimately, Cover Oregon, could resolve the uncertainties regarding the overall

scope and structure of the massive project, and because only Cover Oregon and the state

agencies could demand changes in the project, those entities properly bore the inherent risks

associated with failing to resolve them in a timely way.

       38.     In about November, 2013, Cover Oregon stopped paying its invoices and refused

to sign Ordering Documents for the services it had requested and was continuing to request from

Oracle, forcing Oracle to either risk working without payment or abandon the project. By the

end of February, 2014, Cover Oregon had executed Ordering Documents for Oracle consulting

services rendered through August, 2013, but not for services rendered between then and the end

of February, 2014. In that period, at Cover Oregon’s request, Oracle continued to render

consulting services to Cover Oregon, and committed substantial additional resources to the

project outside of its consulting organization, in the form of, among others, its Chief Corporate

Architect and members of his team, members of Oracle’s A Team, representatives of Oracle



                                                                                   EXHIBIT C
                                                                               PAGE 21 OF 189
       Case 3:14-cv-01279-BR Document 18 Filed 09/08/14 Page 22 of 28
       Case 3:14-cv-01532-BR Document 1-3 Filed 09/25/14 Page 22 of 86




Laboratories, as well as additional subject matter experts in testing, release management, and the

products at issue. Oracle repeatedly asked Cover Oregon to pay its outstanding invoices and

execute Ordering Documents for the work it was requesting so that Oracle could render invoices,

and Cover Oregon promised on multiple occasions that it would do so. Governor Kitzhaber

personally made multiple promises to Oracle that the company would be paid for its work. On

the strength of those promises, and in furtherance of its desire to see the project completed,

Oracle kept its consultants working on the project through February 2014.

       39.     In February 2014, however, Oracle advised Cover Oregon and Governor

Kitzhaber that it could not continue to work indefinitely without Ordering Documents and

payment. By then, it had dedicated consulting services and other resources to the project worth

at least an additional $68 million in reliance upon promises that Cover Oregon had yet to fulfill.

       40.     Though Cover Oregon eventually paid the outstanding invoices and for a portion

of the services provided from November 2013 through February 2014, Cover Oregon refused to

execute Ordering Documents covering all the services provided or to compensate Oracle for the

full value of the services rendered during that period. Cover Oregon’s refusal to execute

Ordering Documents prevented Oracle from issuing invoices for services rendered.

       41.     Oracle is informed and believes that Cover Oregon is using copyrighted material

that Oracle’s personnel produced and for which Cover Oregon has not paid. Specifically, Cover

Oregon is continuing to make available to the public a website which appears to include

functionality delivered by Oracle for which it was not paid. Each time external users access and

use that site, there is an unauthorized reproduction of the software code, and an unauthorized

public display of the audiovisual work associated with Oracle’s software code.

       42.     Cover Oregon has also admitted that it has transferred part or all of the source

code base to the State of Oregon for further development of additional functionality based on

that code. Based on Oracle’s past experience as described above, both OHA and DHS have

managed and controlled such development. Because Cover Oregon has not paid for the Cover

Oregon OLSA Copyright Assets code, it does not have the right to distribute that source code to



                                                                                    EXHIBIT C
                                                                                PAGE 22 OF 189
       Case 3:14-cv-01279-BR Document 18 Filed 09/08/14 Page 23 of 28
       Case 3:14-cv-01532-BR Document 1-3 Filed 09/25/14 Page 23 of 86




others. Because Cover Oregon has not paid for the code, it does not have the right to authorize

the preparation of derivative works based on Oracle’s Cover Oregon OLSA Copyright Assets

source code. All of those entities and persons who are directing the preparation of a derivative

work based on an Oracle code base created and delivered under the OLSA are doing so in

violation of Oracle’s exclusive right to prepare derivative works based on Cover Oregon OLSA

Copyright Assets.

                                 FIRST CLAIM FOR RELIEF

                      (Copyright Infringement Against All Defendants)

       43.     Oracle hereby restates and realleges the allegations set forth in paragraphs 1

through 42, above, and incorporates them by reference.

       44.     Oracle owns all right title and interest in the copyrights to the Cover Oregon

OLSA Copyright Assets software code, as well as all claims for infringement thereof.

       45.     An express condition precedent to any license to Cover Oregon was that it was

required to pay for all services rendered under the OLSA. That express condition precedent has

failed because Cover Oregon has not paid for all of the services rendered under the OLSA.

Accordingly, Cover Oregon has no license at all for the Cover Oregon OLSA Copyright Assets

code and is not authorized to reproduce, prepare derivative works of, distribute, or publicly

display those works, or to authorize others to do so.

       46.     By continuing to operate the Cover Oregon website, Cover Oregon is violating

Oracle’s exclusive rights to reproduce and publicly display the work.

       47.     By transferring source code to the control of OHA and DHS for further

development, Cover Oregon has unlawfully distributed the Cover Oregon OLSA Copyright

Assets work, and has unlawfully authorized others to prepare derivative works based on the

Cover Oregon OLSA Copyright Assets work.

       48.     By accepting the transfer of source code from Cover Oregon and exercising

dominion and control over a project to augment that code, OHA and DHS have violated Oracle’s




                                                                                   EXHIBIT C
                                                                               PAGE 23 OF 189
          Case 3:14-cv-01279-BR Document 18 Filed 09/08/14 Page 24 of 28
          Case 3:14-cv-01532-BR Document 1-3 Filed 09/25/14 Page 24 of 86




exclusive rights to reproduce and to prepare derivative works of Cover Oregon OLSA Copyright

Assets.

          49.   Oracle has been actually and irreparably harmed by the actions of Cover Oregon

in using, reproducing, distributing and preparing derivative works of the code without

authorization. Defendants have benefited from code for which they have not paid. Furthermore,

as detailed herein, Governor Kitzhaber has made Oracle the scapegoat for the state’s and Cover

Oregon’s failures, while at the same time demanding ongoing assistance from Oracle in the

further development, delivery, and implementation of the Cover Oregon OLSA Copyright Assets

code. By continuing to use the code without authorization, and continuing to claim that the code

is inadequate or defective, Defendants are continuing to injure Oracle in a manner that cannot

fully be remedied at law.

          50.   Accordingly, as a direct and proximate result of defendants’ copyright

infringement, Oracle has been damaged both economically and reputationally, and will seek

damages in an amount to be proven at trial, and such equitable relief as may be appropriate.
                                SECOND CLAIM FOR RELIEF

                                       (Breach of Contract)

                    (As and for an alternative to the First Claim for Relief)

                                  (Against Cover Oregon Only)

          51.   Oracle hereby restates and realleges the allegations set forth in paragraphs 1

through 50, above, and incorporates them by reference.

          52.   Cover Oregon entered into written contracts with Oracle to pay for consulting

services rendered on a time and materials basis, and further agreed that it would not be entitled to

use Oracle’s work product without first paying for it. Cover Oregon further agreed that it could

not transfer Oracle’s work product without Oracle’s consent, unless authorized to do so pursuant

to a more specific license contained in an Ordering Document between the parties.

          53.   Oracle performed services for Cover Oregon in accordance with the terms of its

written agreements with that entity.



                                                                                    EXHIBIT C
                                                                                PAGE 24 OF 189
       Case 3:14-cv-01279-BR Document 18 Filed 09/08/14 Page 25 of 28
       Case 3:14-cv-01532-BR Document 1-3 Filed 09/25/14 Page 25 of 86




       54.     Oracle repeatedly has demanded that Cover Oregon execute Ordering Documents

for the work Oracle has performed, so that Oracle may issue invoices to Cover Oregon for the

work performed. Oracle further has demanded payment for all of the services rendered to Cover

Oregon, and by the filing of this Complaint hereby demands payment of the unpaid sums. Cover

Oregon has failed and refused, and continues to fail and to refuse, to execute Ordering

Documents or otherwise to pay for all of the services Oracle has provided.

       55.     Oracle is informed and believes and thereon alleges that Cover Oregon has

continued to use Oracle’s work product, and that it has transferred some or all of that work

product to others. Because Cover Oregon has not paid for all of Oracle’s services, Cover

Oregon’s use and transfer of Oracle’s work product violates the parties’ written agreement.

       56.     Accordingly, as a direct and proximate result of Cover Oregon’s breaches of

contract as alleged herein, Oracle has sustained damages in an amount to be proven at trial.
                                THIRD CLAIM FOR RELIEF

               (Breach of Implied Covenant of Good Faith and Fair Dealing)

                                 (Against Cover Oregon Only)

       57.     Oracle hereby restates and realleges the allegations set forth in paragraphs 1

through 56, above, and incorporates them by reference.

       58.     Cover Oregon entered into written contracts with Oracle to pay for consulting

services rendered on a time and materials basis.

       59.     Oracle performed services for Cover Oregon in accordance with the terms of its

written agreements with that entity.

       60.     Under the OLSA, Oregon could not issue invoices and obtain payment absent

Cover Oregon’s execution of separate Ordering Documents. Under the OLSA, Cover Oregon

has an implied obligation to execute such Ordering Documents in order to obtain Oracle’s

services. During the period between November 2013 and February 2014, Oracle rendered

services at Cover Oregon’s request, but Cover Oregon did not execute Ordering Documents to

cover that work.



                                                                                   EXHIBIT C
                                                                               PAGE 25 OF 189
       Case 3:14-cv-01279-BR Document 18 Filed 09/08/14 Page 26 of 28
       Case 3:14-cv-01532-BR Document 1-3 Filed 09/25/14 Page 26 of 86




       61.     Oracle repeatedly has demanded that Cover Oregon execute Ordering Documents

for the work Oracle has performed, so that Oracle may issue invoices to Cover Oregon for the

work performed. Cover Oregon has failed and refused, and continues to fail and to refuse, to

execute Ordering Documents or to otherwise pay for all of the services Oracle has provided.

       62.     Cover Oregon’s refusal to execute Ordering Documents so that Oracle can be paid

is a breach of the implied covenant of good faith and fair dealing inherent in the OLSA as

amended. This is particularly true where, as here, Cover Oregon continued to request the work

and promised it would issue such documents, but did not do so.

       63.     By promising that it would issue Ordering Documents for the requested work in

order to induce Oracle to perform that work, and then failing to issue such documents, Cover

Oregon has acted in bad faith, has abused its power and discretion under the OLSA, and has

violated Oracle’s reasonable expectations under the OLSA to be paid for all work performed for

Cover Oregon. By requesting such work and then refusing to issue the documentation necessary

for payment, Cover Oregon has not only violated its implied obligations under the contract, but

has frustrated Oracle’s reasonable expectations and purpose under the OLSA.

       64.     Accordingly, as a direct and proximate result of Cover Oregon’s breaches of the

implied covenant of good faith and fair dealing inherent in all contracts entered into under

Oregon law, Oracle has sustained damages in an amount to be proven at trial.

                               FOURTH CLAIM FOR RELIEF

                                       (Quantum Meruit)

                   (As and for an alternative to the First Claim for Relief)

                                    (Against all Defendants)

       65.     Oracle hereby restates and realleges the allegations set forth in paragraphs 1

through 64, above, and incorporates them by reference.

       66.     Cover Oregon requested services from Oracle related to the HIX Project,

including but not limited to the development of software for the health insurance exchange

application process and eligibility automation. Cover Oregon agreed to pay Oracle for those



                                                                                   EXHIBIT C
                                                                               PAGE 26 OF 189
        Case 3:14-cv-01279-BR Document 18 Filed 09/08/14 Page 27 of 28
        Case 3:14-cv-01532-BR Document 1-3 Filed 09/25/14 Page 27 of 86




services. Accordingly, Oracle had a reasonable expectation that Cover Oregon would pay for

those services, and Cover Oregon reasonably should have expected to pay Oracle for those

services.

       67.     Oracle provided the services Cover Oregon requested and in reliance upon Cover

Oregon’s promises to compensate Oracle for that work. Cover Oregon received the benefit of

the services Oracle provided, and Cover Oregon was aware that it had received this benefit.

       68.     Furthermore, OHA and DHS were fully aware of the terms of Oracle’s OLSA

with Cover Oregon, because they had entered into agreements of their own with Oracle in which

Oracle conditioned licenses to its intellectual property upon complete payment. That Cover

Oregon has not paid Oracle for all of its services has been a matter of public knowledge for

months. OHA and DHS are, therefore, fully aware that they have no right to receive or use any

part of the code that Oracle developed under the Cover Oregon OLSA. OHA and DHS have

nonetheless accepted delivery of the source code from Cover Oregon with full knowledge that

Cover Oregon has not paid for the services rendered to create that source code. OHA and DHS

are, therefore, also unfairly benefiting from Oracle’s services.

       69.     The reasonable value of those services, including Oracle’s consultants and the

other personnel it committed to the project, is at least $23 million. Accordingly, in order to

avoid the injustice that otherwise will result, Oracle is entitled to the reasonable value for the

services Oracle performed for Cover Oregon for which neither Cover Oregon nor the State has

yet paid, despite their ongoing exercise of dominion and control over the fruits of Oracle’s labor.

                                     PRAYER FOR RELIEF

       WHEREFORE, Oracle prays for judgment against Defendants as follows:

       A.      entry of judgment in favor or Oracle against Defendants on all claims for relief;

       B.      an order of restitution against all Defendants in an amount equal to the reasonable

value of the services Oracle provided, and for which Oracle has not been paid;

       C.      an order enjoining Defendants, their officers, agents, servants, employees,

attorneys, and affiliated companies, assigns and successors in interest, and those persons in



                                                                                      EXHIBIT C
                                                                                  PAGE 27 OF 189
        Case 3:14-cv-01279-BR Document 18 Filed 09/08/14 Page 28 of 28
        Case 3:14-cv-01532-BR Document 1-3 Filed 09/25/14 Page 28 of 86




active concert or participation with them, from continued acts of infringement of Oracle’s

intellectual property rights;

       D.      an order awarding Oracle damages it has sustained as a result of Defendants’

wrongdoing in an amount according to proof;

       E.      prejudgment interest;

       F.      attorneys’ fees and costs pursuant to 17 U.S.C. §505; and

       G.      any and all other legal and equitable relief as may be available under law and

which the Court may deem just and proper.
                                DEMAND FOR A JURY TRIAL

       Oracle demands a jury trial for all issues so triable.


                                                 Respectfully submitted,



Dated: September 8, 2014                    By: /s/ Brenna K. Legaard
                                                Brenna K. Legaard, OSB #001658
                                                Email: blegaard@schwabe.com
                                                Jeffrey S. Eden, OSB #851903
                                                Email: jeden@schwabe.com
                                                SCHWABE, WILLIAMSON & WYATT, P.C.
                                                1211 SW 5th Avenue, Suite 1900
                                                Portland, OR 97204
                                                Telephone: 503-222-9981
                                                Facsimile: 503-796-2900

                                                 Attorneys for Plaintiff
                                                 Oracle America, Inc.




                                                                                  EXHIBIT C
                                                                              PAGE 28 OF 189
                Case 3:14-cv-01279-BR              Document 18-1 Filed 09/08/14 Page 1 of 43
                Case 3:14-cv-01532-BR              Document 1-3 Filed 09/25/14 Page 29 of 86




                                    ORACLE LICENSE AND SERVICES AGREEMENT

A.       Agreement Definitions
This Oracle License and Services Agreement ("agreement") is entered into between Oracle America, Inc. ("Oracle") and the
Oregon Health Insurance Exchange Corporation doing business as Cover Oregon ("you"). The term "ancillary programs" refers to
third party materials specified in the program documentation which may only be used for the purposes of installing or operating
the programs with which the ancillary programs are delivered. The tenn "program documentation" refers to the program user
manual and program installation manuals. The tenn "programs" refers to the software products owned or distributed by Oracle
which you have ordered, program documentation, and any program updates acquired through technical support. The term
"services" refers to technical support, education, hosted/outsourcing services, consulting or other services which you have ordered.

B.      Term of Agreement
The term of this agreement shall be for three (3) years commencing from the effective date of the agreement.

C.        Rights Granted
Upon Oracle's acceptance of your order, you have the non-exclusive, non-assignable, royalty fi·ee, perpetual (unless otherwise
specified in the ordering document), limited right to use the programs and receive any services you ordered solely for your internal
business operations and subject to the terms of this agreement, including the defmitions and rules set forth in the order and the
program documentation. You may allow your agents and contractors (including, without limitation, outsourcers) to use the
programs for this purpose and you are responsible for their compliance with this agreement in such use. For programs that are
specifically designed to allow your customers and suppliers to interact with you in the furtherance of your internal business
operations, such use is allowed under this agreement. If accepted, Oracle will notify you and this notice will include a copy of
your agreement. Program documentation is delivered with the programs, or you may access the documentation online at
http://oracle.com/contracts. Services are provided based on Oracle's policies for the applicable services ordered, which are subject
to change, and the specific policies applicable to you, and how to access them, will be specified on your order (except technical
support services, which are as specified in section H of this agreement). Upon payment for services, you have the non-exclusive,
non-assignable, royalty free, perpetual, limited right to use for your internal business operations anything developed by Oracle and
delivered to you under this agreement; however, certain deliverables may be subject to additional license terms provided in the
ordering document.

The services provided under this agreement may be related to your license to use programs which you acquire under a separate
order. The agreement referenced in that order shall govern your use of such programs. Any services acquired from Oracle are bid
separately from such program licenses, and you may acquire either services or such program licenses without acquiring the other.

D.        Ownership and Restrictions
Oracle or its licensors retain all ownership and intellectual property rights to the programs. Oracle retains all ownership and
intellectual property rights to anything developed and delivered under this agreement resulting from services. You may make a
sufficient number of copies of each program for your licensed use and one copy of each program media.

Third party technology that may be appropriate or necessary for use with some Oracle programs is specified in the program
documentation. Such third party technology is licensed to you under the terms of the third party technology license agreement
specified in the program documentation and not under the terms of this agreement.

You may not:
•   remove or modify any program markings or any notice of Oracle's or its licensors' proprietary rights;
•   make the programs or materials resulting from the services available in any manner to any third party for use in the third
    party's business operations (unless such access is expressly permitted for the specific program license or materials from the
    services you have acquired);
•   cause or permit reverse engineering (unless required by law for interoperability), disassembly or decompilation of the
    programs (the foregoing prohibition includes but is not limited to review of data structures or similar materials produced by
    programs);
•   disclose results of any program benchmark tests without Oracle's prior written consent.

E.      Warranties, Disclaimers and Exclusive Remedies
Oracle warrants that a program licensed to you will operate in all material respects as described in the applicable program
documentation for one year after delivery (i.e., via physical shipment or electronic download). You must notify Oracle of any
program warranty deficiency within one year after delivery. Oracle also warrants that services will be provided in a professional

OLSA_V063011_US (Customized)                                                                                         Page 1 of26
                                                                                                        EXHIBIT C
                                                                                                    PAGE 29 OF 189
                Case 3:14-cv-01279-BR                Document 18-1 Filed 09/08/14 Page 2 of 43
                Case 3:14-cv-01532-BR                Document 1-3 Filed 09/25/14 Page 30 of 86


manner consistent with industry standards. You must notify Oracle of any services warranty deficiencies within 90 days from
perfonnance ofthe deficient services.

ORACLE DOES NOT GUARANTEE THAT THE PROGRAMS WILL PERFORM                                                       ERROR-FREE          OR
UNINTERRUPTED OR THAT ORACLE WILL CORRECT ALL PROGRAM ERRORS.

FOR ANY BREACH OF THE ABOVE WARRANTIES, YOUR EXCLUSIVE REMEDY AND ORACLE'S ENTIRE
LIABILITY SHALL BE: (A) THE CORRECTION OF PROGRAM ERRORS THAT CAUSE BREACH OF THE
WARRANTY; OR, IF ORACLE CANNOT SUBSTANTIALLY CORRECT SUCH BREACH IN A COMMERCIALLY
REASONABLE MANNER, YOU MAY END YOUR PROGRAM LICENSE AND RECOVER THE FEES YOU PAID TO
ORACLE FOR THE PROGRAM LICENSE AND ANY UNUSED, PREPAID TECHNICAL SUPPORT FEES YOU
HAVE PAID FOR THE PROGRAM LICENSE; OR (B) THE REPERFORMANCE OF THE DEFICIENT SERVICES;
OR, IF ORACLE CANNOT SUBSTANTIALLY CORRECT A BREACH IN A COMMERCIALLY REASONABLE
MANNER, YOU MAY END THE RELEVANT SERVICES AND RECOVER THE FEES YOU PAID TO ORACLE FOR
THE DEFICIENT SERVICES.

TO THE EXTENT NOT PROHIBITED BY LAW, THESE WARRANTIES ARE EXCLUSIVE AND THERE ARE NO
OTHER EXPRESS OR IMPLIED WARRANTIES OR CONDITIONS INCLUDING WARRANTIES OR CONDITIONS
OF MERCHANTABILITY AND FITNESS FOR A PARTICULAR PURPOSE.

F.       Trial Programs
You may order trial programs, or Oracle may include additional programs with your order which you may use for trial, non-
production purposes only. You may not use the trial programs to provide or attend third party training on the content and/or
functionality of the programs. You have 30 days from the delivery date to evaluate these programs. Ifyou decide to use any of
these programs after the 30 day trial period, you must obtain a license for such programs from Oracle or an authorized distributor.
If you decide not to obtain a license for any program after the 30 day trial period, you will cease using and will delete any such
programs from your computer systems. Programs licensed for trial purposes are provided "as is" and Oracle does not provide
technical support or offer any warranties for these programs.

G.       Indemnification
1. Intellectual Property Indemnification. If a third party makes a claim against either you or Oracle ("Recipient" which may refer
to you or Oracle depending upon which party received the Material), that any information, design, specification, instruction,
software, data, or material ("Material") furnished by either you or Oracle ("Provider" which may refer to you or Oracle depending
on which party provided the Material), and used by the Recipient infringes its intellectual property rights, the Provider, at its sole
cost and expense, will defend the Recipient against the claim and indemnify the Recipient from the damages, liabilities, costs and
expenses awarded by the court to the third party claiming infringement or the settlement agreed to by the Provider, if the Recipient
does the following:

•   notifies the Provider promptly in writing, not later than 30 days after the Recipient receives notice of the clahn (or sooner if
    required by applicable law);
•   gives the Provider sole control of the defense and any settlement negotiations; and
•   gives the Provider the information, authority, and assistance the Provider needs to defend against or settle the claim.

If the Provider believes or it is determined that any of the Material may have violated a third party's intellectual property rights,
the Provider may choose to either modify the Material to be non-infringing (while substantially preserving its utility or
functionality) or obtain a license to allow for continued use, or if these alternatives are not cmmnercially reasonable, the Provider
may end the license for, and require return of, the applicable Material and refund any fees the Recipient may have paid to the other
party for it and any unused, prepaid technical support fees you have paid to Oracle for the license. If you are the Provider and such
return materially affects Oracle's ability to meet its obligations under the relevant order, then Oracle may, at its option and upon 30
days prior written notice, terminate the order. The Provider will not indemnify the Recipient if the Recipient alters the Material or
uses it outside the scope of use identified in the Provider's user documentation or if the Recipient uses a version of the Materials
which has been superseded, if the infringement claim could have been avoided by using an unaltered current version of the
Material which was provided to the Recipient. The Provider will not indemnify the Recipient to the extent that an infringement
claim is based upon any information, design, specification, instruction, software, data, or material not furnished by the Provider.
Oracle will not indemnify you to the extent that an infringement clahn is based upon the combination of any Material with any
products or services not provided by Oracle. Oracle will not indemnify you for infringement caused by your actions against any
third party if the Oracle program(s) as delivered to you and used in accordance with the tenns of this agreement would not
otherwise infringe any third party intellectual property rights. Oracle will not indemnify you for any infringement claim that is
based on: (1) a patent that you were made aware of prior to the effective date of this agreement (pursuant to a claim, demand, or

OLSA_V063011_US (Customized)                                                                                            Page 2 of26
                                                                                                           EXHIBIT C
                                                                                                       PAGE 30 OF 189
                Case 3:14-cv-01279-BR               Document 18-1 Filed 09/08/14 Page 3 of 43
                Case 3:14-cv-01532-BR               Document 1-3 Filed 09/25/14 Page 31 of 86


notice); or (2) your actions prior to the effective date of this agreement. This section provides the parties' exclusive remedy for
any infringement claims or damages.

2. General Indemnity. You and Oracle ("Indemnitor") each shall defend and indemnify the other party or parties ("Indemnitee")
against any and all claims of bodily injury and/or tangible personal property damage resulting from negligent, grossly negligent or
intentionally wrongful actions or omissions of the Indemnitor or a person employed by the Indemnitor (i.e., as an employee or
independent contractor) while performing services under an ordering document or participating in the project related to such
services, if such actions or omissions were not proximately caused by the action or omission of the Indemnitee or any third party;
provided however, that (a) the Indemnitee notifies the Indemnitor promptly in writing, not later than thirty (30) days after
Indemnitee receives notice ofthe claim (or sooner if required by law); (b) the Indemnitee gives the Indemnitor sole control ofthe
defense and any settlement negotiations; and (c) the Indemnitee gives the Indemnitor the infonnation, authority, and assistance the
Indemnitor needs to defend against or settle the claim. As used in this Section G.2, the term "tangible personal property" shall not
include software, documentation, data or data files. The Indemnitor shall have no liability for any claim of bodily injury and/or
tangible personal property damage arising from use of software. This Section G.2 states the parties' entire liability and exclusive
remedy for bodily injury and property damage.

3. To the extent you are required under this agreement to indemnify or hold Oracle harmless against claims brought by third parties
against Oracle, your obligation to indemnify is subject to the limitations of Article XI, section 7 of the Oregon Constitution and the
Oregon Tort Claims Act, ORS 30.260 through 30.300.

4. Notwithstanding anything in this Section G to the contrary, Oracle shall not defend a claim in the name of the State of Oregon
or purport to act as a legal representative for the State of Oregon (including you) without the prior written consent of the Oregon
Attorney General.                                                         ·

H.       Technical Support
For purposes of the ordering document, technical support consists of annual technical support services you may have ordered for
the programs. If ordered, annual technical support (including first year and all subsequent years) is provided under Oracle's
technical support policies in effect at the time the services are provided. The technical support policies, incorporated in this
agreement, are subject to change at Oracle's discretion; however, Oracle policy changes will not result in a material reduction in
the level of services provided for supported programs during the period for which fees for technical support have been paid. You
should review the policies prior to entering into the ordering document for the applicable services. You may access the current
version of the technical support policies at http://oracle.com/contracts..

Technical support is effective upon the effective date of the ordering document unless otherwise stated in your order. If your
order was placed through the Oracle Store, the effective date is the date your order was accepted by Oracle.

Software Update License & Support (or any successor technical support offering to Software Update License & Support, "SULS")
acquired with your order may be renewed annually and, if you renew SULS for the same number of licenses for the same
programs, for the first and second renewal years the fee for SULS will not increase by more than 4% over the prior year's fees. If
your order is fulfilled by a member of Oracle's partner program, the fee for SULS for the first renewal year will be the price
quoted to you by your partner; the fee for SULS for the second renewal year will not increase by more than 4% over the prior
year's fees.

If you decide to purchase technical support for any license within a license set, you are required to purchase technical support at
the same level for all licenses within that license set. You may desupport a subset of licenses in a license set only if you agree to
terminate that subset of licenses. The technical support fees for the remaining licenses will be priced in accordance with the
technical support policies in effect at the time of termination. Oracle's license set defmition is available in the current technical
support policies. If you decide not to purchase technical support, you may not update any unsupported program licenses with new
versions of the program.

I.        End of Agreement
If either of us breaches a material term of this agreement and fails to correct the breach within 30 days of written specification of
the breach, then the breaching party is in default and the non-breaching party may terminate this agreement. If Oracle ends this
agreement as specified in the preceding sentence, you must pay within 30 days all amounts which have acc1ued prior to such end,
as well as all sums remaining unpaid for programs ordered and/or services received under this agreement plus related taxes and
expenses. If Oracle ends the license for a program under the Indemnification section, you must pay within 30 days all amounts
remaining unpaid for services related to such license plus related taxes and expenses. Except for nonpayment of fees, the non-
breaching party may agree in its sole discretion to extend the 30 day period for so long as the breaching party continues reasonable
efforts to cure the breach. You agree that if you are in default under this agreement, you may not use those programs and/or
services ordered. You further agree that if you have used an Oracle Financing Division contract to pay for the fees due under an
OLSA_V06301l_US (Customized)                                                                                           Page 3 of26
                                                                                                          EXHIBIT C
                                                                                                      PAGE 31 OF 189
                Case 3:14-cv-01279-BR               Document 18-1 Filed 09/08/14 Page 4 of 43
                Case 3:14-cv-01532-BR               Document 1-3 Filed 09/25/14 Page 32 of 86


order and you are in default under that contract, you may not use the programs and/or services that are subject to such contract.
Provisions that survive termination or expiration are those relating to limitation of liability, infringement indemnity, payment, and
others which by their nature are intended to survive.

J.       Fees and Taxes
All fees payable to Oracle are due within 30 days from the invoice date. Fees for services listed in an ordering document are
exclusive of taxes and expenses. Fees for services listed in an ordering document are exclusive of taxes. Reimbursement of
expenses related to providing services, if any, will be addressed in the relevant ordering document and/or exhibit thereunder. You
agree that you have not relied on the future availability of any programs or updates in entering into the payment obligations in your
ordering document; however, (a) if you order SULS for programs, the preceding sentence does not relieve Oracle of its obligation
to provide updates under your ordering document, if-and-when available, in accordance with Oracle's then current technical
support policies, and (b) the preceding sentence does not change the rights granted to you for any program licensed under your
ordering document, per the terms of your ordering document and this agreement.

K.        Nondisclosure
By virtue of this agreement, the parties may have access to information that is confidential to one another ("confidential
infonnation"). We each agree to disclose only information that is required for the performance of obligations under this
agreement. Confidential information shall be limited to the terms and pricing under this agreement and all information clearly
identified as confidential at the time of disclosure.

A party's confidential information shall not include information that: (a) is or becomes a part of the public domain through no act
or omission of the other party; (b) was in the other party's lawful possession prior to the disclosure and had not been obtained by
the other party either directly or indirectly from the disclosing party; (c) is lawfully disclosed to the other party by a third party
without restriction on the disclosure; or (d) is independently developed by the other party.

We each agree to hold each other's confidential information in confidence for a period of three years from the date of disclosure.
Oracle acknowledges that you are a public institution that is subject to the Oregon Public Records Law, Oregon Revised Statutes
(ORS) 192.410 to 192.505 (the "Act") and that information concerning this agreement and any order hereunder may be subject to
public disclosure pursuant to the Act. You agree to provide Oracle reasonable notice prior to disclosing any confidential
information in response to a valid request made pursuant to the Act to allow Oracle to seek injunctive relief or other such relief as
may be appropriate. Also, we each agree to disclose confidential information only to those employees or agents who are required
to protect it against unauthorized disclosure. Nothing shall prevent either party from disclosing the terms or pricing under this
agreement or orders submitted under this agreement in any legal proceeding arising from or in connection with this agreement or
disclosing the confidential information to a federal or state governmental entity as required by law.

L.       Entire Agreement
You agree that this agreement and the information which is incorporated into this agreement by written reference (including
reference to information contained in a URL or referenced policy), together with the applicable ordering document(s), Exhibits 1,
2, 3 and 4, all of which are attached hereto, are the complete agreement for the programs and/or services ordered by you, and that
this agreement supersedes all prior or contemporaneous agreements or representations, written or oral, regarding such programs
and/or services. If any term of this agreement is found to be invalid or unenforceable, the remaining provisions will remain
effective and such term shall be replaced with a term consistent with the purpose and intent of this agreement. It is expressly
agreed that the terms of this agreement and any Oracle ordering document shall supersede the terms in any purchase order or other
non-Oracle document and no terms included in any such purchase order or other non-Oracle document shall apply to the programs
and/or services ordered. This agreement and ordering documents may not be modified and the rights and restrictions may not be
altered or waived except in a writing signed or accepted online through the Oracle Store by authorized representatives of you and
of Oracle. Any notice required under this agreement shall be provided to the other party in writing.

M.    Limitation of Liability
NEITHER PARTY SHALL BE LIABLE FOR ANY INDIRECT, INCIDENTAL, SPECIAL, PUNITIVE, OR
CONSEQUENTIAL DAMAGES, OR ANY LOSS OF PROFITS, REVENUE, DATA, OR DATA USE. ORACLE'S
MAXIMUM LIABILITY FOR ANY DAMAGES ARISING OUT OF OR RELATED TO THIS AGREEMENT OR
YOUR ORDER, WHETHER IN CONTRACT OR TORT, OR OTHERWISE, SHALL BE LIMITED TO THE AMOUNT
OF THE FEES YOU PAID ORACLE UNDER THIS AGREEMENT, AND IF SUCH DAMAGES RESULT FROM YOUR
USE OF PROGRAMS OR SERVICES, SUCH LIABILITY SHALL BE LIMITED TO THE FEES YOU PAID ORACLE
FOR THE DEFICIENT PROGRAM OR SERVICES GIVING RISE TO THE LIABILITY.

Notwithstanding the foregoing, each party will be responsible for damages of any kind included in a fmal judgment or settlement
in favor of a third party with respect to such party's indemnification obligations under Section G (Indemnification) above
regardless of whether any such damages may be classified as direct, indirect or otherwise.
OLSA_V063011_US (Customized)                                                                                           Page 4 of26
                                                                                                          EXHIBIT C
                                                                                                      PAGE 32 OF 189
                 Case 3:14-cv-01279-BR               Document 18-1 Filed 09/08/14 Page 5 of 43
                 Case 3:14-cv-01532-BR               Document 1-3 Filed 09/25/14 Page 33 of 86



N.       Export
Export laws and regulations of the United States and any other relevant local export laws and regulations apply to the programs.
You agree that such export control laws govern your use of the programs (including technical data) and any services deliverables
provided under this agreement, and you agree to comply with all such export laws and regulations (including "deemed export" and
"deemed re-export" regulations). You agree that no data, information, program and/or materials resulting from services (or direct
product thereof) will be exported, directly or indirectly, in violation of these laws, or will be used for any purpose prohibited by
these laws including, without limitation, nuclear, chemical, or biological weapons proliferation, or development of missile
technology.

0.       Other
1. This agreement is governed by the substantive and procedural laws of Oregon and you and Oracle agree to submit to the
   exclusive jurisdiction of, and venue in, if in state Courts, in the Circuit Court of the State of Oregon for Marion County or, if in
   federal courts, the United States District Court for the District of Oregon, in any dispute arising out of or relating to this
   agreement.

2. If you have a dispute with Oracle or if you wish to provide a notice under the Indemnification section of this agreement, or if
   you become subject to insolvency or other similar legal proceedings, you will promptly send written notice to: Oracle
   America, Inc., 500 Oracle Parkway, Redwood City, California, United States, 94065, Attention: General Counsel, Legal
   Department.

3. You may not assign this agreement or give or transfer the programs and/or any services or an interest in them to another
   individual or entity. If you grant a security interest in the programs and/or any services deliverables, the secured party has no
   right to use or transfer the programs and/or any services deliverables, and if you decide to finance your acquisition of the
   programs and/or any services, you will follow Oracle's policies regarding fmancing which are at l1ttp://oracle.com/contracts..

4. Except for actions for nonpayment or breach of Oracle's proprietary rights, no action, regardless of fonn, arising out of or
   relating to this agreement may be brought by either party more than two years after the cause of action has accrued.

5. Upon 45 days written notice, Oracle may audit your use of the programs. You agree to cooperate with Oracle's audit and
   provide reasonable assistance and access to information. Any such audit shall not umeasonably interfere with your nonnal
   business operations. You agree to pay within 30 days of written notification any fees applicable to your use of the programs in
   excess of your license rights. If you do not pay, Oracle can end your technical support, licenses and/or this agreement. You
   agree that Oracle shall not be responsible for any of your costs incurred in cooperating with the audit. If you in good faith
   provide Oracle with written notice of an alleged error in the amount of underpaid fees due as a result of an audit under this
   section (the "dispute"), then the parties will endeavor to resolve the dispute in accordance with this paragraph as soon as
   possible, and in any event within 30 days after you provide written notification to Oracle. Each party will appoint an Executive
   to discuss the dispute and no formal proceedings for the judicial resolution of such dispute, except for the seeking of equitable
   relief, may begin until either Executive concludes, after a good faith effort to resolve the dispute, that resolution through
   continued discussion is unlikely. In addition, the parties shall refrain from exercising any termination right, while they
   endeavor to resolve the dispute under this paragraph.

6.   The Uniform Computer Information Transactions Act does not apply to this agreement or orders placed under it. You
     understand that Oracle's business partners, including any third party firms retained by you to provide computer consulting
     services, are independent of Oracle and are not Oracle's agents. Oracle is not liable for nor bound by any acts of any such
     business partner, unless the business partner is providing services as an Oracle subcontractor on an engagement ordered under
     this agreement.

7.   Termination for Lack of Funding. Nothing in this agreement may be construed to permit any violation of Article XI, Section
     7 of the Oregon Constitution or any other law regulating liabilities or monetary obligations of the State of Oregon. Your
     payment for services performed or license fees due after the last day of the current biennium is contingent upon you receiving
     funding, appropriations, limitations, allotments or other expenditure authority from the Oregon Legislative Assembly
     (including its Emergency Board) sufficient to allow you, in the exercise of its reasonable administrative discretion, to continue
     to compensate Oracle. You may immediately tenninate this agreement upon written notice if you fails to receive funding,
     appropriations, limitations, allotments, or other expenditure authority as contemplated by your budget or spending plan and
     you determine, in its assessment and ranking of the policy objectives explicit or implicit in its budget or spending plan, that it
     is necessary to terminate this agreement. Notwithstanding anything in the foregoing to the contrary, you acknowledge and
     agree that your issuance of a purchase order in connection with this agreement is your representation to Oracle that funds for
     such order are fully appropriated and available.

OLSA_V06301l_US (Customized)                                                                                            Page 5 of26
                                                                                                           EXHIBIT C
                                                                                                       PAGE 33 OF 189
                 Case 3:14-cv-01279-BR                Document 18-1 Filed 09/08/14 Page 6 of 43
                 Case 3:14-cv-01532-BR                Document 1-3 Filed 09/25/14 Page 34 of 86


8.   Records Maintenance; Access. Oracle shall maintain and make available upon reasonable advance notice, the books and
     records pertaining directly to the performance of this agreement and the payments made by you under an ordering document
     for a period of six (6) years from the date of the completion or termination of the applicable ordering document, or until the
     conclusion of any audit, controversy, or litigation arising out of or related to this agreement, whichever date is later (the "audit
     period"). Oracle agrees that, upon reasonable written notice to Oracle, the Oregon Secretary of State's Office, and the federal
     government, and their duly authorized representatives shall have timely access to and the right to examine such books and
     records during the six (6) year post-perfmmance period, provided such audit does not unreasonably interfere with Oracle's
     normal business operations. Nothing herein shall require Oracle to maintain books and records in any manner other than what
     they normally maintains in their respective course of business.

9.   Independent Contractor. Oracle shall act at all times as an independent contractor and not as an agent or employee of you.
     Oracle has no right or authority to incur or create any obligation for or legally bind you in any way. Although the ordering
     documents may allow you the right to evaluate the quality of Oracle's completed performance, you cannot and will not control
     the means or manner by which Oracle performs its obligations under this agreement, except to the extent the means and
     manner in which these obligations are to be performed is specifically set forth in this agreement or the relevant order. Oracle
     shall determine the appropriate means and manner of perfonning its obligations. Oracle is not an "officer," "employee" or
     "agent" of you or any other agency, office, or department ofthe State of Oregon, as those terms are used in ORS 30.265, and
     Oracle shall not make representations to third parties to the contrary. No party shall make any statements, representations, or
     commitments of any kind or to take any action binding on the other except as provided for in this agreement or authorized in
     writing by the party to be bound.

10. Incorporation of Oregon Statutes. ORS 279B.220, 279B.230 and 279B.235 are incorporated into this Agreement by reference.

11. Tax Compliance Certificate. By executing this rider, the undersigned certifies under penalty of perjury that he or she is
    authorized to act on behalf of Oracle, and that, to the best of the undersigned's knowledge, Oracle is not in violation of any
    Oregon Tax Laws. For purposes of this certification, "Oregon Tax Laws" means a state tax imposed by ORS 401.792 to
    401.816 (Tax For Emergency Communications), chapters 118 (Inheritance Tax), 314 (Income Tax), 316 (Personal Income
    Tax), 317 (Corporation Excise Tax), 318 (Corporation Income Tax), and 323 (Cigarettes And Tobacco Products Tax), and the
    elderly rental assistance program under ORS 310.630 to 310.706; and any local taxes administered by the Department of
    Revenue under ORS 305.620.

12. Compliance with Laws. Oracle shall comply with all applicable laws to the extent that such laws by their terms, are expressly
    applicable to Oracle's delivery of programs and services under this agreement and impose obligations upon Oracle in its role
    as an information technology services provider with respect to the programs and services provided under this agreement.

13. Exhibits 1 and 2. Oracle shall comply with the provisions set forth in Exhibit 1 to this agreement. Oracle shall provide
    insurance as required by Exhibit 2.

P.        Force Majeure
Neither of us shall be responsible for failure or delay of performance if caused by: an act of war, hostility, or sabotage; act of God;
electrical, internet, or telecommunication outage that is not caused by the obligated party; government restrictions (including the
denial or cancellation of any export or other license); other event outside the reasonable control of the obligated party. We both
will use reasonable efforts to mitigate the effect of a force majeure event. If such event continues for more than 90 days, either of
us may cancel unperformed services upon written notice. This section does not excuse either party's obligation to take reasonable
steps to follow its normal disaster recovery procedures or your obligation to pay for programs delivered or services provided.

Q.       License Definitions and Rules
To fully understand your license grant, you need to review the defmition for the licensing metric and term designation as well as
the licensing rules which are incorporated in and made a part of this agreement.

License Definitions and Rules

Definitions and License Metrics
                                                                                                                          '
Adapter: is defmed as each software code interface, installed on each Oracle Internet Application Server Enterprise Edition,
which facilitates communication of infonnation between each version of a third party software application or system and Oracle
programs.

$M Annual Transaction Volume: is defmed as one million U.S. Dollars in all purchase orders transacted and all auctions
conducted through the Oracle Exchange Marketplace by you and others during the applicable year of the Oracle Exchange
OLSA_V063011_US (Customized)                                                                             Page 6 of26
                                                                                                             EXHIBIT C
                                                                                                         PAGE 34 OF 189
                Case 3:14-cv-01279-BR              Document 18-1 Filed 09/08/14 Page 7 of 43
                Case 3:14-cv-01532-BR              Document 1-3 Filed 09/25/14 Page 35 of 86


Marketplace license, regardless of whether any such auction results in a purchase order, provided that an auction resulting in a
purchase order shall only be counted against the Annual Transaction Volume once.

Applications National Language Support (NLS) Supplement Media Packs: Please be advised that only a subset of the
products included on an Applications NLS Supplement Media Pack have been translated. For existing supported customers, My
Oracle Support has information on which products have been translated for the supported languages (https://support.oracle.com).
For new or unsupported customers, please contact your Oracle Account Manager for this information.

$M in Application Annual Revenue: is defmed as one million U.S. Dollars excluding taxes processed through the licensed
program. For Oracle Self-Service E-Billing products, the Annual Revenue is equivalent to the total invoiced amount for all
company accounts that have at least one enrolled user per billing period.

Application User: is de:fi.iled as an individual authorized by you to use the applicable licensed application programs which are
installed on a single server or on multiple servers regardless of whether the individual is actively using the programs at any given
time. If you license the Oracle Self Service Work Request option in conjunction with Oracle Enterprise Asset Management, you
are required to maintain licenses for the equivalent number of Application Users licensed and you are granted unlimited access to
initiate work requests, view work request status and view scheduled completion dates for your entire employee population.
Application Users licensed for Oracle Order Management are allowed to manually enter orders directly into the programs but any
orders entered electronically fi·om other sources must be licensed separately. For Oracle Sourcing, Oracle Fusion Sourcing, Oracle
iSupplier Portal, Oracle Fusion Supplier Portal, Oracle Services Procurement, PeopleSoft eSupplier Connection, PeopleSoft
Strategic Sourcing and JD Edwards Supplier Self Service programs, use by your external suppliers is included with your
application user licenses.

Application Read-Only User: is defined as an individual authorized by you to run only queries or reports against the application
program for which you have also acquired non read-only licenses, regardless of whether the individual is actively using the
programs at any given time.

Brand: is defmed as a named product offering that corresponds to a specific molecular entity, including multiple dosage forms
and multiple strengths for the same molecular entity.

Case Report Form (CRF) Page: is defmed as the "electronic equivalent" of what would be the total number of physical paper
pages initiated remotely by the program (measured explicitly in the program as Received Data Collection Instruments) during a 12
month period. You may not exceed the licensed number of CRF Pages during any 12 month period unless you acquire additional
CRF Page licenses from Oracle.

Chassis: is defmed as a physical enclosure containing hardware. For the purposes of the following programs: Oracle Fabric
Manager and Oracle Fabric Monitor, only the chassis (a) that contain networking hardware and (b) that are managed by the
program must be counted for the purpose of determining the number of licenses required.

Collaboration Program User: is defmed as an individual authorized by you to use the programs which are installed on a single
server or on multiple servers regardless of whether the individual is actively using the programs at any given time. For the
purposes of counting and licensing the number of Beehive Synchronous Collaboration users, a Collaboration Program User within
your company is defmed as a user able to initiate, or host, a web conference and also participate in a web conference; all
participants in the web conference external to your company and attending a web conference are not required to be licensed.

Compensated Individual: is defmed as an individual whose compensation or compensation calculations are generated by the
programs. The term Compensated Individual includes, but is not limited to, your employees, contractors, retirees, and any other
Person.

Computer: is defmed as the computer on which the programs are installed. A Computer license allows you to use the licensed
program on a single specified computer. For the purposes of Computer licenses for the Oracle Health Science Integration Engine
program, a communication point is an interface to an input system (e.g., a clinical laboratory system in a hospital or healthcare
setting) or to an output system (e.g., a healthcare data repository).

Concunent User: is defmed as each individual that may concurrently use or access the programs. Concurrent Users shall be only
customers or prospective customers of yours, and shall not be business partners, or employees of yours.

Connected Instance: is defined as the configuration between Oracle Policy Automation Connector for Oracle CRM On Demand
and the Oracle CRM On Demand instance's web service endpoint. For each Oracle CRM On Demand instance so configured, an
additional Connected Instance is required.
OLSA_V0630ll_US (Customized)                                                                                         Page 7 of26
                                                                                                        EXHIBIT C
                                                                                                    PAGE 35 OF 189
                Case 3:14-cv-01279-BR                Document 18-1 Filed 09/08/14 Page 8 of 43
                Case 3:14-cv-01532-BR                Document 1-3 Filed 09/25/14 Page 36 of 86



Connector: is defmed as each connector connecting the software product with an external product. A unique connector is
required for each distinct product that the software product is required to interface.

$M Cost of Goods Sold: is defined as one million U.S. Dollars in the total cost of inventory that a company has sold during their
fiscal year. If Cost of Goods Sold is unknown to you then Cost of Goods Sold shall be equal to 75% of total company revenue.

CPU: is defmed as a chip that contains a collection of one or more cores on which the program is running. Regardless of the
number of cores, each chip counts as 1 CPU. For the purposes of the following program: Oracle Utilities Customer Care and
Billing Application Workbench, you may copy, install and use such program running on a CPU solely for development purposes.

Custom Suite User: is defmed as an individual authorized by you to use the application programs included in the applicable
Custom Applications Suite which are installed on a single server or on multiple servers regardless of whether the individual is
actively using the programs at any given time.

Customer: is defmed as the customer entity specified on your order. The programs may not be used or accessed for the business
operations of any third party, including but not limited to your customers, partners, or your affiliates. There is no limitation on the
number of computers on which such programs may be copied, installed and used.

Customer Account: is defined as each unique Customer Account, designated by a unique account number, for which the billing
information is managed or displayed using the program, regardless of the number of individual account holders associated with
such accounts.

Oracle Customer Data & Device Retention Service: is defmed as a service for which the description may be found in the
Technical Support Policies section (Oracle Hardware and Systems Support Policies) at www.oracle.com/contracts and which is
incorporated by reference.

Customer Record: is defined as each unique Customer Record (including contact records, prospect records and records in
external data sources) that you may access using the program.

Developer User I Developer/ Developer Seat: is defmed as an individual authorized by you to use the programs which are
installed on a single server or multiple servers, regardless of whether the individual is actively using the programs at any given
time. With respect to Developer Users only, such users may create, modify, view and interact with the programs and
documentation.       ·

Disk Drive: is defmed as a spinning media device that stores data accessed by the Oracle Exadata Storage Server Software
program.

Electronic Order Line: is defmed as the total number of distinct order lines entered electronically into the Oracle program from
any source (not manually entered by licensed users) during a 12 month period. This includes order lines originating as external
EDI/XML transactions and/or sourced from other Oracle and non-Oracle applications. You may not exceed the licensed number
of order lines during any 12 month period.

Employee: is defined as (i) all of your full-time, part-time, temporary employees, and (ii) all of your agents, contractors and
consultants who have access to, use, or are tracked by the programs. The quantity of the licenses required is determined by the
number of Employees and not the actual number of users. In addition, if you elect tn outsource any business function(s) to another
company, the following must be counted for purposes of determining the number of Employees: all of the company's full-time
employees, part-time employees, temporary employees, agents, contractors and consultants that (i) are providing the outsourcing
services and (ii) have access to, use, or are tracked by the programs.

Employee for HCM: is defined as (i) all of your full-time, part-time, temporary employees, and (ii) all of your agents, contractors
and consultants who have access to, use, or are tracked by the programs. The quantity of the licenses required is determined by the
number of Employees for HCM and not the actual number of users. In addition, if you elect to outsource any business function(s)
to another company, the following must be counted for purposes of determining the number of Employees for HCM: all of the
company's full-tune employees, part-time employees, temporary employees, agents, contractors and consultants that (i) are
providing the outsourcing services and (ii) have access to, use, or are tracked by the programs. Employees for HCM may only use
the licensed programs with Oracle application programs that contain "Oracle Fusion Human Capital Management" as a prefix in
the program name.

Employee User: is defmed as an individual authorized by you to use the programs which are installed on a single server or
OLSA_V06301l_US (Customized)                                                                                            Page 8 of26
                                                                                                           EXHIBIT C
                                                                                                       PAGE 36 OF 189
                Case 3:14-cv-01279-BR               Document 18-1 Filed 09/08/14 Page 9 of 43
                Case 3:14-cv-01532-BR               Document 1-3 Filed 09/25/14 Page 37 of 86


multiple servers, regardless of whether or not the individual is actively using the programs at any given time.

Enterprise Employee: is defmed as (i) all of your full-time, part-time, temporary employees, and (ii) all of your agents,
contractors and consultants who have access to, use, or are tracked by the programs. The quantity of the licenses required is
determined by the number of Enterprise Employees and not the actual number of users. In addition, if you elect to outsource any
business function(s) to another company, the following must be counted for purposes ·of determining the number of Enterprise
Employees: all of the company's full-time employees, part-time employees, temporary employees, agents, contractors and
consultants that (i) are providing the outsourcing services and (ii) have access to, use, or are tracked by the programs. The value of
these program licenses is determined by the number of Enterprise Employees. For these program licenses, the licensed quantity
purchased must, at a minimum be equal to the number of Enterprise Employees as of the effective date of your order. If at any
time the number of Enterprise Employees exceeds the licensed quantity, you are required to order additional licenses (and
technical support for such additional licenses) such that the number of Enterprise Employees is equal to or less than the number of
licensed quantity. You are not entitled to any refund, credit or other consideration of any kind if there is a reduction in the number
of Enterprise Employees. In addition, each year 90 days before the anniversary date of your order, you are required to report to
Oracle the number of Enterprise Employees as of such date.

Enterprise Full Time Equivalent (FTE) Student: is defmed as any full-time student enrolled in your institution and any part-
time student enrolled in your institution counts as 25% of an FTE Student. The definition of "full-time" and "part-time" is based
on your policies for student classification. If the number of FTE Students is a fraction, that number will be rounded to the nearest
whole number for purposes of license quantity requirements. The value of these program licenses is determined by the number of
Enterprise FTE Students. For these program licenses, the licensed quantity purchased must, at a minimum, be equal to the number
of Enterprise FTE Students as of the effective date of your order. If at any time the number of Enterprise FTE Students exceeds
the licensed quantity, you are required to order additional licenses (and technical support for such additional licenses) such that the
number of Enterprise FTE Students is equal to or less than the licensed quantity. You are not entitled to any refund, credit or other
consideration of any kind if there is a reduction in the number of Enterprise FTE Students. In addition, each year 90 days before
the anniversary date of your order, you are required to report to Oracle the nmnber of Enterprise FTE Students as of such date.

Enterprise Trainee: is defmed as· an employee, contractor, student or other person who is being recorded by the program. The
value of these program licenses is determined by the number of Enterprise Trainees. For these program licenses, the licensed
quantity purchased must, at a minimum, be equal to the number of Enterprise Trainees as of the effective date of your order. If at
any time the number of Enterprise Trainees exceeds the licensed quantity, you are required to order additional licenses (and
technical support for such additional licenses) such that the number of Enterprise Trainees is equal to or less than the licensed
quantity. You are not entitled to any refund, credit or other consideration of any kind if there is a reduction in the number of
Enterprise Trainees. In addition, each year 90 days before the anniversary date of your order, you are required to report to Oracle
the number of Enterprise Trainees as of such date.

Enterprise $Min Cost of Goods Sold: Enterprise $M Cost of Goods Sold is defined as one million U.S. Dollars in the total cost
of inventory that a company has sold during their fiscal year. If Cost of Goods Sold is unknown to you then Cost of Goods Sold
shall be equal to 75% of total company revenue. The value ofthese program licenses is determined by the amount of Enterprise
$M Cost of Goods Sold. For these program licenses, the licensed quantity purchased must, at a minimum be equal to the amount
of Enterprise $M Cost of Goods Sold as of the effective date of your order. If at any time the amount of Enterprise $M Cost of
Goods Sold exceeds the licensed quantity, you are required to order additional licenses (and technical support for such additional
licenses) such that the amount of Enterprise $M Cost of Goods Sold is equal to or less than the number of licensed quantity. You
are not entitled to any refund, credit or other consideration of any kind if there is a reduction in the amount of Enterprise $M Cost
of Goods Sold. In addition, each year 90 days before the anniversary date of your order, you are required to report to Oracle the
number ofEnterprise $M Cost of Goods Sold as of such date.

Enterprise $M in Freight Under Management: $M Freight Under Management is defmed as one million U.S. Dollars of the
total transportation value of tendered orders for all shipments for a given calendar year during the tenn of the license. FUM shall
include the combined total of actual freight purchased by you, plus the cost of freight for shipments managed by you (e.g., you are
not purchasing transportation services on behalf of your clients but are providing transportation management services for your
clients). Freight that is paid by a third party shall also be included in the FUM total (e.g., inbound shipments from suppliers to you
with freight terms of prepaid). The value of these program licenses is determined by the amount of Enterprise $M Freight Under
Management. For these program licenses, the licensed quantity purchased must, at a minimum be equal to the amount of
Enterprise $M Freight Under Management as of the effective date of your order. If at any time the amount 9f Enterprise $M
Freight Under Management exceeds the licensed quantity, you are required to order additional licenses (and technical support for
such additional licenses) such that the amount of Enterprise $M Freight Under Management is equal to or less than the number of
licensed quantity. You are not entitled to any refund, credit or other consideration of any kind if there is a reduction in the amount
of Enterprise $M Freight Under Management. In addition, each year 90 days before the anniversary date of your order, you are
required to report to Oracle the number of Enterprise $M Freight Under Management as of such date.
OLSA_V0630ll_US (Customized)                                                                                           Page 9 of26
                                                                                                          EXHIBIT C
                                                                                                      PAGE 37 OF 189
               Case 3:14-cv-01279-BR Document 18-1 Filed 09/08/14 Page 10 of 43
               Case 3:14-cv-01532-BR Document 1-3 Filed 09/25/14 Page 38 of 86



Enterprise $M in Operating Budget: is defmed as one million U.S. Dollars of your gross budget reflected in an audited
statement from your external accounting fmn. The value of these program licenses is determined by the amount of Enterprise $M
in Operating Budget. For these program licenses, the licensed quantity purchased must, at a minimum be equal to the amount of
Enterprise $Min Operating Budget as of the effective date of your order. If at any time the amount of Enterprise $Min Operating
Budget exceeds the licensed quantity, you are required to order additional licenses (and technical support for such additional
licenses) such that the amount of Enterprise $Min Operating Budget is equal to or less than the number of licensed quantity. You
are not entitled to any refund, credit or other consideration of any kind if there· is a reduction in the amount of Enterprise $M in
Operating Budget. In addition, each year 90 days before the anniversary date of your order, you are required to report to Oracle
the number of Enterprise $Min Operating Budget as of such date.

Enterprise $Min Revenue: Enterprise $Min Revenue is defmed as one million U.S. Dollars in all income (interest income and
non interest income) before ~djustments for expenses and taxes generated by you during a fiscal year. The value of these program
licenses is determined by the amount of Enterprise $M in Revenue. For these program licenses, the licensed quantity purchased
must, at a minimum be equal to the amount of Enterprise $M in Revenue as of the effective date of your order. If at any time the
amount of Enterprise $Min Revenue exceeds the licensed quantity, you are required to order additional licenses (and technical
support for such additional licenses) such that the amount of Enterprise $M in Revenue is equal to or less than the number of
licensed quantity. You are not entitled to any refund, credit or other consideration of any kind if there is a reduction in the amount
of Enterprise $M in Revenue. In addition, each year 90 days before the anniversary date of your order, you are required to report
to Oracle the number of Enterprise $M in Revenue as of such date.

Expense Report: is defmed as the total number of expense reports processed by Internet Expenses during a 12 month period.
You may not exceed the licensed number of expense reports during any 12 month period.

Faculty User: is defined as an active teaching member of the faculty for an accredited academic institution; such user may only
use the programs for academic and non-commercial use.

Field Technician: is defmed as an engineer, technician, representative, or other person who is dispatched by you, including the
dispatchers, to the field using the programs.

$M Freight Under Management: is defined as one million U.S. Dollars of the total transportation value of tendered orders for
all shipments for a given calendar year during the term of the license. FUM shall include the combined total of actual freight
purchased by you, plus the cost of freight for shipments managed by you (e.g., you are not purchasing transportation services on
behalf of your clients but are providing transportation management services for your clients). Freight that is paid by a third party
shall also be included in the FUM total (e.g., inbound shipments from suppliers to you with freight terms of prepaid).

Full Time Equivalent (FTE) Student: is defmed as any full-time student enrolled in your institution and any part-time student
enrolled in your institution counts as 25% of an FTE Student. The defmition of "full-time" and "part-time" is based on your
policies for student classification. If the number of FTE Students is a fraction, that number will be rounded to the nearest whole
number for purposes of license quantity requirements.

Guest Room: is defmed as the number of guest rooms managed by the program.

Hosted Named User: is defined as an individual authorized by you to access the hosted service, regardless of whether the
individual is actively accessing the hosted service at any given time.

Installation Services, Start-Up Packs and Configuration/Upgrade Services: is defined as a service(s) for which the description
may be found in the Advanced Customer Support Services section at www.oracle.com/contracts and which is incorporated by
reference.

lK Invoice Line: is defined as one thousand invoice line items processed by the program during a 12 month period. You may not
exceed the licensed number of Invoice Lines during any 12 month period unless you acquire additional Invoice Line licenses from
Oracle.

IVR Port: is defmed as a single caller that can be processed via the Interactive Voice Response (IVR) system. You must
purchase licenses for the number of IVR Ports that represent the maximum number of concurrent callers that can be processed by
the IVR system.

Learning Credits: may be used to acquire education products and services offered in the Oracle University online catalogue
posted at http://www.oracle.com/education under the terms specified therein. Learning credits may only be used to acquire
OLSA_V063011_US (Customized)                                                                                           Page 10 of26
                                                                                                          EXHIBIT C
                                                                                                      PAGE 38 OF 189
               Case 3:14-cv-01279-BR Document 18-1 Filed 09/08/14 Page 11 of 43
               Case 3:14-cv-01532-BR Document 1-3 Filed 09/25/14 Page 39 of 86


products and services at the list price in effect at the time you order the relevant product or service, and may not be used for any
product or service that is subject to a discount or a promotion when you order the relevant product or service. The list price will be
reduced by applying the discount specified to you by Oracle. Notwithstanding anything to the contrary in the previous three
sentences, learning credits may also be used to pay taxes, materials and/or expenses related to your order; however, the discount
specified above will not be applied to such taxes, materials and/or expenses. Learning credits are valid for a period of 12 months
from the date your order is accepted by Oracle, and you must acquire products and must use any acquired services prior to the end
of such period. You may only use learning credits in the country in which you acquired them, may not use them as a payment
method for additional learning credits, and may not use different learning credits accounts to acquire a single product or service or
to pay related taxes, materials and/or expenses. Learning credits are non-transferable and non-assignable. You may be required to
execute standard Oracle ordering materials when using learning credits to order products or services.

$M in Managed Assets: is defined as one million U.S. Dollars of the following total: (1) Book value of investment in capital
leases, direct fmancing leases and other fmance leases, including residuals, whether owned or managed for others, active on the
program, plus (2) Book value of assets on operating leases, whether owned or managed for others, active on the program, plus (3)
Book value of loans, notes, conditional sales contracts and other receivables, owned or managed for others, active on the pro gram,
plus (4) Book value of non earning assets, owned or managed for others, which were previously leased and active on the program,
including assets from term terminated leases and repossessed assets, plus (5) Original cost of assets underlying leases and loans,
originated and active on the program, then sold within the previous 12 months.

Managed Resource: is defmed as an individual authorized by you to use the programs which are installed on a single server or on
multiple servers, regardless of whether the individual is actively using the programs at any given time. In addition, your
employees, contractors, partners and any other individual or entity managed by the programs shall be counted for the purposes of
determining the number of Managed Resource licenses required.

Member Record: is defmed as each unique customer loyalty program Member Record managed by the program. 1OOK Member
Records shall mean one hundred thousand Member Records ..

Module: is defmed as each production database running the programs.

Monitored User: is defmed as an individual who is monitored by an Analytics program which is installed on a single server or
multiple servers, regardless of whether the individual is actively being monitored at any given time. Individual users who are
licensed for an Analytics program by either Named User Plus or Application User may not be licensed by Monitored User. For the
purposes of the Usage Accelerator Analytics program, every user of your licensed CRM Sales application program must be
licensed. For the purposes of the Human Resources Compensation Analytics program, all of your employees must be licensed.

For the purpose of the following Oracle Governance, Risk, and Compliance applications: Application Access Controls Governor,
Application Access Controls forE-Business Suite, Configuration Controls Governor, Configuration Controls forE-Business Suite,
Transaction Controls Governor, Preventive Controls Governor, and Governance, Risk, and Compliance Controls Suite, the number
of Monitored Users is equal to the total number of unique E-Business Suite users (individuals) being monitored by the program(s),
as created/defmed in the User Administration function of E-Business Suite. Users of iProcurement and/or Self-Service Human
Resources are excluded.

For the purpose of the following PeopleSoft Enterprise Governance, Risk, and Compliance applications: Application Access
Controls Governor, Application Access Controls for PeopleSoft Enterprise, Configuration Controls Governor, and Configuration
Controls for PeopleSoft Enterprise, the number of Monitored Users is equal to the total number of unique PeopleSoft Enterprise
(or any other custom applications I programs) users (individuals) that the program monitors.

MySQL Cluster Carrier Grade Edition Annual Subscription, MySQL Enterprise Edition Annual Subscription and
MySQL Standard Edition Annual Subscription: are defmed as the right to use the specified program(s) in accordance with the
applicable license metric and to receive Oracle Software Update License & Support for the specified program(s) and for MySQL
Community Edition for the term specified on the order. MySQL Community Edition refers to MySQL that is licensed under the
GPL license. Software Update License & Support for MySQL Community Edition does not include updates of any kind. The
subscription tenn is effective upon the effective date of the subscription ordering document, unless otherwise stated in your
ordering document. If your order was placed through the Oracle Store, then the effective date is the date your order was accepted
by Oracle. Oracle Software Update License & Support services are provided under the applicable technical support policies in
effect at the time the services are provided. You must obtain a subscription license for all servers where MySQL Cluster Carrier
Grade Edition, MySQL Enterprise Edition and/or MySQL Standard Edition are deployed. If you obtain Oracle Software Update
License & Support services for any servers where MySQL Community Edition is deployed, then you must also purchase a
subscription license for all of such servers for which you have obtained Oracle Software Update License & Support services. You
may obtain Oracle Software Update License & Support services for the MySQL Community Edition subscription licenses at any
OLSA_V06301l_US (Customized)                                                                                           Page 11 of26
                                                                                                          EXHIBIT C
                                                                                                      PAGE 39 OF 189
               Case 3:14-cv-01279-BR Document 18-1 Filed 09/08/14 Page 12 of 43
               Case 3:14-cv-01532-BR Document 1-3 Filed 09/25/14 Page 40 of 86


level (e.g., at the MySQL Cluster Carrier Grade Edition level, at the MySQL Enterprise Edition level and/or at the MySQL
Standard Edition level). At the end of the specified term, you may renew your subscription, if available, at the then current fees
for the applicable subscription. If you choose not to renew your subscription, your right to use the program(s) will terminate and
you must de-install all applications, tools, and binaries provided to you under the applicable non-Community Edition license (e.g.,
the license for MySQL Cluster Carrier Grade Edition, MySQL Enterprise Edition and/or MySQL Standard Edition). If you do not
renew a subscription, you will not receive any updates-{including patches or subsequent versions) and you may also be subject to
reinstatement fees if you later choose to reactivate your subscription.

Named User Plus I Named User: is defmed as an individual authorized by you to use the programs which are installed on a
single server or multiple servers, regardless of whether the individual is actively using the programs at any given time. All of the
remaining provisions of this defmition apply only with respect to Named User Plus licenses, and not to Named User licenses. A
non human operated device will be counted as a named user plus in addition to all individuals authorized to use the programs, if
such devices can access the programs. If multiplexing hardware or software (e.g., a TP monitor or a web server product) is used,
this number must be measured at the multiplexing front end. Automated hatching of data from computer to computer is permitted.
You are responsible for ensuring that the named user plus per processor minimums are maintained for the programs contained in
the user minimum table in the licensing rules section; the minimums table provides for the minimum number of named users plus
required and all actual users must be licensed.

For the purposes of the following programs: Configuration Management Pack for Applications, System Monitoring Plug-in for
Non Oracle Databases, System Monitoring Plug-in for Non Oracle Middleware, Management Pack for Non-Oracle Middleware,
Management Pack for WebCenter Suite, Data Masking Pack for Non-Oracle Databases and Test Data Management Pack for Non-
Oracle Databases, only the users of the program that is being managed/monitored are counted for the purpose of determining the
number ofNamed User Plus licenses required.

With respect to the following programs: Load Testing, Load Testing Developer Edition, Load Testing Accelerator for Web
Services, Load Testing Accelerator for Oracle Database and Load Testing Suite for Oracle Applications, each emulated human
user and non human operated device shall be considered as a virtual user and shall be counted for the purpose of determining the
number ofNamed User Plus licenses required.

For the purposes of the following programs: Application Management Suite for Oracle £-Business Suite, Application
Management Suite for PeopleSoft, Application Management Suite for Siebel, Application Management Suite for JD Edwards
EnterpriseOne, Real User Experience Insight and Application Replay Pack, all users of the respective managed application
program must be counted for the purpose of determining the number of licenses required.

For the purposes of the following program: Oracle GoldenGate, only (a) the users of the Oracle database from which you capture
data and (b) the users of the Oracle database where you will apply the data must be counted for the purpose of determining the
number of licenses required.

For the purposes of the following programs: Oracle GoldenGate for Mainframe and Oracle Golden Gate for Teradata Replication
Services, only (a) the users of the database from which you capture data and (b) the users of the database where you will apply the
data must be counted for the purpose of determining the number of licenses required.

For the purposes of the following program: Oracle GoldenGate for Non Oracle Database only (a) the users of the Non Oracle
database from which you capture data and (b) the users of the Non Oracle database where you will apply the data must be counted
for the purpose of detennining the number of licenses required.

For the purposes of the following programs: Data Integrator Enterprise Edition and Data Integrator Enterprise Edition for Oracle
Applications, only the users that are running or accessing the data transformation processes must be counted for determining the
number of licenses required.

Network Device: is defined as the hardware and/or software whose primary purpose is to route and control communications
between computers or computer networks. Examples of network devices include but are not limited to, routers, frrewalls and
network load balancers.

Non Employee User- External: is defined as an individual, who is not your employee, contractor or outsourcer, authorized by
you to use the programs which are installed on a single server or multiple servers, regardless of whether or not the individual is
actively using the programs at any given time.

Oracle Financing Contract: is a contract between you and Oracle (or one of Oracle's affiliates) that provides for payments over
time of some or all of the sums due under your order.
OLSA_V06301l_US (Customized)                                                                                         Page 12 of26
                                                                                                        EXHIBIT C
                                                                                                    PAGE 40 OF 189
               Case 3:14-cv-01279-BR Document 18-1 Filed 09/08/14 Page 13 of 43
               Case 3:14-cv-01532-BR Document 1-3 Filed 09/25/14 Page 41 of 86



Order Line: is defined as the total number of order entry line items processed by the program during a 12 month period.
Multiple order entry line items may be entered as part of an individual customer order or quote and may also be automatically.
generated by the Oracle Configurator. You may not exceed the licensed number of Order Lines during any 12 month period unless
you acquire additional Order Line licenses from Oracle.

Order Management User: is defmed as an individual authorized by you to use the applicable licensed application programs
which are installed on a single server or on multiple servers regardless of whether the individual is actively using the programs at
any given time. Order Management Users are allowed to manually enter orders directly into the programs but any orders entered
electronically from other sources must be licensed separately.

Orders: is defmed as the total number of distinct orders for all programs that are a part of Electronic Orders, entered
electronically (not manually entered by licensed professional users) through EDI, XML or other electronic means including
purchase orders transmitted from Oracle Purchasing, during a 12 month period. You may not exceed the licensed number of
orders during any 12 month period.

Partner Organization: is defmed as an external third party business entity that provides value-added services 'in developing,
marketing and selling your products. Depending upon the type of industry, partner organizations play different roles and are
recognized by different names such as reseller, distributor, agent, dealer or broker.

Person: is defmed as your employee or contractor who is actively working on behalf of your organization or a fonner employee
who has one or more benefit plans managed by the system or continues to be paid through the system. For Project Resource
Management, a person is defined as an individual who is scheduled on a project. The total number of licenses needed is to be
based on the peak number of part-time and full-time people whose records are recorded in the system.

Physical Server: is defmed as each physical server on which the programs are installed.

Ported Number: is defmed as the telephone number that end users retain as they change from one service provider to another.
This telephone number originally resides on a telephone switch and is moved into the responsibility of another telephone switch.

Processor: shall be defmed as all processors where the Oracle programs ,are installed and/or running. Programs licensed on a
processor basis may be accessed by your internal users (including agents and contractors) and by your third party users. The
number of required licenses shall be determined by multiplying the total number of cores of the processor by a core processor
licensing factor specified on the Oracle Processor Core Factor Table which can be accessed at http://oracle.com/contracts. All
cores on all multicore chips for each licensed program are to be aggregated before multiplying by the appropriate core processor
licensing factor and all fractions of a number are to be rounded up to the next whole number. When licensing Oracle programs
with Standard Edition One or Standard Edition in the product name (with the exception of Java SE Support, Java SE Advanced,
and Java SE Suite), a processor is counted equivalent to an occupied socket; however, in the case of multi-chip modules, each chip
in the multi-chip module is counted as one occupied socket.

For example, a multicore chip based server with an Oracle Processor Core Factor of 0.25 installed and/or running the program
(other than Standard Edition One programs or Standard Edition programs) on 6 cores would require 2 processor licenses (6
multiplied by a core processor licensing factor of .25 equals 1.50, which is then rounded up to the next whole number, which is 2).
As another example, a multicore server for a hardware platform not specified in the Oracle Processor Core Factor Table installed
and/or running the program on 10 cores would require 10 processor licenses (10 multiplied by a core processor licensing factor of
1.0 for 'All other multicore chips' equals 10).

For the purposes of the following program: Healthcare Transaction Base, only the processors on which Internet Application
Server Enterprise Edition and Healthcare Transaction Base programs are installed and/or running must be counted for the purpose
of determining the number of licenses required.

For the purposes of the following programs: iSupport, iStore and Configurator, only the processors on which Internet Application
Server (Standard Edition and/or Enterprise Edition) and the licensed program (e.g., iSupport, iS tore and/or Configurator) are
running must be counted for the purpose of determining the number of licenses required for the licensed program; under these
licenses you may also install and/or run the licensed program on the processors where a licensed Oracle Database (Standard
Edition and/or Enterprise Edition) is installed and/or running.

For the purposes of the following programs: Configuration Management Pack for Applications, System Monitoring Plug-in for
Non Oracle Databases, System Monitoring Plug-in for Non Oracle Middleware, Management Pack for Non-Oracle Middleware,
Management Pack for WebCenter Suite, Grid Engine, Data Masking Pack for Non -Oracle Databases and Test Data Management
OLSA_V06301l_US (Customized)                                                                                         Page 13 of26
                                                                                                        EXHIBIT C
                                                                                                    PAGE 41 OF 189
               Case 3:14-cv-01279-BR Document 18-1 Filed 09/08/14 Page 14 of 43
               Case 3:14-cv-01532-BR Document 1-3 Filed 09/25/14 Page 42 of 86


Pack for Non-Oracle Databases, only the processors on which the program that is being managed/monitored are running must be
counted for the purpose of determining the number of licenses required.

For the purposes of the following programs: Application Management Suite for Oracle E-Business Suite, Application
Management Suite for PeopleSoft, Application Management Suite for Siebel, Application Management Suite for JD Edwards
EnterpriseOne, Application Management Pack for Utilities and Application Management Pack for Taxation and Policy
Management, all processors on which the middleware and/or database software that support the respective managed application
program are running must be counted for the purpose of determining the number of licenses required.

For the purposes of the following programs: Application Replay Pack and Real User Experience Insight, all processors on which
the middleware software that supports the respective managed application program are running must be counted for the purpose of
determining the number of licenses required.

For the purposes of the following programs: Informatica PowerCenter and PowerConnect Adapters, and Application Adapter for
Warehouse Builder for PeopleSoft, Oracle E-Business Suite, Siebel, and SAP, only the processor(s) on which the target database is
running must be counted for the purpose of determining the number of licenses required.

For the purposes of the following programs: Data Integrator Enterprise Edition, Data Integrator Enterprise Edition for Oracle
Applications, Data Integrator and Application Adapter for Data Integration and Application Adapters for Data Integration, only the
processor(s) where the data transformation processes are executed must be counted for the purpose of determining the number of
licenses required.

For the purposes of the following program: In-Memory Database Cache, only the processors on which the Times Ten In-Memory
Database component of the In-Memory Database Cache program is installed and/or running must be counted for the purpose of
determining the number of licenses required.

For the purposes of the following program: Oracle GoldenGate, only (a) the processors running the Oracle database from which
you capture data and (b) the processors running the Oracle database where you will apply the data must be counted for the purpose
of determining the number of licenses required.

For the purposes of the following programs: Oracle GoldenGate for Mainframe and Oracle GoldenGate for Teradata Replication
Services, only (a) the processors running the database from which you capture data and (b) the processors running the database
where you will apply the data must be counted for the purpose of determining the number of licenses required.

For the purposes of the following program: Oracle GoldenGate for Non Oracle Database, only (a) the processors running the non
Oracle database from which you capture data and (b) the processors running the non Oracle database where you will apply the data
must be counted for the purpose of determining the number of licenses required.

For the purposes of the following program: Oracle GoldenGate Application Adapters, only the processors running the source
Oracle or non Oracle database(s) from which you capture data must be counted for the purpose of determining the number of
licenses required. For multiple source databases, all processors for all sources must be counted.

For the purposes of the following program: Audit Vault and Database Firewall, only the processors of the sources which are
protected, monitored or audited must be counted for the purpose of determining the number of licenses required.

For the purposes of the following program: Oracle ATG Web Commerce Search, only the processors on which queries are
processed must be counted. You do not need to count processors on which the program is running for indexing content in
configured content sources as long as the foregoing is the only use of the program on all the processors installed in a given server.

$Min Revenue: is defmed as one million U.S. Dollars in all income (interest income and non interest income) before adjustments
for expenses and taxes generated by you during a fiscal year.

$M Revenue Under Management: is defmed as one million U.S. Dollars in all income (interest income and non interest income)
before adjustments for expenses and taxes generated by you during a fiscal year for the product lines for which the programs are
used.

Record: The Customer Hub B2B is a bundle that includes two components, Siebel Universal Customer Master B2B and Oracle
Customer Data Hub. For the purposes of the Customer Hub B2B application, record is defined as the total number of unique
customer database records stored in the Customer Hub B2B application (i.e., stored in a component of Customer Hub B2B). A
customer database record is a unique business entity or company record, which is stored as an account for the Siebel Universal
OLSA_V063011_US (Customized)                                                                                          Page 14 of26
                                                                                                         EXHIBIT C
                                                                                                     PAGE 42 OF 189
               Case 3:14-cv-01279-BR Document 18-1 Filed 09/08/14 Page 15 of 43
               Case 3:14-cv-01532-BR Document 1-3 Filed 09/25/14 Page 43 of 86


Customer Master B2B product or as an organization for the Oracle Customer Data Hub product.

The Customer Hub B2C is a bundle that includes two components, Siebel Universal Customer Master B2C and Oracle Customer
Data Hub. For the purposes of the Customer Hub B2C application, record is defmed as the total number of unique customer
database records stored in the Customer Hub B2C application (i.e., stored in a component of Customer Hub B2C). A customer
database record is a unique consumer (i.e., physical person) record, which is stored as a contact for the Siebel Universal Customer
Master product or as a person for the Oracle Customer Data Hub product.

The Product Hub is a bundle that includes two components, Siebel Universal Product Master and Oracle Product Information
Management Data Hub. For the purposes of the Product Hub application, record is defmed as the total number of unique product
database records stored in the Product Hub application (i.e., stored in a component of Product Hub). A product database record is
a unique product component or SKU stored in the MTL_SYSTEM_ITEMS table with an active or inactive status and does not
include any instance items (i.e. *-star items) or organization assignments of the same item.

For the purposes of the Case Hub program a record is defined as the total number of unique case database records stored in the
Case Hub program. A case database record is a unique request or issue requiring investigation or service stored in S_CASE table
with an active or inactive status.

For the purposes of the Site Hub program a record is defmed as the total number of unique site database records stored in the
RRS_SITES_B table ofthe Site Hub program. A site database record is a unique site (e.g., an asset, a building, part of a building
(such as a store or a franchise within a store, an ATM, etc.)) stored in the Site Hub program.

For the programs listed above, please see the application licensing prerequisites as specified in the Applications Licensing Table
which may be accessed at http://oracle.com/contracts for the grant and restrictions of the underlying Oracle technology.

For the purposes of the Hyperion Data Relationship Management program, a record is defmed as the unique occurrence of any
business object or master data construct that you choose to manage within the program. Records may describe any number of
enterprise information assets, commonly referred to as base members, including but not limited to cost centers, ledger accounts,
legal entities, organizations, products, vendors, assets, locations, regions or employees. Additionally, a record may also be a
summary object, commonly referred to as a rollup member, that either summarizes base members or describes hierarchical
information associated with underlying base members. Records represent unique occurrences and they do not include any
duplicates or shared references that may be essential for master data management purposes.

For the purposes of the Supplier Lifecycle Management and Supplier Hub programs, a record is defmed as a unique business entity
or company record stored as Supplier in the AP_SUPPLIERS table of the Supplier Lifecycle Management and Supplier Hub
programs.

For the purposes of the Life Sciences Customer Hub program, a record is defmed as the number of unique customer database
records stored in such program. A customer database record is a unique physician (i.e., physical person) record which is stored as
a contact for the Oracle Life Sciences Customer Hub program.

1000 Records: is defmed as 1000 cleansed records (i.e., rows) that are output from a production data flow of the Data Quality for
Data Integrator program.

Registered User: is defmed as an individual authorized by you to use the programs which are installed on a single server or
multiple servers, regardless of whether the individual is actively using the programs at any given time. Registered Users shall be
business partners and/or customers and shall not be your employees.

Retail Register: is defined as any device designed to record any part of a sales transaction.

RosettaNet Partner Interface Processes® (PIPs®): are defmed as business processes between trading partners. Preconfigured
system-to-system XML-based dialogs for the relevant E-Business Suite Application(s) are provided. Each preconfigured PIP
includes a business document with the vocabulary and a business process with the choreography of the message dialog.

Rule Set: is defmed as a data rules file containing content for a given country in order to perform data quality functions optimized
for that country.

Server: is defmed as the computer on which the programs are installed. A Server license allows you to use the licensed program
on a single specified computer.

OLSA_V063011_US (Customized)                                                                                         Page 15 of26
                                                                                                        EXHIBIT C
                                                                                                    PAGE 43 OF 189
               Case 3:14-cv-01279-BR Document 18-1 Filed 09/08/14 Page 16 of 43
               Case 3:14-cv-01532-BR Document 1-3 Filed 09/25/14 Page 44 of 86


Service Order Line: is defmed as the total number of service order entry line items processed by the program during a 12 month
period. Multiple service order entry line items may be entered as part of an individual customer service order or quote. You may
not exceed the licensed number of Service Order Lines during any 12 month period unless you acquire additional Service Order
Line licenses from Oracle.

Socket: is defmed as a slot that houses a chip (or a multi-chip module) that contains a collection of one or more cores. Regardless
of the number of cores, each chip (or multi-chip module) shall count as a single socket. All occupied sockets on which the
program is installed and/or running must be licensed.

Oracle Solaris Premier Subscription for Non-Oracle Hardware per socket: is defmed as the right to use the Oracle Solaris
programs (as defmed below) on hardware not manufactured by or for Sun/Oracle, and to receive Oracle Premier Support for
Operating Systems services (limited to the Oracle Solaris programs), for the term specified in the ordering document. "Oracle
Solaris programs" refers to the Oracle Solaris operating system and the separately licensed third party technology (as defmed
below). The Oracle Solaris programs may contain third party technology. Oracle may provide certain notices to you in program
documentation, "readme" files or the installation details in connection with such third party technology. Third party technology
will be licensed to you either under the terms of the agreement, or if specified in the program documentation, "readme" files, or the
installation details, under separate license terms ("separate terms") and not under the terms of the agreement ("separately licensed
third party technology"). Your rights to use such separately licensed third party technology under the separate terms are not
restricted in any way by the agreement. The Oracle Solaris programs may include or be distributed with certain separately
licensed components that are part of Java SE ("Java SE"). Java SE and all components associated with it are licensed to you under
the terms of the Oracle Binary Code License Agreement for the Java SE Platform Products, and not under the agreement. A copy
of the Oracle Binary Code License Agreement for the Java SE Platform Products can be found at www.oracle.com/contracts.
This subscription is available only for a server that is certified by Oracle and listed on the Hardware Compatibility List (HCL) at
http://www.sun.com/bigadmin/hcl. You must obtain a subscription license for each socket in the server. The subscription term is
effective upon the effective date of the subscription ordering document, unless otherwise stated in your ordering document. If
your order was placed through the Oracle Store, then the effective date is the date your order was accepted by Oracle. Oracle
Premier Support for Operating System services are provided under the applicable technical support policies in effect at the time the
services are provided. At the end of the specified term, you may renew your subscription, if available, at the then current fees for
this subscription.

If your order specifies "1- 4 socket server" then you may only use the subscription on a server with not more than 4 sockets. If
your order specifies "5+ socket server" then you may use the subscription for servers with any number of sockets.

Subscriber: is defmed as (a) a working telephone number for all wireline devices; (b) a portable handset or paging device that has
been activated by you for wireless communications and paging; (c) a residential drop or a nonresidential device serviced by a cable
provider; or (d) a live connected utility meter. The total number of Subscribers is equal to the aggregate of all types of
Subscribers. If your business is not defmed in the primary definition of Subscriber above, Subscriber is defined as each U.S.
$1,000 increment of your gross annual revenue as reported to the SEC in your annual report or the equivalent accounting or
reporting document.

Suite: is defined as all the functional software components described in the product documentation.

Sun Ray Device: is defmed as the Sun Ray computer on which the program is running.

Tape Drive: is defmed as mechanical devices used to sequentially write, read and restore data from magnetic tape media.
Typically used, but not limited to, data protection and archival purposes, tape drives are deployed either as a standalone unit(s) or
housed within a robotic tape librmy. Examples of tape drive include but are not limited to, Linear Tape Open (LTO), Digital
Linear Tape (DLT), Advanced Intelligent Type (AIT), Quarter-Inch Cartridge(QIC), Digital Audio Tape (DAT), and 8mm Helical
Scan. For cloud based backups, Oracle counts each parallel stream or Recovery Manager (RMAN) channel as equivalent to a tape
drive.

Technical Reference Manuals
Technical Reference Manuals ("TRMs") are Oracle's confidential information. You shall use the TRMs solely for your internal
data processing operations for purposes of: (a) implementing applications programs, (b) interfacing other software and hardware
systems to the applications programs and (c) building extensions to applications programs. You shall not disclose, use or permit
the disclosure or use by others of the TRMs for any other purpose. You shall not use the TRMs to create software that performs the
same or similar functions as any of Oracle products. You agree: (a) to exercise either at least the same degree of care to safeguard
the confidentiality of the TRMs as you exercise to safeguard the confidentiality of your own most important confidential
infonnation or a reasonable degree of care, whichever is greater; (b) to maintain agreements with your employees and agents that
protect the confidentiality and proprietary rights of the confidential information of third parties such as Oracle and instruct your
OLSA_V06301l_US (Customized)                                                                                          Page 16 of26
                                                                                                          EXHIBIT C
                                                                                                      PAGE 44 OF 189
               Case 3:14-cv-01279-BR Document 18-1 Filed 09/08/14 Page 17 of 43
               Case 3:14-cv-01532-BR Document 1-3 Filed 09/25/14 Page 45 of 86


employees and agents of these requirements for the TRMs; (c) restrict disclosure of the TRMs to those of your employees and
agents who have a "need to know" consistent with the purposes for which such TRMs were disclosed; (d) maintain the TRMs at all
times on your premises; and (e) not to remove or destroy any proprietary or confidential legends or markings placed upon the
TRMs. Oracle shall retain all title, copyright and other proprietary rights in the TRMs. TRMs are provided to you "as-is" without
any warranty of any kind. Upon termination, you shall cease using, and shall return or destroy, all copies of the applicable TRMs.

Technical Support
For purposes of the ordering document, technical support consists of annual technical support services you may have ordered for
the programs. If ordered, annual technical support (including first year and all subsequent years) is provided under Oracle's
technical support policies in effect at the time the services are provided. The technical support policies, incorporated in this
agreement, are subject to change at Oracle's discretion; however, Oracle policy changes will not result in a material reduction in
the level of services provided for supported programs during the period for which fees for technical support have been paid. You
should review the policies prior to entering into the ordering document for the applicable services. You may access the current
version of the technical support policies at http://oracle.com/contracts.

Technical support is effective upon the effective date of the ordering document unless otherwise stated in your order. If your order
was placed through the Oracle Store, the effective date is the date your order was accepted by Oracle.

Software Update License & Support (or any successor technical support offering to Software Update License & Support, "SULS")
acquired with your order may be renewed annually and, if you renew SULS for the same number of licenses for the same
programs, for the first and second renewal years the fee for SULS, will not increase by more than 4% over the prior year's fees. If
your order is fulfilled by a member of Oracle's partner program, the fee for SULS for the frrst renewal year will be the price
quoted to you by your partner; the fee for SULS for the second renewal year will not increase by more than 4% over the prior
year's fees.

If you decide to purchase technical support for any license within a license set, you are required to purchase technical support at
the same level for all licenses within that license set. You may desupport a subset of licenses in a license set only if you agree to
terminate that subset of licenses. The technical support fees for the remaining licenses will be priced in accordance with the
technical support policies in effect at the time oftennination. Oracle's license set defmition is available in the current technical
support policies. If you decide not to purchase technical support, you may not update any unsupported program licenses with new
versions of the program.

Telephone Number: is defined as each unique telephone number for which the billing infonnation is managed or displayed using
the program, regardless of the number of individual account holders associated with such telephone numbers.

Terabyte: is defmed as a terabyte of computer storage space used by a storage filer equal to one trillion bytes.

$Bin Total Assets: is defmed as one billion U.S. Dollars of your latest published or internally available "Total Asset Value" as
disclosed in your annual report and/or regulatory filings.

Trainee: is defmed as an employee, contractor, student or other person who is being recorded by the program.

Transaction: is defined as each set of interactions that is initiated by an application user recorded by Oracle Enterprise Manager
to capture availability and perfonnance metrics used in calculating service levels. For example, the following set of interactions
would represent one transaction: login, search customer, log out.

lK Transactions: is defmed as one thousand unique transactions processed through the program during a 12 month period. You
may not exceed the licensed number of transactions during a 12 month period unless you acquire additional transaction licenses
from Oracle. For Oracle Contact Center Anywhere, a unique transaction is defined as one of the following: inbound phone call,
outbound phone call (direct dialed, preview dialed, predictive dialed, web call back), workgroup fax, workgroup email/voice mail,
and chat session (inbound sessions I web collaboration with agents). For JD Edwards World Purchase Card Management, a unique
transaction is defmed as a single charge processed by the program.

UPK Developer: is defmed as an individual authorized by you to use the programs which are installed on a single server or
multiple servers, regardless of whether the individual is actively using the programs at any given time. UPK Developers may
create, modify, view and interact with simulations and documentation.

UPK Module: is defined as the functional software component described in the product documentation

Wireless handset: is defmed as a mobile communications device such as a mobile telephone, PDA, or paging device, that has as
OLSA_V06301l_US (Customized)                                                                                          Page 17 of26
                                                                                                         EXHIBIT C
                                                                                                     PAGE 45 OF 189
              Case 3:14-cv-01279-BR Document 18-1 Filed 09/08/14 Page 18 of 43
              Case 3:14-cv-01532-BR Document 1-3 Filed 09/25/14 Page 46 of 86


primary functions wireless voice communications and data services provided through a service provider.

Workstation: is defmed as the client computer from which the programs are being accessed, regardless of where the program is
installed.

Term Designation
If your program license does not specify a term, the program license is perpetual and shall continue unless terminated as otherwise
provided in the agreement.

1, 2, 3, 4, 5 Year Terms: A program license specifying a 1, 2, 3, 4 or 5 Year Term shall commence on the effective date of the
order and shall continue for the specified period. At the end of the specified period the program license shall terminate.

1 Year Hosting Term: A program license specifying a 1 Year Hosting Tenn shall commence on the effective date of the order
and shall continue for a period of 1 year. At the end of the 1 year the program license shall terminate. A program license
specifying a 1 Year Hosting Term may only be used for providing internet hosting services.

1 Year Oracle Hosted Term: A program license specifying a 1 Year Oracle Hosted Term shall commence on the effective date
of the order and shall continue for a period of 1 year. At the end of the 1 year the program license shall terminate. A pro gram
license specifying a 1 Year Oracle Hosted Term must be hosted by Oracle.com via Computer and Administration services.

1 Year Subscription: A program license specifying a 1 Year Subscription shall commence on the effective date of the order and
shall continue for a period of 1 year. At the end of the 1 year the program license shall terminate.

Licensing Rules for Oracle Technology Programs and Oracle Business Intelligence Applications
Failover: Subject to the conditions that follow below, your license for the programs listed on the US Oracle Technology Price
List, which may be accessed at http://www.oracle.com/corporate/pricing/pricelists.html, includes the right to run the licensed
program(s) on an unlicensed spare computer in a failover enviromnent for up to a total often separate days in any given calendar
year (for example, if a failover node is down for two hours on Tuesday and three hours on Friday, it counts as two days). The
above right only applies when a number of machines are arranged in a cluster and share one disk array. When the primary node
fails, the failover node acts as the primary node. Once the primary node is repaired, you must switch back to the primary node.
Once the failover period has exceeded ten days, the failover node must be licensed. In addition, only one failover node per
clustered environment is at no charge for up to ten separate days even if multiple nodes are configured as failover. Downtime for
maintenance purposes counts towards the ten separate days limitation. When licensing options on a failover environment, the
options must match the number of licenses of the associated database. Additionally, when licensing by Named User Plus, the user
minimums are waived on one failover node only. Any use beyond the right granted in this section must be licensed separately. In
a failover environment, the same license metric must be used for the production and failover nodes when licensing a given
clustered configuration.

Testing: For the purpose of testing physical copies of backups, your license for the Oracle Database (Enterprise Edition, Standard
Edition or Standard Edition One) includes the right to run the database on an unlicensed computer for up to four times, not
exceeding 2 days per testing, in any given calendar year. The aforementioned right does not cover any other data recovery method
- such as remote mirroring - where the Oracle program binary files are copied or synchronized.

You are responsible for ensuring that the following restrictions are not violated:
•  Oracle Database Standard Edition can only be licensed on servers that have a maximum capacity of 4 sockets. Oracle
   Database Standard Edition, when used with Oracle Real Application Clusters, may only be licensed on a single cluster of
   servers supporting up to a maximum capacity of 4 sockets.
•  Oracle Standard Edition One, Internet Application Server Standard Edition One and Portal Standard Edition One can only be
   licensed on servers that have a maximum capacity of2 sockets.
• WebLogic Server Standard Edition does not include WebLogic Server Clustering.
• Business Intelligence Standard Edition One can only be licensed on servers that have the ability to run a maximum of 2
   sockets. The data sources for BI Server and BI Publisher are limited to the included Oracle Standard Edition One, one other
   database, and any number of flat file sources such as CSV, and XLS. You may use Oracle Warehouse Builder Core BTL to
   pull data from any number of data sources but you must use only the included Oracle Standard Edition One as the target
   database.
• Informatica PowerCenter and PowerConnect Adapters may not be used on a standalone basis or as a standalone ETL tool.
   The Informatica PowerCenter and PowerConnect Adapters may be used with any data source provided the target(s) are: (i)
   the Oracle Business Intelligence applications programs (excluding Hyperion "Enterprise Performance Management
   Applications), (ii) the underlying platforms on which the Oracle Business Intelligence Suite Enterprise Edition Plus program,

OLSA_V063011_US (Customized)                                                                                        Page 18 of26
                                                                                                       EXHIBIT C
                                                                                                   PAGE 46 OF 189
              Case 3:14-cv-01279-BR Document 18-1 Filed 09/08/14 Page 19 of 43
              Case 3:14-cv-01532-BR Document 1-3 Filed 09/25/14 Page 47 of 86


    Oracle Business Intelligence Standard Edition One or associated components of those Business Intelligence applications
    programs run, or (iii) a staging database for any of the foregoing. Informatica PowerCenter and PowerConnect Adapters may
    also be used where the Oracle Business Intelligence applications programs (excluding Hyperion Enterprise Performance
    Management Applications) are the source and non-Oracle Business Intelligence application programs are the target, provided,
    that users do not use Informatica PowerCenter and PowerConnect Adapters to transform the data.
•   With respect to the Java SE Advanced and Java SE Suite programs, you may not create, modify, or change the behavior of, or
    authorize your users to create, modify, or change the pehavior of, classes, interfaces, or subpackages that are in any way
    identified as "java", ']avax" "sun" or "oracle" or any variation of the aforementioned naming conventions. The installation
    and auto-update processes for these programs transmit a limited amount of data to Oracle (or its service provider) about those
    specific processes to help Oracle understand and optimize them. Oracle does not associate the data with personally
    identifiable information. You can fmd more information about the data Oracle collects at http://oracle.com/contracts.
    Additional copyright notices and license terms applicable to portions of the programs are set forth at
    http://oracle.com/contracts.
•   Programs that contain "for Oracle Applications" in the program name are limited use programs. These limited use programs
    may only be used with "eligible" Oracle application programs that contain the following prefixes in the program name:
    Oracle Fusion, Oracle Communications*, Oracle Documaker, Oracle Endeca*, Oracle Knowledge, Oracle Media, Oracle
    Retail*, Oracle Enterprise Taxation*, Oracle Tax, Oracle Utilities*, Oracle Financial Services*, Oracle FLEXCUBE, Oracle
    Reveleus, Oracle Mantas, Oracle Healthcare*, Oracle Health Sciences, Oracle Argus, Oracle Legal, Oracle Insurance and
    Oracle Primavera. For those prefixes designated above with a"*" not all programs with that prefix are eligible for use with
    the "for Oracle Applications" limited use programs. For a list of excluded programs please review the Applications Licensing
    Table, which may be accessed at http://oracle.com/contracts. Notwithstanding anything above, Oracle Business Intelligence
    Suite Enterprise Edition Plus for Oracle Applications may only be used with "eligible" Oracle application programs that
    contain "Oracle Fusion Human Capital Management" as a prefix in the program name provided that the Oracle Fusion Human
    Capital Management programs are the only programs configured to run against the database instance Oracle Business
    Intelligence Foundation Suite for Oracle Applications may also be used with the Oracle Product Information Management
    Analytics, Fusion Edition, Oracle Customer Data Management Analytics, Fusion Edition and Oracle Product Lifecycle
    Analytics programs. Oracle Business Intelligence Foundation Suite for Oracle Applications may also be used with the
    following programs provided that the Oracle Fusion Applications are the only data source: Oracle Sales Analytics, Fusion
    Edition; Oracle Partner Analytics, Fusion Edition; Oracle Supply Chain and Order Management Analytics; Oracle Financial
    Analytics, Fusion Edition; Oracle Procurement and Spend Analytics, Fusion Edition; Oracle Human Resources Analytics,
    Fusion Edition and Oracle Project Analytics. Any use of limited use programs containing "for Oracle Applications" by other
    Oracle applications or third party applications is not permitted.
•   Oracle BPEL Process Manager Option for Oracle Applications may be used only to enable business processes, workflow
    interactions and approvals within eligible Oracle Applications. Workflow interactions between eligible Oracle Applications
    and, other Oracle Applications or third party applications are allowed as long as they are enabled/initiated within the eligible
    Oracle Applications. Business Processes defined in BPEL are allowed as long as at least one of the services invoked from
    within the Business Process access an eligible Oracle Application either natively (via Web Services) or via an adapter.
•   Oracle Business Intelligence Foundation for Oracle Applications may be used only- to perform query, reporting and analysis
    against a transaction database; data warehouse or an Essbase OLAP cube if: (i) the transaction database is an eligible Oracle
    Applications transaction database itself or an extraction, in whole or in part, of an eligible Oracle Applications transaction
    database, without transformation (query, reporting and analysis against a transaction database that is not an eligible Oracle
    Applications transaction database requires a full use license of Oracle Business Intelligence Foundation Suite); or (ii) the data
    warehouse is a pre-packaged eligible Oracle Applications data warehouse, with any customizations necessary to reflect
    customizations made in the eligible Oracle Applications, and restricted only to the eligible Oracle Applications sources
    (query, reporting and analysis against extensions to the data warehouse drawn from source systems not supported by the pre-
    packaged data warehouses require a full use license of Oracle Business Intelligence Foundation Suite); or (iii) the dimensions
    of each Essbase OLAP Cube are sourced from eligible Oracle Applications.
•   Oracle WebLogic Suite for Oracle Applications may be used only as an embedded runtime for eligible Oracle Applications or
    to deploy customizations to an eligible Oracle Application. The WebLogic global datasource or one of the WebLogic
    application datasources must be configured to access the schema of an eligible Oracle Application.
•   Data Integrator Enterprise Edition for Oracle Applications may only be used with the Oracle supplied data integration jobs
    and customization of the· supplied jobs is allowed. For the avoidance of doubt, examples of uses that are not permitted
    include, but are not limited to, the following: adding new jobs that support different applications, new schemas, or previously
    unsupported application modules.
•   Oracle SOA Suite for Oracle Applications may be used only to enable integration, business processes, workflow interactions
    and approvals within eligible Oracle Applications. Workflow interactions between eligible Oracle Applications and other
    non-eligible Oracle Applications or third party applications are allowed as long as they are either initiated or terminated within
    eligible Oracle Applications. Usage of SOA composites (including but not limited to Rules, Mediator, XSLT transforms,
    BPEL processes, Spring components, Workflow services and OWSM security policies) is allowed as long as at least one of

OLSA_V0630ll_US (Customized)                                                                                          Page 19 of26
                                                                                                         EXHIBIT C
                                                                                                     PAGE 47 OF 189
               Case 3:14-cv-01279-BR Document 18-1 Filed 09/08/14 Page 20 of 43
               Case 3:14-cv-01532-BR Document 1-3 Filed 09/25/14 Page 48 of 86


    the services invoked from within each composite accesses an eligible Oracle Application either natively (via Web services) or
    via an adapter and the invocation is part of a flow that is either initiated or terminated within eligible Oracle Applications.
    Oracle Service Bus (OSB) usage is allowed as long as each service deployed accesses an eligible Oracle Application either
    natively (via Web services) or via an adapter.
•   Oracle WebCenter Portal for Oracle Applications may be used only to surface eligible Oracle Application(s) and custom
    applications (collectively, "eligible applications"). Surfacing any third-party applications, including other applications from
    Oracle, requires a license for Oracle WebCenter Portal. Multiple eligible applications may be surfaced in a single portal
    instance provided that a WebCenter Portal for Oracle Applications license exists for each eligible application surfaced in the
    portal. WebCenter Portal for Oracle Applications may be used to integrate the various WebCenter services (e.g., wikis, blogs,
    and discussions) into an application context, as well as to build out custom workflows and notifications between the eligible
    application and WebCenter Portal components. The content management features of the Oracle WebCenter Portal for Oracle
    Applications program may be used to store and manage documents created outside of the eligible application provided that
    such documents are related to the eligible application or to the application context.
•   Oracle WebCenter Imaging for Oracle Applications may be used to create and modify imaging searches, to modify pre-
    packaged imaging application document types, and to create and modify input mappings to imaging applications. Oracle
    WebCenter Imaging for Oracle Applications may also be used to invoke web service application programming interfaces
    (API's) from Oracle Application workflows. A license for WebCenter Imaging for Oracle Applications is required to defme
    new document types for the management of images unrelated to a pre-packaged Oracle Applications integration, to develop
    custom workflows, and to invoke APis from custom workflows or custom application integrations.
•   Oracle Identity and Access Management Suite Plus for Oracle Applications may be used only to perform associated actions
    for users of and within the eligible Oracle Applications. The programs may be used to do the following: (1) add, delete,
    modify, and manage user identities and roles in the eligible Oracle Applications; (2) provide web access management and
    single sign-on into eligible Oracle Applications; (3) provide data storage or virtualization to data storage of user identities and
    user identity related information or authentication and authorization policies for eligible Oracle Applications; (4) provide
    federated single sign-on to eligible Oracle Applications
•   Oracle Coherence Enterprise Edition for Oracle Applications may only be used within the same Java Virtual Machine as the
    eligible Oracle Application components.
•   Hyperion Data Integration Management, Hyperion Data Integration Management Team Based Development, and the
    Hyperion Data Integration Management Adapters for SAP BW, SAP R3, PeopleSoft and Siebel are licensed by Computer.
    Each Computer license is limited to support the use of up to 8 CPUs and each Computer license must be licensed in
    increments of 8 CPUs. Each core is recognized as a CPU. For computers that have more than 8 CPUs, additional Computer
    licenses must be purchased based upon the amount of CPUs that you are using. For example, if you are using Hyperion Data
    Integration Management on 12 CPUs, you need to purchase 2 Computer licenses; if you are using Hyperion Data Integration
    Management on 17 CPUs, you need to purchase 3 Computer licenses. These programs may be used solely in connection with
    moving data into and out of a Hyperion Data Store(s) (data!metadata repository(ies) delivered with the Hyperion programs.)
    These programs may not be used to extract data from a non-Hyperion Data Store(s) to load a custom data warehouse (a data
    warehouse not built solely from data from a Hyperion Data Store(s). The Hyperion Data Integration Management Computer
    license allows for such program to 1) connect to the following relational databases only: Oracle, Sybase, IBM DB2, MS SQL
    Server and 2) source from and write to an unlimited number of flat file/XML files. Hyperion Data Integration Management
    Adapters for SAP BW, SAP R3, PeopleSoft and Siebel must be licensed separately to allow Hyperion Data Integration
    Management to connect to these additional sources.-
•   The number of Hyperion program option licenses must match the number of licenses of the associated Hyperion program.
•   The license for the Hyperion Planning Plus program includes a limited use license for the Hyperion Essbase Plus, Hyperion
    Financial Reporting and Hyperion Web Analysis programs. Such limited use license means that the Hyperion Essbase Plus,
    Hyperion Financial Reporting and Hyperion Web Analysis programs may only be used to access data from the Hyperion
    Planning Plus program. The Oracle Data Integrator- Target Database program may be used to load data from any data source
    provided that the target database is the Hyperion Planning Plus program. Specifically, the Hyperion Essbase Plus program
    cannot be used to create Essbase cubes that do not contain data used by the Hyperion Planning Plus program and the
    Aggregate Storage option component of the Hyperion Essbase Plus program may not be used.
•   The license for the Hyperion Profitability and Cost Management program includes a limited use license for the Hyperion
    Essbase Plus, Hyperion Financial Reporting, Hyperion Web Analysis and Oracle Data Integrator- Target Database programs.
    Such limited use license means that the Hyperion Essbase Plus, Hyperion Financial Reporting, Hyperion Web Analysis and
    Oracle Data Integrator - Target Database programs may only be used to access data from the Hyperion Profitability and Cost
    Management program. Specifically, the Hyperion Essbase Plus program cannot be used to create Essb~se cubes that do not
    contain data used by the Hyperion Profitability and Cost Management program and the Aggregate Storage option component
    of the Hyperion Essbase Plus program may not be used.

If you purchase Named User Plus licenses for the programs listed below, you must maintain the following user minimums and user
maximums:

OLSA_V063011_US (Customized)                                                                                           Page 20 of26
                                                                                                          EXHIBIT C
                                                                                                      PAGE 48 OF 189
            Case 3:14-cv-01279-BR Document 18-1 Filed 09/08/14 Page 21 of 43
            Case 3:14-cv-01532-BR Document 1-3 Filed 09/25/14 Page 49 of 86



    Program                                                                Named User Plus Minimum
    Oracle Database Enterprise Edition                                     25 Named Users Plus per Processor
    Times Ten In-Memory Database                                           25 .Named Users Plus per Processor
    Cloud File System                                                      25 Named Users Plus per Processor
    Rdb Enterprise Edition                                                 25 Named Users Plus per Processor
    CODASYL DBMS                                                           25 Named Users Plus per Processor
    Data Integrator Enterprise Edition                                     25 Named Users Plus per Processor
    GoldenGate                                                             25 Named Users Plus per Processor
    GoldenGate for Non Oracle Database                                     25 Named Users Plus per Processor
    GoldenGate Veridata                                                    25 Named Users Plus per Processor
    GoldenGate for Teradata Replication Services                           25 Named Users Plus per Processor
    Java SE Advanced                                                       10 Named Users Plus per Processor
    Java SE Suite                                                          10 Named Users Plus per Processor
    WebLogic Server Standard Edition                                       10 Named Users Plus per Processor
    WebLogic Server Enterprise Edition                                     10 Named Users Plus per Processor
    WebLogic Suite                                                         10 Named Users Plus per Processor
    Web Tier                                                               10 Named Users Plus per Processor
    Coherence Standard Edition                                             10 Named Users Plus per Processor
    Coherence Enterprise Edition                                           10 Named Users Plus per Processor
    Coherence Grid Edition                                                 10 Named Users Plus per Processor
    TopLink and Application Development Framework                          10 Named Users Plus per Processor
    GlassFish Server                                                       10 Named Users Plus per Processor
    Internet Application Server Standard Edition                           10 Named Users Plus per Processor*
    Inte1net Application Server Enterprise Edition                         10 Named Users Plus per Processor*
    Enterprise Gateway                                                     10 Named Users Plus per Processor
    BPEL Process Manager                                                   10 Named Users Plus per Processor
    WebLogic Integration                                                   10 Named Users Plus per Processor
    Service Registry                                                      ·10 Named Users Plus per Processor
    Enterprise Repository                                                  10 Named Users Plus per Processor
    Forms and Reports                                                      10 Named Users Plus per Processor
    Tuxedo                                                                 10 Named Users Plus per Processor
    SOA Suite for Non Oracle Middleware                                    10 Named Users Plus per Processor
    Unified Business Process Management Suite for Non Oracle Middleware    10 Named Users Plus per Processor
    Event-Driven Architecture Suite                                        10 Named Users Plus per Processor
    Business Intelligence Standard Edition                                 10 Named Users Plus per Processor
    B2B for RosettaNet                                                     10 Named Users Plus per Processor
    B2B forEDI                                                             10 Named Users Plus per Processor
    Healthcare Adapter                                                     10 Named Users Plus per Processor
    B2B for ebXML                                                          10 Named Users Plus per Processor
    WebCenter Suite                                                        10 Named Users Plus per Processor
    WebCenter Services                                                     10 Named Users Plus per Processor
    Universal Content Management Standard Edition                          10 Named Users Plus per Processor
    Universal Content Management                                           10 Named Users Plus per Processor
    Imaging and Process Management                                         10 Named Users Plus per Processor
    Content Conversion Server                                              10 Named Users Plus per Processor
    Distributed Document Capture                                           10 Named Users Plus per Processor
    Directory Services Plus                                                10 Named Users Plus per Processor
    WebCenter Real-Time Collaboration                                      10 Named Users Plus per Processor
    WebCenter Intelligent Collaboration                                    10 Named Users Plus per Processor
    On Track Communication Standard Edition                                10 Named Users Plus per Processor
    On Track Communication Enterprise Edition                              10 Named Users Plus per Processor
    Enterprise Gateway for Access Management                               10 Named Users Plus per Processor
    Beehive Enterprise Messaging Server                                    10 Named Users Plus per Processor
    Beehive Enterprise Collaboration Server                                10 Named Users Plus per Processor


OLSA_V063011_US (Customized)                                                                           Page 21 of26
                                                                                           EXHIBIT C
                                                                                       PAGE 49 OF 189
               Case 3:14-cv-01279-BR Document 18-1 Filed 09/08/14 Page 22 of 43
               Case 3:14-cv-01532-BR Document 1-3 Filed 09/25/14 Page 50 of 86


*The Named User Plus Minimum does not apply if the program is installed on a one-processor machine that allows for a
maximum of one user per program.

          Program                                                Named User Plus Maximum
          Personal Edition                                       1 Named User Plus per database
          Business Intelligence Standard Edition One             50 Named Users Plus


If licensing by Named User Plus, the number of licenses for the programs listed below in column A must match the number of
licenses of the associated program listed in column B. In the case where the minimum number of Named User Plus licenses
are/were purchased, the number of licenses may not match due to variance in core factors between the time the respective
programs were licensed. If licensing by Processor, the number of licenses for the programs listed below in column A must match
the number of licenses of the associated program listed in column B. In the case where the programs are licensed at di~erent
times, the number of licenses may not match due to variance in core factors between the time the respective programs were
licensed; in that case the number of cores used to determine the number of licensed processors for the programs listed below in
column A must match the number of cores used to determine the number of licensed processors of the associated program listed in
Column B. Associated programs are those programs being used in conjunction with the program in Column A.


     ColumnA                                                           ColumnB
     Database Enterprise Edition Options*- Real Application            Oracle Database Enterprise Edition, Audit Vault
     Clusters, Real Application Clusters One Node, Partitioning,       Server
     OLAP, Data Mining, Spatial, Advanced Security, Label Security,
     Database Vault, Active Data Guard, Real Application Testing,
     Advanced Compression, Total Recall, Retail Data Model,
     Communications Data Model

     Database Enterprise Management*- Diagnostics Pack, Tuning
     Pack, Database Lifecycle Management Pack, Cloud Management
     Pack for Oracle Database

     RDB Server Options*- TRACE                                        Rdb Enterprise Edition, CODASYL DBMS

     WebLogic Suite Options**- BPEL Process Manager Option,            WebLogic Suite
     Service Bus, SOA Suite for Oracle Middleware, Business
     Process Management Suite

     Application Server Enterprise Management**- WebLogic              Associated application server program           being
     Server Management Pack Enterprise Edition, SOA Management         managed by the program in Column A.
     Pack Enterprise Edition, Cloud Management Pack for Oracle
     Fusion Middleware

     Management Pack for Oracle Coherence**                            Coherence Enterprise Edition, Coherence Grid
                                                                       Edition

     Management Pack for Oracle GoldenGate*                            GoldenGate, GoldenGate for Non Oracle Database,
                                                                       GoldenGate for Mainframe
     Business Intelligence Server Enterprise Edition Options-          Business Intelligence Server Enterprise Edition
     Interactive Dashboard, Delivers, Answers, Office Plug-in and
     Repmiing and Publishing

     Business Intelligence Suite Enterprise Edition Plus Option-       Business Intelligence Suite Enterprise Edition Plus
     Business Intelligence Management Pack

     Beehive Platform Options- Beehive Messaging, Beehive Team         Beehive Platform
     Collaboration, Beehive Synchronous Collaboration, Beehive
     Voicemail

     Hyperion Financial Data Quality Management Options-               Hyperion Financial Data Quality Management
OLSA_V0630ll_US (Customized)                                                                                     Page 22 of26
                                                                                                      EXHIBIT C
                                                                                                  PAGE 50 OF 189
               Case 3:14-cv-01279-BR Document 18-1 Filed 09/08/14 Page 23 of 43
               Case 3:14-cv-01532-BR Document 1-3 Filed 09/25/14 Page 51 of 86


      Hyperion Financial Data Quality Management Adapter for
      Financial Management, Hyperion Financial Data Quality
      Management Adapter Suite, Hyperion Financial Data Quality
      Management Adapter for SAP

      Hyperion Financial Data Quality Management for Hyperion             Hyperion Financial Data Quality Management for
      Enterprise Option- Hyperion Financial Data Quality                  Hyperion Enterprise
      Management                  Adapter               Suite

      Hyperion Data Integration Management Options- Hyperion              Hyperion Data Integration Management
      Data Integration Management Source Adapter, Hyperion Data
      Integration   Management    Team    Based    Development


*If licensing by Named User Plus you must maintain, at a minimum, 25 Named Users Plus per Processor
per associated program.

** If licensing by Named User Plus you must maintain, at a minimum, 10 Named Users Plus per Processor
per associated program.

Licensing Rules for ATG Applications
•   You are responsible for ensuring compliance with the application licensing prerequisites as specified in the Applications
                                                                            1
    Licensing Table, which may be accessed at http://oracle.com/contracts.
•   The Oracle A TG Web Commerce Business Intelligence program and the Oracle ATG Web Commerce Business Intelligence
    Administrator program may only be used in conjunction with either the Oracle ATG Web Commerce program and/or the
    Oracle ATG Web Knowledge Manager program. You may, however, expand your data model to include other information
    provided the additional information supplements information is already included in the Oracle ATG Web Commerce program
    or in the Oracle ATG Knowledge Manager program.
•   The Cognos BI Consumer Bundle is included in the Oracle A TG Web Commerce Business Intelligence program and is
    comprised of (a) one (1) reporting engine for anonymous viewers consisting of no more than two (2) processors and four (4)
    total cores, (b) unlimited anonymous report viewer seat licenses, (c) one (1) Named BI Web Administrator seat license and
    one (1) Named BI Professional Report Author seat license. Any additional seat licenses must be licensed separately by
    purchase of Oracle ATG Web Commerce BI Administrator seat licenses at an additional cost and are not included in any
    enterprise-wide or similar license.

Licensing Rules for .JD Edwards Applications
•   You are responsible for ensuring compliance with the application licensing prerequisites as specified in the Applications
    Licensing Table, which may be accessed at http://oracle.com/contracts.
•   The programs include GNU libgmp library; copyright 1991 Free Software Foundation, Inc. This library is free software that
    can be modified and redistributed under the terms of the GNU Library General Public License contained in the programs. The
    programs may also contain other third party products.
•   Your license for the program(s) may include additional license rights. Please review the additional license rights listed on the
    PeopleSoft I JD Edwards program table located at http://oracle.com/contracts for additional information.
•   The Foundation program contains the development foundation environment/toolkit. You understand and acknowledge that
    any software program developed with the functionality of the development foundation environment/toolkit is subject to the
    terms and conditions of this agreement. You will defend and indemnify Oracle against any claims by third parties for
    damages (including, without limitation, reasonable legal fees) arising out of any computer programs generated by you
    utilizing the development tools included in the programs. ORACLE DISCLAIMS ANY WARRANTY THAT THE
    DEVELOPMENT TOOLS INCLUDED IN THE PROGRAMS WILL GENERATE COMPUTER PROGRAMS WITH THE
    CHARACTERISTICS OR SPECIFICATIONS DESIRED BY YOU OR THAT SUCH GENERATED COMPUTER
    PROGRAMSWILLBEERRORFREE
•   The Oracle Technology Foundation for JD Edwards EnterpriseOne and the Oracle Technology Foundation for JD Edwards
    EnterpriseOne Upgrade programs each include a limited use license for Oracle Database Standard Edition. The database may
    be used solely in conjunction with any and all licensed JD Edwards EnterpriseOne programs, including third party programs
    licensed for use with JD Edwards EnterpriseOne programs. The database may be installed on an unlimited number of
    processors. If you require features and functions beyond those included with the Oracle Database Standard Edition, or if you
    require use of Oracle Database beyond your JD Edwards EnterpriseOne implementation, you may purchase a non-limited use
    license by contracting directly with Oracle or one of its authorized distributors.


OLSA_V06301l_US (Customized)                                                                                         Page 23 of26
                                                                                                        EXHIBIT C
                                                                                                    PAGE 51 OF 189
              Case 3:14-cv-01279-BR Document 18-1 Filed 09/08/14 Page 24 of 43
              Case 3:14-cv-01532-BR Document 1-3 Filed 09/25/14 Page 52 of 86


    The license for each of these programs also includes a limited use license for the following components of Oracle Fusion
    Middleware: Oracle Application Server Standard Edition or Oracle WebLogic Server Standard Edition (either of these
    products may be used, but both products cannot be used for the same function); Oracle JRockit NM; Oracle Application
    Server Portal; Oracle WebCenter Services; Oracle BPEL Process Manager; Oracle Business Activity Monitoring; Oracle
    Application Server Single Sign-On; Oracle Access Manager Basic;; Oracle Application Server Web Cache; and Oracle
    Business Intelligence Publisher. These components may be used solely in conjunction with any and all licensed JD Edwards
    EnterpriseOne programs, including third party programs licensed for use with JD Edwards EnterpriseOne programs. These
    components may be installed on an unlimited number of processors. If you require use of these components beyond your JD
    Edwards EnterpriseOne implementation you may purchase a non-limited use license for any of the Oracle components by
    contracting directly with Oracle or one of its authorized distributors.

    For the purpose of using Oracle Business Intelligence Publisher, Oracle will include a limited use license of Business
    Intelligence Publisher for use with JD Edwards EnterpriseOne programs. Any use of Business Intelligence Publisher outside
    of a JD Edwards EnterpriseOne program, such as with a your own "custom" applications as well as with other Oracle
    applications (including but not limited to Siebel Applications, PeopleSoft Applications, and/or Oracle Applications) will
    require a full use license of Business Intelligence Publisher. Business Intelligence Publisher may be installed on an unlimited
    number of processors.

    The development tools included with these programs may be used solely with the licensed JD Edwards EnterpriseOne
    programs and may not be used to create new applications. You will defend and indemnify Oracle against any claims by third
    parties for damages (including, without limitation, reasonable legal fees) arising out of any computer programs generated by
    you utilizing the development tools included in the programs. ORACLE DISCLAIMS ANY WARRANTY THAT THE
    DEVELOPMENT TOOLS INCLUDED IN THE JD EDWARDS ENTERPRISE ONE PROGRAM WILL GENERATE
    COMPUTER PROGRAMS WITH THE CHARACTERISTICS OR SPECIFICATIONS DESIRED BY YOU OR THAT
    SUCH GENERATED COMPUTER PROGRAMS WILL BE ERROR FREE.
•   The Technology Foundation and Technology Foundation Upgrade programs each include the following "IBM Components":
    IBM DB2 Universal Database, IBM WebSphere Application Server and IBM WebSphere Portal (as contained in
    Collaborative Portal). IBM Components may be used solely in conjunction with any and all licensed JD Edwards
    EnterpriseOne programs, including third party programs licensed for use with JD Edwards EnterpriseOne programs. You may
    obtain a general license for any of the IBM Components by contracting directly with IBM or one of its authorized distributors.
    The development tools included in this program may be used solely with the licensed JD Edwards EnterpriseOne programs
    and may not be used to create new applications. You will defend and indemnify Oracle against any claims by third parties for
    damages (including, without limitation, reasonable legal fees) arising out of any computer programs generated by you
    utilizing the development tools included in the programs. ORACLE DISCLAIMS ANY WARRANTY THAT THE
    DEVELOPMENT TOOLS INCLUDED IN THE PROGRAMS WILL GENERATE COMPUTER PROGRAMS WITH THE
    CHARACTERISTICS OR SPECIFICATIONS DESIRED BY YOU OR THAT SUCH GENERATED COMPUTER
    PROGRAMS WILL BE ERROR FREE.

Licensing Rules for Oracle E-Business Suite Applications
•   You are responsible for ensuring compliance with the application licensing prerequisites as specified in the Applications
    Licensing Table, which may be accessed at http://oracle.com/contracts.
•   The option Activity Hub B2B is only available with the Siebel Customer Universal Master component of the Customer Hub
    B2B program.
•   The option Field Service Hub B2B is only available with the Siebel Customer Universal Master component of the Customer
    Hub B2B program.
•   The option Marketing Hub B2B is only available with the Siebel Customer Universal Master component of the Customer Hub
    B2B program.
•   The option Sales Hub B2B is only available with the Siebel Customer Universal Master component of the Customer Hub B2B
    program.
•   The option Service Hub B2B is only available with the Siebel Customer Universal Master component of the Customer Hub
    B2B program .
•   The option Activity Hub B2C is only available with the Siebel Customer Universal Master component of the Customer Hub
    B2C program.
•   The option Field Service Hub B2C is only available with the Siebel Customer Universal Master component of the Customer
    Hub B2C program.
•   The option Marketing Hub B2C is only available with the Siebel Customer Universal Master component of the Customer Hub
    B2C program.
•   The option Privacy Management Policy Hub B2C is only available with the Siebel Customer Universal Master component of
    the Customer Hub B2C program.
OLSA_V063011_US (Customized)                                                                                        Page 24 of26
                                                                                                       EXHIBIT C
                                                                                                   PAGE 52 OF 189
              Case 3:14-cv-01279-BR Document 18-1 Filed 09/08/14 Page 25 of 43
              Case 3:14-cv-01532-BR Document 1-3 Filed 09/25/14 Page 53 of 86


•   The option Sales Hub B2C is only available with the Siebel Customer Universal Master component of the Customer Hub B2C
    program.
•   The option Service Hub B2C is only available with the Siebel Customer Universal Master component of the Customer Hub
    B2C program.

Licensing Rules for PeopleSoft Applications
• You are responsible for ensuring. compliance with the application licensing prerequisites as specified in the Applications
    Licensing Table, which may be accessed at http://oracle.com/contracts.
• Your license for the program(s) may include additional license rights. Please review the additional license rights listed on the
    PeopleSoft I JD Edwards program table located at http://oracle.com/contracts for additional information.
• The programs listed below include a license to use Business Analysis Modeler - Restricted Development to develop interfaces
    and modifications, including creation of new application data tables, only to the PeopleSoft programs you have licensed.
    Oracle will deliver this program to you per the delivery terms in your order.
        Integrated FieldService, Marketing, Mobile Sales, Online Marketing, Order Capture, Order Capture Self Service, Sales,

         Support for Customer Self Service

•   Your use of the Campus Self Service program is subject to the additional tenus and conditions set forth in the INAS Software
    Supplement located at http://oracle.com/contracts.
•   PeopleTools - Enterprise Development shall be used solely to develop applications for your internal data processing
    operations. In no event shall you market or distribute such applications. Notwithstanding anything to the contrary, you shall
    not have the right to use the functionality currently referred to as Verity search engine provided as part of this program for the
    purpose of developing applications.
•   Each PeopleTools - Enterprise Development ·Starter Kit program shall be used solely by 5 application users to develop
    applications containing no more than a total of 20 components (as defmed in the program documentation) for your internal
    data processing operations. In no event .shall you market or distribute such applications. Notwithstanding anything to the
    contrary, you shall not have the right to use the functionality currently referred to as Verity search engine provided as part of
    this program for the purpose of developing applications.
•   You may use PeopleTools - Restricted Development to develop interfaces and modifications, including creation of new
    application data tables, only to the PeopleSoft Enterprise programs you have licensed. Oracle will deliver this program to you
    per the delivery terms in your order
•   The Process Modeler Client program may only be used with PeopleSoft Enterprise or JD Edwards EnterpriseOne programs
    you have licensed from Oracle. You shall not use this program with any other software.
•   The license for the Student Administration program includes a limited use license for the Human Resources, Benefits
    Administration and the Payroll for North America programs. Such limited use license means that the Human Resources,
    Benefits Administration and the Payroll for North America Software modules shall only be used in order to access the features
    and functions of the Student Administration program. Your use of the Student Administration program is subject to the
    additional terms and conditions set forth in the INAS Software Supplement located at http://oracle.com/contracts.

Licensing Rules for Primavera Applications
• You are responsible for ensuring compliance with the application licensing prerequisites as specified in the Applications
    Licensing Table, which may be accessed at http://oracle.com/contracts~
• For the purposes of the following Primavera programs: Earned Value Management, Evolve, SureTrak, Contractor and P3
    Project Planner, you acknowledge that you have both read and understand the limited Software Update License & Support
    services that are available for these programs, as described in Oracle's Technical Support Policies.
• For purposes of the Primavera SureTrak and Primavera P3 Project Planner programs, you acknowledge that the agreement
    delivered to you with these programs (i.e., the Oracle License and Services Agreement), and not the end user license
    agreement contained in the product installation, governs ~he end user's use of these programs
• For the purposes of the Primavera Web Services program, developers and end users who are not already licensed for
    Primavera P6 Enterprise Project Portfolio Management and who need access to applications created using P6 Web Services
    and/or P6 Java APis, must be licensed for the Primavera Web Services program.

Licensing Rules for Siebel Applications
• You are responsible for ensuring compliance with the application licensing prerequisites as specified in the Applications
    Licensing Table, which may be accessed at http://oracle.com/contracts.
• For the Siebel Branch Teller Services program, Siebel Internet Banking Services program, Siebel Retail Finance Foundation
    Services program and the Siebel Financial Transactions Workbench program, you mayuse third party tools to (a) create
    materials or (b) modify the materials identified as Sample Screen Code and Process Templates in the program documentation,

OLSA_V0630ll_US (Customized)                                                                                   Page 25 of26
                                                                                                         EXHIBIT  C
                                                                                                     PAGE 53 OF 189
               Case 3:14-cv-01279-BR Document 18-1 Filed 09/08/14 Page 26 of 43
               Case 3:14-cv-01532-BR Document 1-3 Filed 09/25/14 Page 54 of 86


    all in accordance with the program documentation, and provided that such materials or modified materials shall be used solely
    with your licensed use of such programs. You shall not lilnit in any way Oracle's right to develop, use, license, create
    derivative works of, or otherwise freely exploit the programs, ancillary programs, program documentation, or any other
    materials provided by Oracle, or to permit third parties to do so.
•   The Siebel Details Program includes a license for 20 Concurrent Users that authorizes you to use the program on only one
    Computer for a maxilnum of 20 Concurrent Users at any given time.                                         ·
•   The Siebel Marketing Server program is licensed on a Computer basis together with the number of unique Customer Records
    that you may access using the program.
•   The Siebel Pharma Marketing Server is licensed on the basis of the number of unique Customer Records that you may access
    using the program together with the number of Brands that you may manage using the program.
•   The Siebel Pricmg Claims Server-Up to 20 Application Users is licensed on a Computer basis with a limitation on the number
    of Application Users.
•   The users or processors of the Siebel Web Channel program may access a maximum of 15 Objects. An "Object" is defmed as
    each data entity within the Business Object Layer of the programs that is defined in the Siebel Tools program.
•   The Siebel Data Quality License may only be used with Oracle Master Data Management or Oracle CRM deployments.

Licensing Rules for Programs Licensed per UPK Module
• Oracle grants to you a non-exclusive, nontransferable license for your UPK Developer(s) to: (i) use those User Productivity
    Kit ("UPK") programs licensed as UPK modules (collectively referred to as "UPK content") only as necessary to create and
    provide training solely for Employee and/or Application Users to use the underlying programs for your benefit; (ii) make an
    unlilnited number of copies of the UPK content only as necessary to create and provide training solely to Employees and/or
    Application Users to use the underlying programs for your benefit; and (iii) develop modifications and customizations to the
    UPK content, if applicable, all subject to the terms arid conditions set forth in this agreement, provided all copyright notices
    are reproduced as provided on the original. You represent and warrant that you have a valid license for the underlying
    program(s). You are prohibited from reselling or distributing the UPK content to any other party or using the UPK content
    other than as explicitly permitted in this agreement. Oracle represents that the UPK content and any content created by you
    using the UPK content contains valuable proprietary information. Oracle retains title to all portions of the UPK content and
    any copies thereof. You shall use UPK content modifications created by you solely for your internal use in accordance with
    the terms of this agreement. You may provide access to and use of the UPK content only to those third parties that are
    licensed as Application Users and that: (a) provide services to you concerning your use of the UPK content; (b) have a need
    to use and access the UPK content; and (c) have agreed to substantially similar non-disclosure obligations imposed by you as
    those contained in this agreement. Application and Employee User(s) of UPK programs may view and interact with
    simulations and documentation but may not create or modify simulations or documentation.

Licensing Rules for MySQL Programs
• The MySQL programs may contain third party technology. Oracle may provide certain notices to you in program
    documentation, "readme" files or the installation details in conne<;tion with such third party technology. Third party
    technology will be licensed to you either under the tenns of the agreement, or if specified in the program documentation,
    "readme" files, or the installation details, under separate license tenns ("separate terms") and not under the terms of the
    agreement ("separately licensed third party technology"). Your rights to use such separately licensed third party technology
    under the separate terms are not restricted in any way by the agreement.


                                                   March
The effective date ofthis agreement shall be _ _ _ _ __  14_ _ _ _ _ _ _ _ _ _ _, 2013.(to be completed by Oracle)

Oregon Health Insurance Exchange Corporation -                              Oracle America, Inc.
Cover Oregon        ·


~:~~::d'Lc? !?£
              't                .                   I      '""")
                                                                   '        Authorized_
                                                                            Signature:
                                                                                          ___:::._·~_ _ _ _ _ __
Name:_HOWJ.rd l'f?t1c.l::~/ hflj                                                   William Simpson
                                                                            Name: ___________________ __

                                                                                    Manager, License Contracts
Title:_   £K1-e.J-rV..J.. .:I)(r.e c;:hr.,-                                 Title:------------------

Signature Date:    -----.3_.L--1'/_,_/__.'~
                                          t /""""'~=-"O"'--"/'--"'o3_____                    March 14, 2013
                                                                            Signature Date: _____________   _
                                       I       I


OLSA_V0630ll_US (Customized)                            US-Term-GMA-14786492-14-MAR-2013                             Page 26 of26
                                                                                                        EXHIBIT C
                                                                                                    PAGE 54 OF 189
                 Case 3:14-cv-01279-BR Document 18-1 Filed 09/08/14 Page 27 of 43
                 Case 3:14-cv-01532-BR Document 1-3 Filed 09/25/14 Page 55 of 86



Oracle America, Inc. ("Oracle")
500 Oracle Parkway
Redwood Shores, CA 94065


Your Name         Oregon Health Insurance Exchange                Your Contact         Aaron Karjala
                  Corporation - Cover Oregon
Your Location     16760 SW Upper Boones Ferry Road                Phone Number         503-373-9417
                  Suite 200
                  Durham, OR 97224                                Email Address        aaron.karjala@orhix.org



    A.   Agreement and Modifications to the Agreement

    1.   Agreement

          This amendment (this "amendment") amends the Oracle License and Services Agreement V063011, dated
          - -March
              - - -14,
                   - -2013
                       - - - - : - : - - - - - - ' and all amendments .and addenda thereto (the "agreement") betw~en you and
          Oracle America, Inc. ("Oracle").

    2.   Modifications to the Agreement

         The parties agree to amend the agreement as specified below:

         a. Ownership and Restrictions (Section D)

            The word "programs" in the first sentence of the first paragraph of the Ownership and Restrictions section of the agreement
            is replaced by the phrase "programs, the operating system and integrated software".

            Add the following as a new second sentence in the first paragraph of the Ownership and Restrictions section of the
            agreement: "Oracle or its licensors retain all intellectual property rights to the hardware."

            In the second sentence of the second paragraph of the Ownership and Restrictions section of the agreement, the phrase
            "specified in the program documentation" is replaced by the phrase "specified in the program documentation or readme
            files or notice files".

         b. Indemnification (Sec~ion G)

            The term "Material" under the Indemnification section of the agreement shall include the hardware (as defined below).
            Provided you are a current subscriber to Oracle technical support services for the operating system (e.g., Oracle Premier
            Support for Systems, Oracle Premier Support for Operating Systems or Oracle Linux Premier Support), then for the period
            of time for which you are/were a subscriber to the applicable Oracle technical support services (i) the phrase "Material"
            under the Indemnification section of the agreement shall include the operating system and the integrated software and (ii)
            the phrase "program(s)" in the Indemnification section of the agreement is replaced by the phrase "program(s) or the
            operating system or integrated software (as applicable)" (i.e., Oracle will not indemnify you for your use of the operating
            system and/or integrated software when you are/were not a subscriber to the applicable Oracle technical support services).
            Notwithstanding the foregoing, with respect solely to the Linux operating system, Oracle will not indemnify you for materials
            that are not part of the Oracle Linux covered files as defined at http:// www.oracle.com/us/support/library/enterprise-linux-
            indemnification-069347.pdf.                 ·

            Add the following as a new second sentence in the second paragraph of subsection 1 of the Indemnification section of the
            agreement (section G .1):
            "Notwithstanding the previous sentence and with respect to hardware only, if the Provider believes or it is determined that
            the hardware (or portion thereof) may have violated a third party's intellectual property rights, the Provider may choose to
            either replace or modify the hardware (or portion thereof) to be non-infringing (while substantially preserving its utility or
            functionality) or obtain a right to allow for continued use, or if these alternatives are not commercially reasonable, the
            Provider may remove the applicable hardware (or portion thereof) and refund the net book value."

         c. Technical Support (Section H)

            Add the following paragraphs at the end of the Technical Support section of the agreement:




                                                                                                             EXHIBIT C Page 1 of 6
OLSA AmendmentforHWand MasterOrderTerms_v040912_US_ENG


                                                                                                         PAGE 55 OF 189
                   Case 3:14-cv-01279-BR Document 18-1 Filed 09/08/14 Page 28 of 43
                   Case 3:14-cv-01532-BR Document 1-3 Filed 09/25/14 Page 56 of 86

              "Oracle Hardware and Systems Support acquired with your order may be renewed annually and, if you renew Oracle
              Hardware and Systems Support for the same systems and same configurations, for the first and second renewal years the
              technical support fee will not increase by more than 4% over the prior year's fees.

              If ordered, Oracle Hardware and Systems Support (including first year and all subsequent years) is provided under
              Oracle's Hardware and Systems Support Policies in effect at the time the services are provided. You agree to cooperate
              with Oracle and provide the access, resources, materials, personnel, information, and consents that Oracle may require in
              order to perform the services. The Oracle Hardware and Systems Support Policies, incorporated in this agreement, are
              subject to change at Oracle's discretion; however, Oracle will not materially reduce the level of services provided during the
              period for which fees for Oracle Hardware and Systems Support have been paid. You should review the policies prior to
              entering into an order. You may access the current version of the Oracle Hardware and Systems Support Policies at
              http://www.oracle.com/us/supportlpolicies/index.html."

         d. End of Agreement (Section I)

              In the second sentence of the End of Agreement section of the agreement, the phrase "programs ordered and/or services
              received" is replaced by the phrase "hardware and programs ordered and/or services received".

              In the fifth and sixth sentences of the End of Agreement section of the agreement, the phrase "programs and/or services" is
              replaced by the phrase "hardware, programs and/or services".

         e.    Entire Agreement (Section L)

               The phrase "programs and/or services" is replaced by the phrase "programs, hardware, operating system, integrated
               software and/or services" in all instances in the Entire Agreement section of the agreement.

         f. Limitation of Liability(Section M)

              In the second sentence of the Limitation of Liability section of the agreement, (i) the phrase "PROGRAMS OR SERVICES"
              is replaced by the phrase "PROGRAMS, HARDWARE OR SERVICES" and (ii) the phrase "PROGRAM OR SERVICES" is
              replaced by the phrase "PROGRAM, HARDWARE OR SERVICES".

         g. Export (Section N)

              The Export section of the agreement is deleted and replaced with the following:

               "Export laws and regulations of the United States and any other relevant local export laws and regulations apply to the
               programs and hardware (including any integrated software and operating system(s)). You agree that such export laws
               govern your use of the programs (including technical data), hardware (including any integrated software and operating
               system(s)) and any services deliverables provided under this agreement, and you agree to comply with all such export
               laws and regulations (including "deemed export" and "deemed re-export" regulations). You agree that no data,
               information, program, hardware (including any integrated software and operating system(s)) and/or materials resulting
               from services (or direct product thereof) will be exported, directly or indirectly, in violation of these laws, or will be used for
               any purpose prohibited by these laws including, without limitation, nuclear, chemical, or biological weapons proliferation,
               or development of missile technology. You shall include the following notice on packing lists, commercial invoices,
               shipping documents and other documents involved in the transfer, export or re-export of the programs and hardware
               (including any integrated software and operating system(s)): 'These commodities, technology, software, or hardware
               (including any integrated software and operating system(s)) were exported in accordance with U.S. Export Administration
               Regulations and applicable export laws. Diversion contrary to applicable export laws is prohibited."'

         h. Other (Section 0)

              Subsection 0.3 of the Other section of the agreement is deleted in its entirety and replaced with the following:

               "You may not assign this agreement or give or transfer the programs, the operating system, the integrated software and/or
               any services or an interest in them to another individual or entity. If you grant a security interest in the programs, the
               operating system, the integrated software and/or any services deliverables, the secured party has no right to use or
               transfer the programs, the operating system, the integrated software and/or any services deliverables, and if you decide to
               finance your acquisition of hardware, programs and/or any services, you will follow Oracle's policies regarding financing
               which are at http://oracle.com/contracts. The foregoing shall not be construed to limit the rights you may otherwise have
               with respect to the linux operating system, third party technology or separate works licensed under open source or similar
               license terms."

         i. Force Majeure (Section P)




                                                                                                                   EXHIBIT CPage 2 of6
OLSA AmendmentforHWand MasterOrderTerms_v040912_US_ENG


                                                                                                               PAGE 56 OF 189
                  Case 3:14-cv-01279-BR Document 18-1 Filed 09/08/14 Page 29 of 43
                  Case 3:14-cv-01532-BR Document 1-3 Filed 09/25/14 Page 57 of 86

              In the last sentence of the Force Majeure section of the agreement, the phrase "your obligation to pay for programs
              delivered or services provided" is replaced by the phrase "your obligation to pay for programs delivered, services provided
              or hardware ordered".

    B. Terms Specific to Hardware and Hardware Support Services

    1.   Hardware Composition

         a. Your hardware order consists of the following items: operating system (as defined in your configuration), integrated
         software and all hardware equipment (including components, options and spare parts) specified on the applicable order. The
         term "hardware" is defined as the hardware equipment, including components, options and spare parts. The term "integrated
         software" is defined as software embedded in the hardware which is essential to hardware functionality (e.g., firmware).

         b. You have the right to use the operating system delivered with the hardware subject to the terms of the license agreement(s)
         delivered with the hardware. Current versions of the license agreements are located at http://oracle.com/contracts. You are
         licensed to use the operating system and any operating system updates acquired through technical support only as
         incorporated in, and as part of the hardware.

         c. You have the limited, non-exclusive, royalty free, non-assignable right to use integrated software delivered with the
         hardware subject to the terms of this amendment and the applicable documentation. You are licensed to use such integrated
         software and any integrated software updates acquired through technical support only as incorporated in, and as part of the
         hardware.

         d. The operating system and/or integrated software may include separate works, identified in a readme file, notice file or the
         applicable documentation, which are licensed under open source or similar license terms; your rights to use the operating
         system and integrated software under such terms are not restricted in any way by the agreement including this amendment
         The appropriate terms associated with such separate works can be found in the readme files, notice files or in the
         documentation accompanying the operating system and integrated software.

         For GPLv2, LGPLv2.1, GPLv3 and LGPLv3 licensed code received by you as binaries on physical media, if you would like to
         receive a copy of the source code ("source code") on media via postal service, submit your written request at
         <http://oss.oracle.com/systems-opensourcecode >. Alternatively, you can mail your written request to Oracle Corporation,
         Attn: VP of Legal, Development and Engineering, 500 Oracle Parkway, MS-50P10, Redwood Shores, CA 94065. Your
         request should include the name and version number of the product, your name, your company name (if applicable), your
         return mailing address, and your email address. Certain source distributions require a fee for physical media. Should this be
         the case, you will be sent details on the cost and payment procedure via email. Your request must be sent within three (3)
         years of the date of our last delivery of the applicable product. This offer only applies if you received your operating system
         and/or integrated software on physical media.

         e. You may only make copies of the operating system and integrated software for archival purposes, to replace a defective
         copy, or for program verification. You shall not remove any copyright notices or labels on the operating system or integrated
         software. You shall not decompile or reverse engineer the operating system or integrated software.

         f. Oracle may include additional programs on the hardware (e.g., Exadata Storage Server software). You are not authorized
         to use those programs unless you have a license specifically granting you the right to do so; however, you may use programs
         for trial, non-production purposes for up to 30 days from the date of delivery provided that such use is subject to the terms for
         trial programs in the agreement.

         g. You acknowledge that to operate certain hardware your facility must meet a minimum set of requirements as described in
         the hardware documentation. Such requirements may change from time to time, as communicated by Oracle to you in the
         applicable hardware documentation.

    2.   Use Restriction

         The hardware is not specifically designed, manufactured, or intended for use as parts, components, or assemblies for the
         planning, construction, maintenance, or operation of a nuclear facility. Use of the hardware for these purposes is prohibited.

    3.   Warranty

         a.    Oracle provides a limited warranty ("Oracle Hardware Warranty") for (i) the hardware, (ii) the operating system and the
               integrated software, and (iii) the operating system media and the integrated software media (collectively, "media"). Oracle
               warrants that the hardware will be free from, and using the operating system and integrated software will not cause in the
               hardware, material defects in materials and workmanship for one year from the date the hardware is delivered to you.
               Oracle warrants that the media will be free from material defects in materials and workmanship for a period of 90 days
               from the date the media is delivered to you. . You may access a more detailed description of the Oracle Hardware
               Warranty at http://www.oracle.com/us/support/policieslindex.html ("the warranty web page"). Any changes to the Oracle
               Hardware Warranty specified on the warranty web page will not apply to hardware or media ordered prior to such change.



                                                                                                             EXHIBIT C Page 3 of6
OLSA AmendmentforHWand MasterOrderTerms_v040912_US_ENG


                                                                                                         PAGE 57 OF 189
                            Case 3:14-cv-01279-BR Document 18-1 Filed 09/08/14 Page 30 of 43
                            Case 3:14-cv-01532-BR Document 1-3 Filed 09/25/14 Page 58 of 86

                     The Oracle Hardware Warranty applies only to hardware and media that have been (1) manufactured by or for Oracle,
                     and (2) sold by Oracle (either directly or by an Oracle-authorized distributor). The hardware may be new or like new. The
                     Oracle Hardware Warranty applies to hardware that is new and hardware that is like-new which has been remanufactured
                     and certified for warranty by Oracle.

              b.      FOR ANY BREACH OF THE ABOVE WARRANTIES, YOUR EXCLUSIVE REMEDY AND ORACLE'S ENTIRE
                      LIABILITY SHALL BE: (i) THE REPAIR OR, AT ORACLE'S OPTION AND EXPENSE, REPLACEMENT OF THE
                      DEFECTIVE PRODUCT, OR (ii) IF SUCH REPAIR OR REPLACEMENT IS NOT REASONABLY ACHIEVABLE, THE
                      REFUND OF THE FEES YOU PAID ORACLE FOR THE DEFECTIVE PRODUCT AND THE REFUND OF ANY
                      UNUSED PREPAID TECHNICAL SUPPORT FEES YOU HAVE PAID FOR THE DEFECTIVE PRODUCT. TO THE
                      EXTENT NOT PROHIBITED BY LAW, THESE WARRANTIES ARE EXCLUSIVE AND THERE ARE NO OTHER
                      EXPRESS OR IMPLIED WARRANTIES OR CONDITIONS WITH RESPECT TO THE ABOVE ITEMS, INCLUDING
                      ANY WARRANTIES OR CONDITIONS OF MERCHANTABILITY AND FITNESS FOR A PARTICULAR PURPOSE.

              c.     Replacement units for defective parts or components replaced under the Oracle Hardware Warranty may be new or like
                     new quality. Such replacement units assume the warranty status of the hardware into which they are installed and have
                     no separate or independent warranty of any kind. Title in all defective parts or components shall transfer back to Oracle
                     upon removal from the hardware.

              d.      ORACLE DOES NOT WARRANT UNINTERRUPTED OR ERROR-FREE OPERATION OF THE HARDWARE,
                      OPERATING SYSTEM, INTEGRATED SOFTWARE OR MEDIA.

              e.      No warranty will apply to any hardware, operating system, integrated software or media which has been:

                      (i)    modified, altered or adapted without Oracle's written consent (including modification or removal of the Oracle/Sun
                             serial number tag on the hardware);
                      (ii)   maltreated or used in a manner other than in accordance with the relevant documentation;
                      (iii)   repaired by any third party in a manner which fails to meet Oracle's quality standards;
                      (iv)    improperly installed by any party other than Oracle or an authorized Oracle certified installation partner;
                      (v) used with equipment or software not covered by the Oracle Hardware Warranty, to the extent that the problems are
                             attributable to such use;
                      (vi)    relocated, to the extent that problems are attributable to such relocation;
                      (vii) used directly or indirectly in supporting activities prohibited by U.S. or other national export regulations;
                      (viii) used by parties appearing on the most current U.S. export exclusion list;
                      (ix)    relocated to countries subject to U.S. trade embargo or restrictions;
                      (x) used remotely to facilitate any activities in the countries referenced in (ix) above; or
                      (xi) purchased from any entity other than Oracle or an Oracle authorized distributor.

         f.        The Oracle Hardware Warranty does not apply to normal wear of the hardware or media. The Oracle Hardware Warranty is
                   extended only to the original purchaser or original lessee of the hardware and may be void in the event that title to the
                   hardware is transferred to a third party.

    4.        Delivery, Installation and Acceptance of Hardware

              a. You are responsible for installation of the hardware, unless you purchase installation services from Oracle with respect to
                 such hardware.

              b. Oracle will deliver the hardware to the delivery address specified by you on your purchasing document or when your
                 purchasing document does not indicate a ship to address, the location specified on the order. The applicable country
                 specific hardware shipping terms are located in the Order and Delivery Policies, which may be accessed at
                 http://oracle. com/contracts.

              c. Acceptance of the hardware occurs on delivery.

              d. Oracle may make and invoice you for partial deliveries.

              e. Oracle may make product substitutions and modifications that do not cause a material adverse effect in overall hardware
              performance.

              f. Oracle will use its reasonable commercial efforts to deliver the hardware within a timeframe that is consistent with Oracle's
              past practices regarding the amount and type of hardware that you have ordered.

    5.        Transfer of Title

              Title to the hardware will transfer upon delivery.

    C.        Terms Specific to Program(s)



                                                                                                                   EXHIBIT C Page 4 of6
OLSA AmendmentforHWand MasterOrderTerms_v040912_US_ENG


                                                                                                               PAGE 58 OF 189
                 Case 3:14-cv-01279-BR Document 18-1 Filed 09/08/14 Page 31 of 43
                 Case 3:14-cv-01532-BR Document 1-3 Filed 09/25/14 Page 59 of 86


    1.   Delivery and Installation

         a.   You are responsible for installation of the programs unless the programs have been pre-installed by Oracle on the
              hardware you are purchasing under the order or you purchase installation services from Oracle with respect to such
              programs.

         b.   Oracle has made available to you for electronic download at the electronic delivery web site located at the following
              Internet URL: http://edelivery.oracle.com the programs listed in the Programs and Program Support Services section of
              the applicable order. Through the Internet URL, you can access and electronically download to your location the current
              production release as of the effective date of the applicable order of the software and related program documentation for
              each program listed. Provided that you have continuously maintained technical support for the programs listed, you may
              continue to download the software and related program documentation. Please be advised that not all programs are
              available on all hardware/operating system combinations. For current program availability please check the electronic
              delivery web site specified above. You acknowledge that Oracle is under no further delivery obligation with respect to
              programs under the applicable order, electronic download or otheJWise.

         c.   If ordered, Oracle will deliver the tangible media to the delivery address specified on 'the applicable order. You agree to
              pay applicable media and shipping charges. The applicable shipping terms for the delivery of tangible media are: FCA
              Shipping Point, Prepaid, and Add.

    D. General Terms

    1.   Commencement Date

         a.   For the hardware, operating system and integrated software, the commencement date shall be the date the hardware is
              delivered. The period of performance for all related services is effective upon delivery of hardware or upon the effective
              date of the order if shipment of hardware is not required.

         b.   For all program licenses, the commencement date is the date of shipment of tangible media or upon the effective date of
              the order if shipment of tangible media is not required. The period of performance for all services for the programs is
              effective upon shipment of tangible media or upon the effective date of the order if shipment of tangible media is not
              required.

    2.   Territory

         a.   The hardware shall be installed in the country that you specify as the delivery location on your purchasing document or
              when your purchasing document does not indicate a ship to address, the location specified in the order.

         b.   The program licenses shall be for use as designated on each order.

    3.   Pricing, Invoicing, and Payment Obligation

         a.   Once placed, your order shall be non-cancelable and the sums paid nonrefundable, except as provided in the agreement.

              You may change a hardware order prior to shipment subject to the then current change order fee as established by
              Oracle from time to time. The applicable change order fees and a.description of allowed changes are defined in the Order
              and Delivery Policies, which may be accessed at http://oracle.com/contracts.

         b.   In entering into payment obligations under an order, you agree and acknowledge that you have not relied on the future
              availability of any hardware, program or updates. However, (a) if you order technical support, the preceding sentence
              does not relieve Oracle of its obligation to provide such technical support under the agreement, if and when available, in
              accordance with Oracle's then current technical support policies, and (b) the preceding sentence does not change the
              rights granted to you under an order and the agreement.

         c.   You understand that you may receive multiple invoices for the products and/or services you ordered.

         d.   Hardware fees are invoiced as of the commencement date for hardware.

         e.   Program fees are invoiced as of the commencement date for the programs.

         f.   Service fees are invoiced in advance of the service performance; specifically, technical support fees are invoiced annually
              in advance.

         g.   In addition to the prices listed on the order, Oracle will invoice you for any applicable freight charges or applicable taxes,
              and you will be responsible for such charges and taxes notwithstanding any express or implied provision in the




                                                                                                               EXHIBIT C Page 5 of6
OLSA AmendmentforHWand MasterOrderTerms_v040912_US_ENG


                                                                                                           PAGE 59 OF 189
                 Case 3:14-cv-01279-BR Document 18-1 Filed 09/08/14 Page 32 of 43
                 Case 3:14-cv-01532-BR Document 1-3 Filed 09/25/14 Page 60 of 86

              "lncoterms" referenced in the Order and Delivery Policies. The Order and Delivery Policies may be accessed at
              http://oracle.com/contracts.

         h.   Invoices will be submitted to you pursuant to Oracle's Invoicing Standards Policy, which may be accessed at
              http://oracle.com/contracts.

    4.   Segmentation

         The purchase of (a) hardware and/or related hardware support, (b) programs and/or related technical support, or (c) other
         services are all separate offers and separate from any other order for (i) hardware and/or related hardware support, (ii)
         programs and/or related technical support, or (iii) other services you may receive or have received from Oracle. You
         understand that you may purchase (x) hardware and/or related hardware support, (y) programs and/or related technical
         support, or (z) other services independently of any other product or service. Your obligation to pay for (i) hardware and/or
         related hardware support is not contingent on performance of any other service or delivery of programs, (ii) programs and/or
         related technical support is not contingent on delivery of hardware or performance of any other service, or (iii) other services is
         not contingent on delivery of hardware, delivery of programs or performance of any additional/other service.

    5.   Source Code

         Oracle may deliver source code as part of its standard delivery for particular programs, operating system or integrated
         software; all source code delivered by Oracle is subject to the terms of the agreement, the applicable order and the
         applicable program documentation.

Subject to the modifications herein, the agreement shall remain in full force and effect.
                                                 March 14, 2013
The effective date of this amendment i s - - - - - - , - - - - - - - - - - ·          (to b.e completed by Oracle)



 Oregon Health lnsuran                                                      Oracle America, Inc.



                                                                                                     '®16
 - Cover Oregon
                                                                            Signature·
 Signature

 Name                ..L....!..W.~Yi.!......l.£!...~~~-....   5             Name                  William Simpson


 Title
                     ZP,1 e. J?n.ct eli~                                    Title                 Manager, License Contracts

 Signature Date            3\ lj- \~\3                                      Signature Date        March 14, 2013




                                                                                                              EXHIBIT C Page 6 of6
OLSA AmendmentforHWand MasterOrderTerms_v040912_US_ENG
US-Term-GMA-14786492-14-MAR-2013
                                                                                                          PAGE 60 OF 189
              Case 3:14-cv-01279-BR Document 18-1 Filed 09/08/14 Page 33 of 43
              Case 3:14-cv-01532-BR Document 1-3 Filed 09/25/14 Page 61 of 86

                                           EXHIBIT 1
                              PROVISIONS REQUIRED BY FEDERAL LAW

For any order funded in whole or in part by a grant issued to you by the U.S. Federal Government, Oracle shall
comply and, where indicated, cause all subcontractors to comply with the following federal requirements. For
purposes of this Exhibit, all references to federal laws are references to federal laws as they may be amended
from time to time.

(1)    Equal Employment Opportunity. If an order placed under the agreement, including amendments, is for
more than $10,000, then Oracle shall comply with Executive Order 11246, entitled "Equal Employment
Opportunity," as amended by Executive Order 11375, and as supplemented in Department of Labor regulations
(41 CFR Part 60).

(2)      Clean Air, Clean Water, EPA Regulations. If an order placed under the agreement, including
amendments, exceeds $100,000 then Oracle shall comply with all applicable standards, orders, or requirements
issued under Section 306 of the Clean Air Act (42 U.S.C. 1857(h)), the Federal Water Pollution Control Act as
amended (commonly known as the Clean Water Act) (33 U.S. C. 1251 to 1387), specifically including, but not
limited to Section 508 (33 U.S.C. 1368). Executive Order 11738, and Environmental Protection Agency
regulations (40 CFR Part 15), which prohibit the use under non exempt Federal contracts, grants or loans of
facilities included on the EPA List of Violating Facilities. Violations shall be reported to the Agency, HHS and
the appropriate Regional Office of the Environmental Protection Agency. Oracle shall include and cause all
subcontractors to include in all contracts with subcontractors receiving more than $100,000 in Federal Funds,
language requiring the subcontractor to comply with the federal laws identified in this section.

(3) Energy Efficiency. Oracle shall comply with mandatory standards and policies relating to energy efficiency
that are contained in the Oregon energy conservation plan issued in compliance with the Energy Policy and
Conservation Act (Pub. L. 94 163) that are expressly applicable to Oracle's delivery of programs and services
under the agreement and impose obligations upon Oracle in its role as an information technology services
provider with respect to the programs and services provided under this agreement.

(4) Ttuth in Lobbying. Oracle certifies, to the best of Oracle's knowledge and belief that:

        A. No federal appropriated funds have been paid or will be paid, by or on behalf of Oracle, to any
person for influencing or attempting to influence an officer or employee of an agency, a Member of Congress,
an officer or employee of Congress, or an employee of a Member of Congress in connection with the awarding
of any federal contract, the making of any federal grant, the making of any federal loan, the entering into of any
cooperative agreement, and the extension, continuation, renewal, amendment or modification of any federal
contract, grant, loan or cooperative agreement.

        B. If any funds other than federal appropriated funds have been paid or will be paid to any person for
influencing or attempting to influence an officer or employee of any agency, a Member of Congress, an officer
or employee of Congress, or an employee of a Member of Congress in connection with this federal contract,
grant, loan or cooperative agreement, Oracle shall complete and submit Standard Form LLL, "Disclosure Form
to Report Lobbying" according to its instructions.

      C. Oracle shall require that the language of this certification be included in the award documents for all
subawards at all tiers (including subcontracts, subgrants, and contracts under grants, loans, and cooperative
agreements) and that all subrecipients and subcontractors shall certify and disclose accordingly.

This certification is a material representation of fact upon which reliance was placed when this agreement was
made or entered into. Submission of this certification is a prerequisite for making or entering into this

                                                                                           EXHIBIT C
                                                                                       PAGE 61 OF 189
              Case 3:14-cv-01279-BR Document 18-1 Filed 09/08/14 Page 34 of 43
              Case 3:14-cv-01532-BR Document 1-3 Filed 09/25/14 Page 62 of 86

agreement imposed by section 1352, Title 31, U.S. Code. Any person who fails to file the required certification
shall be subject to a civil penalty of not less than $10,000 and not more than $100,000 for each such failure

(5)    HIPAA.

        A. Consulting Services. In the event you require Oracle to access Protected Health Information
("PHI") as defined Health Insurance Portability and Accountability Act of 1996 and its regulations ("HIPAA")
for the provision of services under an order for consulting services, Exhibit 3 to this agreement must be
expressly included with such order and signed by the parties. Exhibit 3 may change from time to time to reflect
changes in applicable law and shall not apply to any other services provided by Oracle.

       B. On Demand Services. To meet the security obligations under HIPAA, as amended by the Health
Information Technology for Economic and Clinical Health (HITECH) Act, Oracle offers its On Demand
HIPAA Security Service. The HIPAA Security Service services include additional security controls that
supplement the practices described in the On Demand Security Practices for @Oracle Schedule and are aligned
with the standards established by HITECH. If you plan to store PHI in your On Demand Environment(s), the
purchase of On Demand HIPAA Security Service is required, you must execute an order for such services from
Oracle On Demand.

 (6) Substance Abuse Prevention and Treatment. Oracle shall comply with federal rules and statutes pertaining
to the Substance Abuse, Prevention, and Treatment Block Grant, including the reporting provisions of the
Public Health Services Act (42 USC 300x through 300x-64).


(7)     Debarment and Suspension. Oracle shall not permit any person or entity to be a subcontractor if the
person or entity is listed on the non-procurement portion of the General Service Administration's "List of
Parties Excluded from Federal Procurement or Non-procurement Programs" according to Executive Orders No.
12,549 and No. 12,689, "Debarment and Suspension". (See 45 CFR part 76). This list contains the names of
parties debarred, suspended, or otherwise excluded by agencies, and contractors declared ineligible under
statutory authority other than Executive Order No. 12549. Subcontractors with awards that exceed the
simplified acquisition threshold shall provide the required certification regarding their exclusion status and that
of their principals prior to award.

(9)    ADA. Oracle shall comply and cause all subcontractors to comply with Title II of the Americans with
Disabilities Act of 1990 (codified at 42 USC 12131 et. seq.) in the conduct of all services associated with the
performance of work under this agreement.




                                                                                           EXHIBIT C
                                                                                       PAGE 62 OF 189
          Case 3:14-cv-01279-BR Document 18-1 Filed 09/08/14 Page 35 of 43
          Case 3:14-cv-01532-BR Document 1-3 Filed 09/25/14 Page 63 of 86

                                              EXHIBIT 2
                                             INSURANCE

A. REQUIRED INSURANCE. Oracle shall obtain at Oracle's expense the insurance specified in this
section prior to performing under this Contract and shall maintain it in full force and at its own expense
throughout the duration of this Contract and all warranty periods. Oracle shall obtain the following
insurance from insurance companies or entities that are authorized to transact the business of insurance and
issue coverage in State and that are acceptable to Agency.

   i. WORKERS COMPENSATION. All employers,' including Oracle, that employ subject workers, as
   defined in ORS 656.027, shall comply with ORS 656.017 and shall provide workers' compensation
   insurance coverage for those workers, unless they meet the requirement for an exemption under ORS
   656.126(2). Oracle shall require and ensure that each of its subcontractors complies with these
   requirements.

   ii. PROFESSIONAL LIABILITY

   [:g) Required by Agency    D   Not required by Agency.

   [:g) Professional Liability. Professional Liability Insurance covering any damages Oracle shall obtain
   and maintain at its own expenses for the duration of this Contract Professional Liability Insurance with a
   combined single limit, or the equivalent, as set forth below. This is to cover damages caused by error,
   omission or negligent acts related to the professional services to be provided under this Contract. Full
   limits can be obtained by the purchase of one primary policy or a primary and excess policy as needed to
   provide the full policy limits. Professional Liability Insurance shall include Technology Errors &
   Omissions, Network Security and Privacy Liability and Media Liability, whether combined with the
   Professional Liability policy or placed as a separate policy, but carrying the same limits of liability.

   [:g) Per occurrence limit for any single claimant:
    From commencement of the Contract term to June 30,2010: $1,500,000.
    July 1, 2010 to June 30,2011:                                $1,600,000.
    July 1, 2011 to June 30, 2012:                               $1,700,000.
    July 1, 2012 to June 30, 2013:                               $1,800,000.
    July 1, 2013 to June 30, 2014:                               $1,900,000.
    July 1, 2014 to June 30, 2015:                               $2,000,000.
    July 1, 2015 and thereafter the adjusted limitation as determined by the State Court Administrator
    pursuant to Oregon Laws 2009, chapter 67, sections 3 and 5 (Senate Bill 311 ).
    Per occurrence limit for multiple claimants:
    From commencement of the Contract term to June 30,2010: $3,000,000.
    July 1, 2010 to June 30,2011:                                $3,200,000.
    July 1, 2011 to June 30, 2012:                               $3,400,000.
    July 1, 2012 to June 30, 2013:                               $3,600,000.
    July 1, 2013 to June 30, 2014:                               $3,800,000.
    July 1, 2014 to June 30, 2015:                               $4,000,000.
    July 1, 2015 and thereafter the adjusted limitation as determined by the State Court Administrator
  . pursuant to Oregon Laws 2009, chapter 67, sections 3 and 5 (Senate Bill 311 ).

   iii. COMMERCIAL GENERAL LIABILITY.

   [:g) Required by Agency    D   Not required by Agency.


                                                                                     EXHIBIT C
                                                                                 PAGE 63 OF 189
      Case 3:14-cv-01279-BR Document 18-1 Filed 09/08/14 Page 36 of 43
      Case 3:14-cv-01532-BR Document 1-3 Filed 09/25/14 Page 64 of 86

cgj Commercial General Liability. Commercial General Liability Insurance covering bodily injury,
death, and property damage in a form and with coverages that are satisfactory to the State. This
insurance shall include personal injury liability, products, and completed operations. Coverage shall
be written on an occurrence basis. Oracle shall provide proof of insurance of not less than the
following amounts as determined by the Agency:

Bodily Injury/Death:

cgj Per occurrence limit for any single claimant:
From commencement of the Contract term to June 30,2010: $1,500,000.
July 1, 2010 to June 30,2011:                                $1,600,000.
July 1, 2011 to June 30, 2012:                               $1,700,000.
July 1, 2012 to June 30, 2013:                               $1,800,000.
July 1, 2013 to June 30, 2014:                               $1,900,000.
July 1, 2014 to June 30, 2015:                               $2,000,000.
July 1, 2015 and thereafter the adjusted limitation as determined by the State Court Administrator
pursuant to Oregon Laws 2009, chapter 67, section 3 (Senate Bill 311 ).

Per occurrence limit for multiple claimants:
From commencement of the Contract term to June 30,2010: $3,000,000.
July 1, 2010 to June 30,2011:                                $3,200,000.
July 1, 2011 to June 30, 2012:                               $3,400,000.
July 1, 2012 to June 30, 2013:                               $3,600,000.
July 1, 2013 to June 30, 2014:                               $3,800,000.
July 1, 2014 to June 30, 2015:                               $4,000,000.
July 1, 2015 and thereafter the adjusted limitation as determined by the State Court Administrator
pursuant to Oregon Laws 2009, chapter 67, section 3 (Senate Bill 311 ).

AND

Property Damage:

cgj Per occurrence limit for any single claimant:
From July 1, 2010 ofthe Contract term to June 30,2011:$100,100.
From July 1, 2010, and every year thereafter the adjusted limitation as determined by the State Court
Administrator pursuant to Oregon Laws 2009, chapter 67, section 5 (Senate Bill 311 ).

Per occurrence limit for multiple claimants:
From July 1, 2010 of the Contract term to June 30,2011: $500,600.
From July 1, 2010, and every year thereafter the adjusted limitation as determined by the State Court
Administrator pursuant to Oregon Laws 2009, chapter 67, section 5 (Senate Bill 311 ).

iv. AUTOMOBILE LIABILITY INSURANCE: AUTOMOBILE LIABILITY.

cgj Required by Agency     D   Not required by Agency.

Automobile Liability. Automobile Liability Insurance covering all owned, non-owned, or hired
vehicles. This coverage may be written in combination with the Commercial General Liability
Insurance (with separate limits for "Commercial General Liability" and "Automobile Liability").
Oracle shall provide proof of insurance of not less than the following amounts as determined by the
Agency:

                                                                                  EXHIBIT C
                                                                              PAGE 64 OF 189
          Case 3:14-cv-01279-BR Document 18-1 Filed 09/08/14 Page 37 of 43
          Case 3:14-cv-01532-BR Document 1-3 Filed 09/25/14 Page 65 of 86

    Bodily Injury/Death:

   ~ Per occurrence limit for any single claimant:
   From commencement of the Contract term to June 30,2010: $1,500,000.
   July 1, 2010 to June 30, 2011:                                $1,600,000.
   July 1, 2011 to June 30, 2012:                                $1,700,000.
   July 1, 2012 to June 30, 2013:                                $1,800,000.
   July 1, 2013 to June 30, 2014:                                $1,900,000.
   July 1, 2014 to June 30, 2015:                                $2,000,000.
   July 1, 2015 and. thereafter the adjusted limitation as determined by the State Court Administrator
   pursuant to Oregon Laws 2009, chapter 67, section 3 (Senate Bill311).
   Per occurrence limit for multiple claimants:
   From commencement of the Contract term to ·June 30, 2010: $3,000,000.
   July 1, 2010 to June 30, 2011:                                $3,200,000.
   July 1, 2011 to June 30, 2012:                                $3,400,000.
   July 1, 2012 to June 30, 2013:                                $3,600,000.
   July 1, 2013 to June 30, 2014:                                $3,800,000.
   July 1, 2014 to June 30, 2015:                                $4,000,000.    1

   July 1, 2015 and thereafter. the adjusted limitation as determined by the State Court Administrator
   pursuant to Oregon Laws 2009, chapter 67, section 3 (Senate Bill311).

    AND

   Property Damage:

    ~ Per occurrence limit for any single claimant:
   July 1, 2010 ofthe Contract term to June 30,2011:$100,100.
   From July 1, 2010, and every year thereafter the adjusted limitation as determined by the State Court
   Administrator pursuant to Oregon Laws 2009, chapter 67, section 5 (Senate Bill 311 ).
   Per occurrence limit for multiple claimants:
   From July 1, 2010 ofthe Contract term to June 30,2011:$500,600.
   From July 1, 2010, and every year thereafter the adjusted limitation as determined by the State Court
   Administrator pursuant to Oregon Laws 2009, chapter 67, section 5 (Senate Bill 311 ).


B. ADDITIONAL INSURED. The Commercial General Liability insurance and Automobile Liability
insurance required under this Contract shall include the State of Oregon, its officers, employees and agents
as Additional Insureds but only with respect to Oracle's activities to be performed under this Contract.
Coverage shall be primary and non-contributory with any other insurance and self-insurance.


C. "TAIL" COVERAGE. If any of the required professional liability insurance is on a "claims made"
basis, Oracle shall either maintain either "tail" coverage or continuous "claims made" liability coverage,
provided the effective date of the continuous "claims made" coverage is on or before the effective date of
this Contract, for a minimum of24 months following the later of (i) Oracle's completion and Agency's
acceptance of all Services required undet this Contract, or, (ii) The expiration of all warranty periods provided
under this Contract. Notwithstanding the foregoing 24-month requirement, if Oracle elects to maintain "tail"
coverage and if the maximum time period "tail" coverage reasonably available in the marketplace is less than
the 24-month period described above, then Oracle shall maintain "tail" coverage for the maximum time period
that "tail" coverage is reasonably available in the marketplace for the coverage required under this Contract.
Oracle shall provide to Agency, upon Agency's request, certification of the coverage required under this section
4.C.
                                                                                        EXHIBIT C
                                                                                    PAGE 65 OF 189
          Case 3:14-cv-01279-BR Document 18-1 Filed 09/08/14 Page 38 of 43
          Case 3:14-cv-01532-BR Document 1-3 Filed 09/25/14 Page 66 of 86


D. NOTICE OF CANCELLATION OR CHANGE. There shall be no cancellation, material change,
potential exhaustion of aggregate limits or non-renewal of insurance coverage(s) without 30 days' written
notice from this Oracle or its insurer(s) to Agency. Any failure to comply with the reporting provisions of
this clause shall constitute a material breach of Contract and shall be grounds for immediate termination of
this Contract by Agency.


E. CERTIFICATE(S) OF INSURANCE. Oracle agrees to provide Agency with a certificate(s) of
insurance evidencing such coverage within a reasonable time of the receipt of a written request for same.
The Certificate(s) must specify all entities and individuals who are endorsed on the policy as Additional
Insured (or Loss Payees). Oracle shall pay for all deductibles, self-insured retention and self-insurance, if
any.




                                                                                       EXHIBIT C
                                                                                   PAGE 66 OF 189
              Case 3:14-cv-01279-BR Document 18-1 Filed 09/08/14 Page 39 of 43
              Case 3:14-cv-01532-BR Document 1-3 Filed 09/25/14 Page 67 of 86

                                 DRAFT FOR REVIEW PURPOSES ONLY –
                              SUBJECT TO ORACLE MANAGEMENT APPROVAL



                                          CONSULTING PHI ADDENDUM

                                ORACLE CONTRACT INFORMATION

 This PHI addendum amends the (insert reference to the exhibit), dated (insert date), and all amendments and addenda thereto
 (the “Exhibit”) between you and Oracle America, Inc. (“Oracle”).




WHEREAS you represent that the Health Insurance Portability and Accountability Act of 1996 and its regulations
(“HIPAA”), as amended by the Health Information Technology for Economic and Clinical Health (“HITECH”) Act
of 2009 govern your use of protected health information (“PHI”) and electronic protected health information
(“EPHI”), as defined by HIPAA;

WHEREAS you acknowledge that you are required under 45 CFR Sections 164.502(b), 164.514(d) and 164.530(c)
and section 13405 of the HITECH Act to make reasonable efforts to limit the disclosure of PHI and EPHI to the
minimum necessary for Oracle to perform the services;

          WHEREAS Oracle recognizes your obligations under HIPAA and the HITECH Act to require service by
          HIPAA and HITECH (commonly referred to as a “HIPAA Business Associate Agreement” or BAA)
          providers to whom it is necessary to provide access to PHI or EPHI to agree to certain contractual terms and
          conditions as required designed to maintain the privacy and security of such PHI or EPHI;

THEREFORE, the parties agree to the following:

I. In the event that access to such PHI is necessary for the provision of services under the Exhibit, Oracle will take the
following measures designed to protect the privacy of such PHI contained in your system(s), unless otherwise
required by law:

          A. Not use or further disclose such PHI other than as permitted or required by the Exhibit.

          B. Use safeguards to prevent the use or disclosure of such PHI other than as provided under the Exhibit;
             such safeguards are described in the Oracle Consulting and Advanced Customer Services Security
             Practices, which are available at http://www.oracle.com/corporate/contracts/consulting-services.html.

          C. Report to you any use or disclosure of such PHI in violation of the terms of the Exhibit of which Oracle
             becomes aware.

          D. Ensure that any agents, including a subcontractor, to whom Oracle provides such PHI agree in all
             material respects to the same restrictions and conditions that apply to Oracle with respect to such PHI
             under the Exhibit.

          E. Make available to you any requests received by Oracle from individuals to inspect or obtain a copy of
             their PHI in accordance with 45 CFR Section 524.

          F. Make available to you any requests received by Oracle from individuals to have their PHI amended in
             accordance with 45 CFR Section 526.

          Oracle Confidential                                1
          Consulting PHI Addendum V071310
                                                                                                    EXHIBIT C
                                                                                                PAGE 67 OF 189
               Case 3:14-cv-01279-BR Document 18-1 Filed 09/08/14 Page 40 of 43
               Case 3:14-cv-01532-BR Document 1-3 Filed 09/25/14 Page 68 of 86

                                 DRAFT FOR REVIEW PURPOSES ONLY –
                              SUBJECT TO ORACLE MANAGEMENT APPROVAL

          G. Make available to you any requests received by Oracle from individuals for an accounting of
             disclosures of PHI in accordance with 45 CFR Section 528.

          H. Make internal practices, books and records relating to the use and disclosure of such PHI available to
             the United States Department of Health and Human Services or his or her designee for purposes of
             determining your compliance with 45 CFR Section 164.504(e).

          I.   At the end of the services under the ordering document or termination thereof pursuant to the terms of
               the Exhibit, if feasible and at your request, Oracle shall return or destroy any such PHI then in its
               possession in any form, and retain no copies of such PHI. If such return or destruction is not feasible,
               Oracle will extend the protections specified in the ordering document to such PHI and limit further uses
               and disclosures to those purposes that make its return or destruction of such PHI infeasible.

II. In the event that access to such EPHI is necessary for the provision of services under the Exhibit, Oracle will also
take the following measures designed to protect the security of such EPHI contained in your system(s), unless
otherwise required by law:


          A. Implement administrative, physical, and technical safeguards that are designed to protect the
             confidentiality, integrity, and availability of such EPHI; such safeguards are described in the Oracle
             Consulting and Advanced Customer Services Security Practices, which are available at
             http://www.oracle.com/corporate/contracts/consulting-services.html.

          B. Ensure that any agent, including a subcontractor, to whom Oracle provides such EPHI agrees to
             implement reasonable safeguards consistent with the terms of this addendum to protect it.

          C. Notify you of a security incident (as defined by 45 CFR 164.304) or breach (as defined by 45 CFR
             164.402) involving your EPHI (collectively, “breach”) without unreasonable delay, and in no case more
             than thirty (30) calendar days after discovery of the breach. The notice shall include the identification
             of each individual, to the extent known by Oracle, whose unsecured protected health information has
             been, or is reasonably believed by Oracle to have been, accessed, acquired or disclosed during such
             breach. To the extent known, Oracle shall also provide you with: a brief description of what happened,
             including the date of the breach and the date of the discovery of the breach; a description of the types of
             unsecured EPHI that were involved in the breach; and a brief description of what Oracle is doing to
             investigate the breach and protect against any further breaches of the same or similar nature.

          D. As required by Section 13401(a) of the HITECH Act, Oracle will comply with 45 CFR Sections
             164.308, 164.310, 164.312 and 164.316 (requiring the implementation of administrative, physical and
             technical safeguards and related policies and procedures) to the extent that those provisions apply to
             Oracle’s performance of the services. The Oracle Consulting and Advanced Customer Services
             Security Practices and the Oracle Consulting PHI Privacy and Security Practices describe how Oracle
             has implemented these requirements. The Oracle Consulting and Advanced Customer Services
             Security Practices are available at http://www.oracle.com/corporate/contracts/consulting-services.html,
             and the Oracle Consulting PHI Privacy and Security Practices are available at
             https://support.oracle.com/ > Search Knowledge Base > Doc ID# 1147888.1 > Consulting PHI Privacy
             and Security Practices.

III. In the event that access to such PHI or EPHI is necessary for the provision of services under the Exhibit, to the
extent technically feasible, you will limit Oracle’s access to PHI and EPHI to the minimum necessary for Oracle to
perform the services. You agree to take reasonable measures to prevent any PHI or EPHI from being delivered to or

          Oracle Confidential                              2
          Consulting PHI Addendum V071310
                                                                                                EXHIBIT C
                                                                                            PAGE 68 OF 189
              Case 3:14-cv-01279-BR Document 18-1 Filed 09/08/14 Page 41 of 43
              Case 3:14-cv-01532-BR Document 1-3 Filed 09/25/14 Page 69 of 86

                                 DRAFT FOR REVIEW PURPOSES ONLY –
                              SUBJECT TO ORACLE MANAGEMENT APPROVAL
otherwise placed in Oracle’s possession (i.e. “possession” as distinguished from “access to” PHI or EPHI. Oracle
will promptly return or destroy any PHI or EPHI that you inadvertently provide or that Oracle otherwise receives as a
result of performing the services.

IV. Termination

          A. You may terminate the applicable Exhibit if Oracle is in material breach of the obligations stated in this
             PHI addendum and fails to correct the breach within 30 days of written specification of the breach. The
             terms and conditions of this PHI addendum shall survive termination of the Exhibit.

          B. As required by Section 13404(b) of the HITECH Act, in the event that Oracle becomes aware of a
             pattern of activity or practice by you that constitutes a material failure to comply with the standards set
             forth in 45 CFR Sections 164.502(e) and 164.504(e), and if upon notice you fail to take reasonable steps
             to correct such failure, you acknowledge that Oracle is required promptly to terminate the Exhibit.


Subject to the modifications herein, the Exhibit shall remain in full force and effect.

The effective date of this PHI addendum is _______________, 201__. {to be completed by Oracle}.

(insert Customer name)                                       Oracle America, Inc.

Authorized Signature:_________________________               Authorized Signature:_______________________

Name:_______________________________________                 Name:_____________________________________

Title:________________________________________               Title:______________________________________

Signature Date: _______________________________              Signature Date: _____________________________




          Oracle Confidential                               3
          Consulting PHI Addendum V071310
                                                                                                EXHIBIT C
                                                                                            PAGE 69 OF 189
             Case 3:14-cv-01279-BR Document 18-1 Filed 09/08/14 Page 42 of 43
             Case 3:14-cv-01532-BR Document 1-3 Filed 09/25/14 Page 70 of 86




ORACLE'
                              ORDERING DOCUMENT/EXHIBIT AMENDMENT ONE

Customer Name:              Oregon Health Insurance Exchange               Oracle America, Inc.
                            Corporation dba Cover Oregon
Customer Address:           16760 SW Upper Boones Ferry Road,              1001 Sunset Blvd.
                            Suite 200                                      Rocklin, CA 95765
                            Durham, Oregon 97224


                               ORACLE CONTRACT INFORMATION

Oracle License and Services Agreement Number: US-TERM-GMA-14786492-14-MAR-2013.

This ordering document/exhibit amendment one ("ODA-1 ")amends the ordering document and/or exhibit(s) listed below
and all ordering document/exhibits thereto (the "ordering document") between you and Oracle America, Inc. ("Oracle").
This ordering document is subject to the February 28, 2014 AGREEMENT between the parties. Termination or expiration
of the AGREEMENT shall not cause a tem1ination of this Ordering Document.

The ordering document/exhibit is amended as follows:

A. AMENDMENT DETAILS

    1. Ordering document US-2042340-0D-03-JUN-2013

       You and Oracle hereby agree to amend the ordering document as follows:

       a.    Section A, Services- Delete Services Table in its entirety and replace with the following:

              Services                                   Reference                                                   Fees

              Time and Materials Services                Exhibit 1-TME-300392598                           $1,348,620.00
              Time and Materials Services                Exhibit 1-TME-300392598 ODA-1                     $2,292,502.00
                                         · Total.Fees                                                      $3,641,122.00

    2. Exhibit 1-TME-300392598.

       You and Oracle hereby agree to amend the time and material exhibit as follows:

        a.   Section I -Description of Services -Replace:

        "Oracle will provide you with an estimated one thousand four (1,004) person days to assist Cover Oregon ("CO"
        or "you" or "your") with the testing of the Health Insurance Exchange System ("OR HIX"). Oracle will assist you
        with the testing of the following applications which are collectively referred to herein as "Target Application(s)":"

        With:

        "Oracle will provide you with an estimated two thousand six hundred thirty two (2,632) person days to assist
        Cover Oregon ("CO" or "you" or "your") with the testing of Iteration 17c, Release 1.1 and Release 1.2 of the

                                                                                                                Page 1 of2


                                                                                                   EXHIBIT C
                                                                                               PAGE 70 OF 189
               Case 3:14-cv-01279-BR Document 18-1 Filed 09/08/14 Page 43 of 43
               Case 3:14-cv-01532-BR Document 1-3 Filed 09/25/14 Page 71 of 86




          llealth Insurance Exchange System ("OR HIX"). Oracle will assist you with the testing of the foilowing
          appli cations which are collectively referred to herein as "Tnrget Application(s)":''

          b. Section I.A System Integration Testi ng- Replace:

          "Oracle will provide you with up to one thousand four (I ,004) person days to assist you with system integration
          testing on functional ity as covered by the test cases:"

          With:

          "Oracle will provide you with up to two thousand six hundred thirty two (2,632) person di!ys to assist you with
          system integration
          testing on functionality as covered by the Iteration 17c, Release 1.1 and 1\eleasc 1.2 test cases:"

 13. ADDITIONALTERMS

     I.   Order of Precedence. In the event of any inconsistencies between the ordering dm:ument, ordering document,
          amendment one, nnd this ordering document/ex hibit amendment two, this ordering document/exhibit amendment
          two shall take precedence.

     2. Other. Subject to the modifications herein, the ordering document and applicable exhibit(s) shall remai n in full
        force and effect.


IThis quote is valid through February 28, 2014 and shall become binding upon execution by you and acceptance by Oracle.
 01·egon Health Insurance E xchange Corporation                          Oracle America, lnc.
 dba Cover Oregon


                                                                                     s;g"'""~vU ~
                                    )

 Authorized Signature: \ · J                                             Autho6,<d

                                                                                 12"~(1.1"~ ,4-l\. '~"'\
               I . .            '       \        .
 Nnme:     \ ,) ,(_ \.·-l "--   (_ !'· ( \ )         t '., ~ (l._   l'   Name:

 Title:   ~. 'X~(_- p I( €                   -\u(L
                                            C.                           Title: ~ ~.r lf,-CA..-             p. ..._~·~
 Signature Date:       q:=~         2-~          2-----0     I   L{      Signature Date :   "2- J"2
                                                                                               ~
                                                                                                      ~ /t ~
                                                                                                       f




 Ordering Document/Exhibit Amendment Ooe Effective Date: September I, 2013




                                                                                                                    Page 2 of2


                                                                                                               EXHIBIT C
                                                                                                           PAGE 71 OF 189
              Case 3:14-cv-01279-BR             Document 18-2 Filed 09/08/14 Page 1 of 55
              Case 3:14-cv-01532-BR             Document 1-3 Filed 09/25/14 Page 72 of 86




ORACL€"
                                                ORDERING DOCUMENT

CustomerName: Oregon Health Insurance Exchange dba                                       Oracle ^{mericar lnc.
                   Cover Oregon
Customer .{ddress: 1ó760 S\ry Upper Boones Ferry Road' Suite 200                         1001 Sunset Blvd.
                   I)urham, Oregon 91224                                                 Rocklin, CA 95765

                               ORACLE CONTRÁ.CT INFORMATION
Agreement; OracleLicense and Services ÄgreementNumber: US-TERM-GMÁ.-14786492-14-MÄR¿013

Ordering Document Number: A*ZÛ34622-OD-28'APR-2013

This ordering document incorporates by reference the terms of the agreement specified¿bove and all amendments
             *-agreems¡¡?). Aj used in this ordering documen! 'þu" or "your" shall refer to the customer as defined in
thereto (the
the agreement


A.    SERVICES

you have ordered the services listed below in the table       and. detailed   in the attached exhibit(s), which are incorporated
herein by reference.

All   fees on this ordering document are in US Dollars.

 Services                                                                    Reference                                  Fees*
 Time and Materials Servlces                                          Exhibit I -TME-30038867 I              $45,322,114.00

                                                 Total    X'ees                                              $45,322,114.00

All fees payable to Oracle arc due within thifty (30) days frorn ttre invoice date. Invoices for services performed under
separate exhibits may be provided separately. Fees for any time and materials engagements listed above are estimated
fees, as detailed in the referenced time and material services exhibi(s).

B.    ADTImIONAL       TERMS¡
                                                                  i
1.    Segmentation
      Thê purchase of (i) hardware and/or related hardware support, (ü) programs and/or related æchnical support, or (iii)
      other services are all separate offers and separate from any other order for (i) hardware and/or related hardware
      support, (ii) programs and/or related technical support or (iü) otler services you may teceive or have received from
      Oracle, You understand that you may purohase (i) hardware and/or related hardware support, (ii) programs and./or
      related technical support, or (üi) other services independently ofany other product or service. Your obligation to pay
      for (i) hardware and/or related hardware support, (ü) programs and/or related technical support or (iii) other services
      is not contingent on delivery of hardware or performance of any other service

2.    Cont4ct Information.




20A959 Cover Oregon ODTME 04282013                                                                               Page   I oî24

                                                                                                        EXHIBIT C
                                                                                                    PAGE 72 OF 189
               Case 3:14-cv-01279-BR            Document 18-2 Filed 09/08/14 Page 2 of 55
               Case 3:14-cv-01532-BR            Document 1-3 Filed 09/25/14 Page 73 of 86




     Oracle Contr¿cts                                              Your                               Contact:
      Name:        Doug Stanley                                      Name:         Triz delaRosa
      Addless:     1001 Sunset Blvd.                                 Address:      16760 SW Upper Boones Ferry Road,
                   Rocklin, CA95765                                                Suite 200
                                                                                   Durham, Oreson 97224
      Phone:       9r6-315-5373                                      Phone:        503.3739402
      Fax:         916-315-5373                                      Fax:
      Email:                                                         Email:        td elaro sa(@coverore go n. com


3    Order ofPrecedence.
     ¡r th-       of *y inconsistenoies between (i) ttre agreement and this ordering document, this ordering document
             "*rt
     shall take precedeicg and (ii) this ordering document (excluding exhibits) and any attached exhibits, the exhibits
     shall take precedence.

4.   Change Contl'ol P{ocess.
     ¡tty r"qu"rt for any change in servioes must be in writing;   this includes requests for changes in project plans, scope,
     specifications, schédule, designs, requirements, service deliverables, software environmenl hardware enviÏonmsnt or
     any other aspect ofyour order. Oracle shall notbe obligated to performtasks relatedto changes in time, scope, cost,
     or contractual obligations until you and Oracle agree in writing to the proposed change in an amendment to this
     ordering document and/or applicable exhibi(s),

5    Rishts Granted
     Upon páyment for services, Cover Oregon shall have a royalty-free, nonexclusive, and irrevocable license for Cover
     Oregon and the U,S. Federal government to reproduce, publish, or otherwise use enything developed and delivered
     undér this Ordering Document resulting from the services provided hereunder and to authorize others to do solely for
     the development and/or use of a government-operated health insurance exchange and eligibility automation system in
     accordancé with the Affordable Health Care Act and applicable regulations or Federal purposes. You shall not have
     any other rights in or to anything developed and delivered to you hereunder. Oracle retains all ownership and
     intellectual property rights to anything developed and delivered to you hereunder. Neither you nor a¡y third party,
     may t**ove oimodify (or allow any third party to remove or modifr) any notice of Oracle's proprietary rights in
     and/or on anything developed and delivered to you hereunder.



This quote is valid through May 31, 2013 and shall become binding upon execution by you and acceptance by Oracle.

Oregon llealth Insurance Exchange dba                               Oracle America, Inc.
Cover Oregon


Authorized Signature:                                               Authorized Signature:
                       q         t¡
l*iame:                                                             Name:
                                                                                       #å¿,$lþ$üfæJ$ut
Title:                                                               Title:

Signature Date:                                                      Signature Date:           4 lzo/      tt
                                                                                                 {r
Ordering Document Effective Date:      April 28, 2013




200959 Cover Oregon ODTME 04282013                                                                               Page2 of24


                                                                                                     EXHIBIT C
                                                                                                 PAGE 73 OF 189
            Case 3:14-cv-01279-BR                 Document 18-2 Filed 09/08/14 Page 3 of 55
            Case 3:14-cv-01532-BR                 Document 1-3 Filed 09/25/14 Page 74 of 86




OTaACLE
                                            TIMD AND MATERIALS E)ilIIBIT


ORACLE CONTRACT INFORMATION
Customer Name   : Oregon    Health Insuance Exchange Covm Oregon dba Cover Oregon

Ordering Document   Number:      US-2034622'AD -28- APR-20   I3


Exhibit Number: Exhibit I-TME-300388671

This exhibit incorporaÍes     reference the terms of the       document           above,



Descriotion of Services
        Oraole will provide you with an estimated 22,643 penion days (181,146 hours) to assist with the completion of
        the Cover Oregon ("CO" or "you" or 'frourn') implementation of the Health lnsurance Exchange system ('oOR
        HtX'). Oracle will assist you with the following tasks in support of your initiatives utilizing the following
        applications which are collectively roferred to herein as "Tatget Applicafion(s)":

            SÍebel AnnlicatÊonsi
            r   Siebel Public Sector 8.2

            Oracle Policy Àutomation (OPA)
            . Oracle Determination Server 10.4 ("ODS')
            r Oracle Polioy Automation i0.4 ('OPA')
            r Oraole Policy Modeling 10.4 ("OPM')
            . Oracle Web Dcterminations 10.4 ('OV/D")
            r Siebel Connector 10.4 ("Siebel Connector")
            PeonleSoft FSCM A,plrlications (version 9'Ð¡
            . General Ledger
            ¡   Payables
            .   Receivables
            .   Cash Management
            .   Financial Gatery4y
            .   Biling
            e    eBill Payment
            r   AssctManagement

            OrqçlgMiddlewa re      P   rod ucts
            o    Weblogic Suite version 10.3.6
            .    rtrebl.ogic Server management Pack Enterprise Edition version 1 1.2
            o    SOA Suite for Oracle Middleware version 1 1.1.1.ó includes
                      r Oracle Business Process Exesution Language ("BPEL")
                      ¡ Oracle Mediator

200959 Covcr Oregon ODTME 042820L3                                                                     Page3 of24


                                                                                               EXHIBIT C
                                                                                           PAGE 74 OF 189
          Case 3:14-cv-01279-BR                 Document 18-2 Filed 09/08/14 Page 4 of 55
          Case 3:14-cv-01532-BR                 Document 1-3 Filed 09/25/14 Page 75 of 86




                  .    Oracle Rules
                  .    OracleHuman Workflow
                  .    Oracle Service Bus
                  '    Oracle Business   Activþ MonitorÍng
         .    Oracle Application Integration Architecture Foundation Pack 11.1
         .    Oracle Customer Master Data Management Integration Base Pack I l.l
         r    Oracle Customer Master Data Management Integration Option for Siebel CRM             1   1'   I

         Oracle Fusiness Intelliqence
         . Oracle Business Intelligence Suiæ Enterprise Eclition ("OBIEE") version          l1.l
         . Oracle Financial Analytics Fusion Edition version 7.9.6
         r InformatioaPowerCenter
         ¡ InformaticaPowerCenterAdapters
                  o    WebCenter Portal
                  o    WebCenterlnteraotion
                  o    \MebCenter Content

         Oracle lVebCenter
         ¡    Oracle lùy'ebCenter Suite l lg:
                  o   WebCenter Portal
                  o    WebCenter lnteraction
                  o    WebCenter Content

         A.   Base Implementation
              Oracle has estimated an allocatian of 9,232 person days to assist you with the implementation of the use
              cases and assistance will be comprised of the fotlowing types of activities:
                    r Assist with the following projËct and program management activities:
                          1. Á,ssist with program management;
                          2.   Participate in project meetings;
                          3.   Assist with milestone planning;
                          4. Assist with communications; arrd
                        . 5. Assistwithprogramissue,riskanddecisions.
                          6. Assist with project scheduling.
                      o Assist with the analysis, desigr¡ build and unit testing of Siebel Application functionality for the
                        following estimates (please refer to Appendix I for complexity definitions):
                             l. One hundred nincty (190) low level configuration changes;
                             2. One hundred eight (108) medium level configuration changes;
                             3. Forty seven (47) low complexity workflow processes;
                             4. Sixty one (61) medium complexþ workflow processês;
                             5. Nine (9) medium complexity Assignment Managers using Siebel Tools;
                             6. One (l) low complexity batch integration;
                             7. Twenty (20) medium complexity batch integrations;
                             8. Twenty eight (28) low complexþ real-time integrations;
                             9. Ninety (90) medium complexity reaJ-time integtations;
                             10. One (l) high cornplexity real-time integration; and
                             11. Seven (7) high complexi¡r BI Publisher reports.
                             12. Thirteen (13) Corespondence templates for Notices
                      r Assist with discovery, desþ, build" unit testing and deployment of an Oracle Policy
                        Automation Rulebase to:




200959 Cover Oregon ODTME M282013                                                                               Page   4 of24


                                                                                                   EXHIBIT C
                                                                                               PAGE 75 OF 189
          Case 3:14-cv-01279-BR               Document 18-2 Filed 09/08/14 Page 5 of 55
          Case 3:14-cv-01532-BR               Document 1-3 Filed 09/25/14 Page 76 of 86




                         1.   Conduct an online web interview implementing tåe information display, data collection,
                              and webpage behavior describcd in the following requirements documents providedto
                              Oracle:
                                  a.   EEl0 Individual ldentifies Primary Contact;
                                  b.   EEll      hrdividual Enters Household Data;
                                  c.   EEl2 Individual Enters Household Income;
                                  d.   EEl3a Individual Completes Application;
                                  e.   EEl3b Individual Reviews, Declares and Files; and
                                  f.   EE2l Individual Reports Household Changes;
                         2.   Implement an electronic submission of collected datato Siebel for storage and further
                              processing.
                   e'Assist with the discovery, design, build and unittesting of the PeopleSoft Financials applioation
                     functionality to:
                          1. lntegrate data from Seibel that would result in Bills or Payments in the financial system.
                         2.   Create Receivable entries forBills generated by process.
                         3.   Book any economic events from Receivables (creating ot collecting on a receivable) or
                              Payables (generating AP and noting payments / checks / warrants) to the General
                              Ledger.
                         4.   Utilize Cash Management and Financial Cateway to manage the Treasury components
                              associated with the collection of recoivables and the generation of Payments.
                         5.   All estimated changes are as follows:
                                   a. .Two (2) complex real time interfaces;
                                   .
                                   b   One ( I ) easy and eleven ( 1 I ) complex batch interfaoes;
                                  c.   Two (2) moderate conversions;
                                  d.   Two (2) moderate delivered worldlows;
                                  e,   One (1) easybatch process;
                                  f.   One (1) easy and four (4) moderafe reports; and
                                  g.   A bucket of 125 days (1,000 hours) to implement additional reports,
                   r Assist with the discovery, design, build, and uait testing of WebCenter Application functionality
                     associated with the use cases comprised of the following estimates:
                          1. One hundred fifty nine (159) very low complexity WebCenter pages;
                         2.   One hundred sixty tfiree (163) low complexþ WebOentor pages;
                         3.   Forty four (44) moderate complexity'WebCenter pages;
                         4.   Elcven (1 l) cornplex complexity WebCenter pages;
                              'lVebCenter
                         5.                security policies; and
                         6.   Integration with the following Oracle Products:
                                  ù.   IDM for Single Sþ On and User registration self-service;
                                  b.   OPA to display OPA questionnaires;
                                  c.   Seibel for end user functionalþ using tle Oracle SOA Suite; and
                                  d.   Oracle V/ebCenter Content for content management.
                   r Assist with the discovery, technical desþ, build and testing of Oracle SOA Suite integlations
                     associated with the us¡e cases comprised ofthe following:
                          1. Fonty four (44) low complexity integrations;
                         2.    Seventeen (17) moderate complexity integrations; and
                         3.   Nine (9) complex complexþ integrations.
                   . Provide up to sixty (60) person days to assist with the resolution of defects in the base
                     functionality identified by you during testing.
                   ¡ Assist with design documentation.
                   r Provide an estimated 1,449 person days ofpost production support from I 0/1/13 through
                      l2l3ll13 for issues related to Siebel, OPA" V/ebCenter, PeopleSoft and SOA Suite



200959 Cover Oregon ODTME 04282013                                                                       Page 5   of24


                                                                                               EXHIBIT C
                                                                                           PAGE 76 OF 189
          Case 3:14-cv-01279-BR                Document 18-2 Filed 09/08/14 Page 6 of 55
          Case 3:14-cv-01532-BR                Document 1-3 Filed 09/25/14 Page 77 of 86




                         confìgurations developed by Oracle. This offort is included in the overall effort forthe Base
                         knplementat ion of 9,232person days,



         B.    Foundatign Services
                    r Perfonn Applications and Foundational Services migration of configurations to CO
                      environments. Applications migration is estimated as2,208 person days and Foundational
                      Services migration is estimated as 184 person days.
                    ¡ Assist with the discovery, design, build, unit testing and defect fixing of Foundational Services
                      scopethat applies to ORHD(. This effott is estimated as 2,168 person days.


         C.    Lnagins for P.aper/Emailed/Faxed Applícdions
               Oracle has estimated an allocation of 426 peft¡on days to assist you with the following types of activities:
                     . Support ofthe design of document scanningn data capture, and indexing processes in the State
                       hnaging and Records Managønent Systems (IRMS) facility to suppott the new streamlined
                       Paper Application and Supplemental Material requests (also known as Verification documents).
                     r Intcgration to transfer scanned images and associated data files for the new streamlined Paper
                       Application and Supplemental Material requests from IRMS to Cover Oregon and add the files
                       to and associated load processes into Oracle ÏVebCenter Content.
                     ¡ Disoovery, desigr¡ build and unit testing of the following SOA processes:
                            l. Post files from IRMS to tbe Cover Oregon WebCenter Content repository; and
                           2. Create Siebel service requests for new the new sheamlined Paper Application and
                                Supplemental Material requests.
                     r Configuration of Siebel servioe request functionality to select and view the new streamlined
                       Paper Applicatìon and Suprplemental Materi¿l request service requests, view the image
                       associated with the service request and open the existing OPA eligibility questionnaire for data
                         entrY.
                     .   Design, build, and unit testing of the following functionality to support the Supplemental
                         Material Request cover sheet:
                             1. The Supplemental Material Request form including a preprogrammed bar code using
                                  Oraole Bl Publisher;
                             2.   Configuration changes to Siebel Case Management functionality to include initiation of
                                 the printing of the Supplemental Material Request form.
                     ¡   Assist with the resolution of defects in Siebel, rvVebCenter Content and SOA components as it
                         pertains to Imaging for PaperlEmailedÆaxed Applications firnctionality identified during testing
                         performed by Cover Oregon.
                     r   All Siebel estimated changes are as follows:
                              1. Twelve (12) low level configurafion changes;
                             2.   Thres (3) medium level configuration changes; and
                             3.   Two (2) medium complexity real-time integrations.


          D.   January-to Decernber 2014 Post Productio¡ Support
               Oracle has estimated an allocatian of 7,176 person days to assist you with the following types    of
               activities:
                                                            lllll4 through l2l3lll4 for issues related to Siebel, OPA,
                       r Provide post production support ftam
                         ïVebCenter, PeopleSoft, MDM, Business Intelligence and SOA Suite configurations developed
                         by Oracle.




200959 Cover0regon ODTME 04282013                                                                            Page6 of24


                                                                                                   EXHIBIT C
                                                                                               PAGE 77 OF 189
          Case 3:14-cv-01279-BR                Document 18-2 Filed 09/08/14 Page 7 of 55
          Case 3:14-cv-01532-BR                Document 1-3 Filed 09/25/14 Page 78 of 86




          E.   PeopleSoft Asset Management & Siebel Fixpacks
               Oracle has estimated an allocation of 243 person days to assist you with the following activities:
                     r Assist with the discovery, design, build and unit testing of PeopleSoft Asset Management
                       functionality for the following estimates:
                             l. Creation and tracking of Asseß in the financial system-
                             2. The booking of depreciation forassets inthe system and provide for the delivered
                                integration between Assets and General Ledger.
                             3. The ability to transfer and cyole count assets in the system.
                             4.        One (l) delivered asset conversion
                             5.        Two (2) reports of medium oomplexity
                     r                 Assist with the resolution of defects in PeopleSoft Asset Management as it
                       pertains to Imaging for Paper/EmailedÆaxed Applications functionality identified during testing
                       performed by Cover Oregon.
                     . Apply two (2) fixpacks to the Siebel envirorunents.
          F.   Financial Analytics
               Oracle has estimated an allocation of 152 person days to assist you with the following activities:
                     ¡ Implement the following Oracle Financial Analytics Fusion Edition modules against PeopleSoft
                       Financials using predefìned adapters:
                             1. GL&Profitability;
                             2. Accounts Payable; and
                             3. Accounts Receivable.
                     r   Assist with data loads from PeopleSoft into the Oracle F'inancial Analytics Data lVarehouse .
                     ¡   Assist with the discovery, design, build, and unitæsting of up to three (3) moderate complexity
                         u¡stom reports using the Oracle Financial Analytics Data Warehouse as data source.
                     r   Provide up to ten (10) person days to assist with the resolution of defects in Oracle Financial
                         Analytics standard furrctionality identified by you during testing.

          G.   May I   ø   Decembet 31. 2013 Additional Activities
               As stated below, the estimate for the services described herein is Forty Five Million Three Hundred
               Twenty Two Thousand One Hundred Fou$een dollars ($45,322,114). Included inthis amount is
               $l,000,000worthofhourstobeusedin theremainderofcalendaryear2013(Il¿Iay1-Dec.ember3l,
               2013) for additional activities you request Oracle to perform related to any of the following products (on
               Cover Oregon environments): Siebel Applications, Oracle Policy Automation, PeopleSoft FSCM
               Applications, Oracle Middleware Products, Oracle Business Intelligence, and Oraole ïVebCenter. Any
               requested additional activities will be handled tbrough the Oracle Change Contool Process, as described
               in Section 5 below. Once an additional activity is approved, it will be handled as aZ-ero Dollar Change
               Order, decrementing the additional activþ dollars until sush dollars are exhausted. Any additional
               activþ dollars remaining as of Decernber 31, 2013 will expire unused and hours used toward such
               dollars cannot be rolled forward to20L4, unless mutually agreed otherwise by both parties. Ifthe
               contract value decreases, the additional aotivity dolla¡s will be reevaluated and adjusted in an Ordering
               Document Amendment. Oracle will not invoioe you for horns specifically attributable to additional
               activities and suoh hours will be considered non-billable time. The total value of hours spent on
               additional activities during the period of May l-2013 - December 31,2013 shall not exceed
               $1,000,000.00.




200959 Cover Oregon ODTME 04292013                                                                         PageT of24


                                                                                                  EXHIBIT C
                                                                                              PAGE 78 OF 189
               Case 3:14-cv-01279-BR              Document 18-2 Filed 09/08/14 Page 8 of 55
               Case 3:14-cv-01532-BR              Document 1-3 Filed 09/25/14 Page 79 of 86




               H. JanuarvJtoDecem@
                   As stated below, the estimate forthe services described herein is Forty Five Million Three Hundred
                   Twenty Two Thousand One Hundred Fourteen dolla¡s ($45,322,114). Included in this amount is
                   $1,00d,000 worth of hours for use during calendar year2074 (January 1 - December 31,2014) for
                   additional activities you request Oracle to perform related to any of the following products (on Cover
                   Oregon environments): Siebel Applications, Oracle Policy Automation, PeopleSoft FSCM Applications,
                   Oraõle Middleware Products, Oracle Business Intelligence, and Oracle WebCenter. Any requested
                   additional activities will be handled through the Oracle Change Conbol Process, as describ€d in Section
                   5 below. Once an additional activity is approved, itwill be handled as a Zero Dollar Change Order,
                   decrementing the additional activity dollars until such dollars are exhausted. Any additional aotivity
                   dollars remaitring as of December37,2014 will expire unused. Ifthe contract value decreases, the
                   additional activity dollars will be reevaluated and adjusted in an Ordering Document Amendment.
                   Oraole will not invoice you for hours specifically athibutable to additional activities and such hours will
                   be considered non billable time. The total value of hours spent on additional activities during the period
                   of January 1-2014 - Decembet 31,2014 shall not exceed $1,000,0Û0.00.


               L   Projecf Reportins
                   Provide a Monthly Status Report which describes the current state, needs, and issues ofthe project. The
                   Monthly Status Report includes the following:
                         r Status of work performed ag:ainst the Work Plan;
                         . Scheduled work for the next reporting period;
                         r Cov€r Oregon responsibilities for the next rcporting period;
                         r Projected task eompletion dates against the Work Plan;
                         ¡ Recovery plan for off-schedule tasks;
                         . Escalated issues and action items;
                         r New and revised risks;
                         . Important decisions made in the lastreporting period;
                         ¡ Financial performance review;
                         e Detailed reporting of consultant hours for the month, by person; and
                         o Ðotailed reporting of anticipated consultant hours for the coming month, by person"



2.   Your Obligations and Project Assumptions.
     You acknorrledge that your timeþ provision of and accpss to ofüce accommodationg facilities, equipment assistance,
     cooperation, compleæ and accurate information and data from your offrcers and employees, and suitably configured
     computer products (colleotively, "cooperation') are essential to the performance of any sewices as set forth in this
     exhibit. Oracle will not be responsible for any deficiency in perforrning services if such defioiency results from your
     failure to provide full cooperation.

     You acknowledge that Oracle's ability to perform the services and any related estimate depends upon your
     fulfillment of the following obligations and the following project assumptions:

     A.   Proiect ObligatÍong.
          You shall:
          1, Maintain the properly oonfigured hardware/operating system platforrn to support the services.
          2.   Obtaín licenses for any necessary Oracle prCIgrarns and hardware or the rrcquired hosted environments
               before the commencement of servioes.
          3.   Maintain annual technical support for the Oracle programs tfuoughout the term of the services.
          4.   Provide Oracle with full access to relevant functional, technical and business resources with adequate



20A959 Cover Oregon ODTME 04282013                                                                              Page 8   of24


                                                                                                      EXHIBIT C
                                                                                                  PAGE 79 OF 189
          Case 3:14-cv-01279-BR              Document 18-2 Filed 09/08/14 Page 9 of 55
          Case 3:14-cv-01532-BR              Document 1-3 Filed 09/25/14 Page 80 of 86




           skills and knowledge to suppoft the performance of services.
      5. Provide for all Oracle resources performing servicæs atyour site, a safe and healthful workspace (e.g,,
           a workspace that is free from recognized hazards that are causing, or likely to caus€, death or serious
           physical harm, a workspace that has proper ventilation, sound levels acceptable for resources
           performing services in the workspace, and ergonomieally correct work stations, etc.).
      6. Provide any notices, and obtain any consents required for Oracle to perform services under this
           exhibit.
      7. Limit Oracle's af,,oess to any production environments or shared development environments to the
           extent necessary for Oracle to perform services.
      8. As required by U.S. Deparfrnent of Labor regulations (20 CFR 655.734), allow Oracle to post a
           Notice regarding Oracle H-lB employee(s) aÎ the work site prior to the employee's arrival on site.
      9. Provide Oracle with notice of change in work schedule a minimum of one (1) week betbre change is
           to be implemented.
      10. Provide Oracle with notice of change in work location a minimum oftwo (2) weeks before change is
           to be implemented.
      I l. Provide reasonable workspace for all Oracle consultants with basic amenities including a phone and
           an Internet high-speed connection for the pur?oses of connecting to the Oracle network via the
           Oracle Virtual Private Network (VPN),
      12. Procure required hardware and software for VPN asc€ss to Oracle consultants working remotely to
           your clientts systems, applications, databases, and tools.
      13. You will honor all holidays honored by Oracle. With your petmission, Oracle stafimay choose to
           work government holidays and weekends, provided workspaces are available. During holiday worþ
           there is no expectation of your staffparticipation.
      14. Perform all of your procurement and installation responsibilities (including but not limited to, direct
           procurement of hardware/softwar€, installation of servers, supplying of power, completion of wiring,
           laying of fiber, etc,) required for this project. Further, you agree to perfonn all such responsibilities
           in atimely manner-defined as being in concert with the project schedule and not causing negative
           impact to the projeot schedule.
      15. Provide and maintain the Cover Oregon purchased developmen! test and production infrashucture
           environments for the Target Applications, including servers, operating systems, databases, etc. Cover
           Oregon is responsible for purohasing any additional infrasfucture that is deemed necessary to support their
           activities.
      16. Provide the required administrative support for housing the Oracle server and the database server in
           accordance with Orasle specifications. Provide acoËss to Cover Oregon's network and provide acoess for
           rernote workers. Cover Oregon is responsible for purchasing the servers required for the Target
           Applications. These servers, administered by Oracle On Demand, will be accessible over a Local Area
           Network (LAN) or \r/ide AreaNetwork (WAN) provided by Cover Oregon. Cover Oregon is responsible to
           provide network acc€ss for all infrastructure required to complete the project.
      17 . Be responsible for desigu of any changes to legacy applications or other new applications that will be
           necessitated by the implementation ofthe Target Application(s).
      I 8. Be responsible for tJre legacy touch-points portion of any interface, e.g., the actual extract from and/or feed
            into the legacy applications.
      19. Provide database administration services as per the Oracle On Demand Contract Statement of Work. Cover
           'Or"gon
                     is responsible for information systems management for all systems otlerthan the Target
           Applications and their network. Provide Web adminisfation services as per the Oracle On Demand Contract
            Statement of Work.
      20. Perform regular virus testing at least once every twenty-four (24) hours with the latest version of a
           widely used, industry accepted, virus testing sofüvare, and develop and be compliant with starrdard
            backup and data recovery procedures, baoking up at least once every twenty-four (24) hours.
      2l. Be responsible for all rcasonable backup and recovery to ensure no interruption of work in the
            development, test, training, and production environments.



200959 Cover Oregon ODTME 04282013                                                                        Page9 of24


                                                                                                 EXHIBIT C
                                                                                             PAGE 80 OF 189
                Case 3:14-cv-01279-BR Document 18-2 Filed 09/08/14 Page 10 of 55
                Case 3:14-cv-01532-BR Document 1-3 Filed 09/25/14 Page 81 of 86




        22. Be responsible for any design changes required to external applications that interact with the Target
            Applications.
        23. Provide all formal business process change management activity rel¿ted to the performance of
            servioes provided under this Exhibit.
        24. Provide an altemative sourc€ with web services or APIs of comparable complexity to Federal Data
            Hub, if the Federal Data Hub is not available in the timeframe of this projecl
        25. Obtain an initial copy of Foundational Services functionality, configurations, and documentation
            from DHS/OHA at the start of the project,
        26. Obtflirtregular updafes of Foundational Services functionality, configurations, and documentation
            from DHS/OIIA corresponding to code complete, testing complete, and production release as well as
            defect fixes for defects identified during Cover Oregon testing.
        27. Coordinate completion of Foundational Services functionality, configurafions, and docurnentation
            with DHS/OHA including management of shared resources and overall Found¿tional Services scope
            and timeline

   You acknowledge that your participation and cooperation is oritical for the Project. The following assumptions are
   based on inforrnation provided by you to Oracle relafing to the Project and Cover Oregon current business
   applications as of the datÊ of this ordering document, and have been used to prepare Oracle's cunent estimated level
   of effort and cost. Deviations from these assumptions may lead to commensurate changes which will be addressed
   through the change conhol process. For purposes of this Section 3, the parties acknowledge that as of the effective
   date of this ordering documen! Cover Orsgon has executed a separate conttact for hosting services to be provided by
                             oo0racle On Ðemand Conffact''). Accordingly, Oracle, as the hosting vendor shall be
   Oracle On Demand (the
   responsible for fhe items in subsections 1,"1,12,15, 16, t9,20, and 21 above and Oracle shall not be entitled to any
   additional fees in the services resulting from Oracle's failure to meet its obligations under such subsections. With
   respectto subsection l2 in particular, Oracle On Demand will provide hardware and infrastructure in accordance
   witå the On Demand Infrastructure Schedule included in the On Demand Contract Statement of Work to meet the
   obligations required by this Section. If the Oracle On Demand Contract is terminated for any reason at any time
   during the performance of this Exhibit, you shall be fully responsible for meeting rcquirements in those subsections
   and Oracle may seek additional fees or other changes through the change control process in acoordanoe with this
   subparagraph.

   B.   Proiect Asg$m[tiong

        1   .   The Soope of Services set forth in Section 1 above represents the services agreed to by the parties to
                implement the Target Applications in a manner which will address the nequirements. Oracle has prepared
                estimates for various tasks and activities included throughout this Exhibit based upon the estimated level of
                effort to irnplement the defined use cas€s for Cover Orrcgon as of the date of this Exhibit. ln addition, O¡acle
                has prepared estimates for additional high-level requirements and processes based upon our undelstanding as
                communicatpd by Cover Oregon. These estimates were provided to serve as a baseline to establish the
                remaining level of effort and cost associated with addressing Cover Oregon requirements. It is the
                responsibility of Oracle and you to manage the scope based upon these cstimafes. You agree to mutually
                manage scope through this mechanism. Any soope/level of effort changes which are mutually agreed to be
                beyond Oracle's time and materials obligations will be documented in writing and be subject to the change
                confi'ol procedures contained within this Exhibit.
        Z.      The services defined under this Exhibit will be performed at Cover Oregon's facility in Ðurham, Oregon
                and/or a remote Oracle location mutually agreed to by Oracle and Cover Oregon.
        3.      Oracle is not responsible for a¡rd does not warrant the performance of the servers, netrvorks, or other
                hardware elements.
        4.      Any issues affecting Oracls's performance of the services and obligations hercunder that the parties are not
                able to promptly resolve will be escalated to the Executive Steering Committee and resolved within three (3)
                business days.



200959 Cover Oregon ODTME 04282013                                                                               Page L0 of24


                                                                                                       EXHIBIT C
                                                                                                   PAGE 81 OF 189
               Case 3:14-cv-01279-BR Document 18-2 Filed 09/08/14 Page 11 of 55
               Case 3:14-cv-01532-BR Document 1-3 Filed 09/25/14 Page 82 of 86




      5. The Oracle Unified Method (OUM) implementation methodolory will be used for implementation.
      6. Oracle's Project Management Method (PJlvÐ will be used to manage the project.
      7. Deliverable documentation assumptions:
         a Document deliverables will be in Microsoft tùVord 2007 format or windows format text files.
         b. The contents of document deliverables (content and sections) will be agreed upon by Cover Oregon and
                Oracle prior to the creation of the deliverable'
               c.
               Architecture diagram deliverables will be in either JPEG image format or Microsoft Visio 2007 format.
               d.
               The Oracle Project Manager and/or Team Leads will meet with your Project Manager and/or Team
                Leads to conduct a walkthrough of deliverables.
      8. During any remaining filgap sessions, Oracle will work with Cover Oregon to review each of the CEMLI
          (Customizations, Extensions, Modifications, Localizations, and Integrations) objects, validate thc associated
          assumptions, and validate the level of effort. Adjustment to the CEMLI list or complexities will be
          processed tårough the Change Control Process.
      9. Oracle will provide Cover Oregon with Consultants, af*Site'),  Cover Oregon facilities, or such other designated
          facilities as the parties may agree upon in writing    (the          during the duration of the Project to desigrr the
          agreed upon Target Application(s). Each C,onsultant will         work on average for four (4) days per week at
          Cover Oregon's facility and one     (l) day per  week atthe     Consultant's Oraole location. As*re Project
          requires, Oracle may elect to stagger the schedule for      its Consultants  so that at least one Consultant will
          remain at Cover Oregon's facility     on each  day ofthe   week.
      10. Cover Oregon will use reasonable efforts to clear the Cover Oregon project team's schedule to expedite the
          review of deliverables.
      11. A month's effort is based on 20 work days.
      12. Oracle's standard documentation format will be used for any documentation prepared during the
          perfomrance of the services-
      13. At your discretion, any services listed in this exhibit may not be performed.
      14. Accessibility support for the Oracle ptoducts is limited to VPATS published on Oraole.oom and effort
          included in Seotion 1.4- Base Implementation.
      15. Foundational Services desigr¡ build, unit test and defect fixing work is not tied to specific uses cases and is
          lirnited to the effort specified in Section 1.4. Base Implementation in this exhibit,
      1ó. Oracle will provide         ¿ssistance with testing stratery, test plan advisory, test script advisory, testing
               consistency, and performance test advisory through a testing advisor resource.
      17   -   Items out of scope which include, without limitation, the following, noting that the following list is not an
               exhaustive list:
               a,  Planning and execution of integration, system, systems integration and performance testing, including
                   development of test plans, test cases and test soripts
               b.  User experience
               c.  Training including development of haining plans, trainíng materials and training delivery
               d.  Organizational Change Management
               e.  Hosting and infrastucture
               f.  Extracti from state and 3d-parly systems
               g.  Mobile device support
               h. Non-English portals
               i. Medicaid assessment contingency plan
               j. User Guides
               k. User or Technical Reforcnce Manuals
      18.      Siebel
               a.  The applicafion will be deployed in one   (l) curency   and one   (l)   language (English).
               b.   Base Implementation
                    ¡   Customer Service (CS) TBD use case complexity is as follows: 3 medium and 2 low conftguration
                        gaps,2 medium and 1 low complexi$rworldlow.



200959 Cover Oregon ODTME 04282A13                                                                               Page71 of24


                                                                                                          EXHIBIT C
                                                                                                      PAGE 82 OF 189
             Case 3:14-cv-01279-BR Document 18-2 Filed 09/08/14 Page 12 of 55
             Case 3:14-cv-01532-BR Document 1-3 Filed 09/25/14 Page 83 of 86




                r Three (3) MMIS interfaces in scope are assumed to be batch integrations of medium complexity'
       19.   Oracle Polioy Automation
             a. The application will be depþed in one (l) currency and one (1) language (English).
             b, OracÉis responsibility for rulebase testing is limited to unit testing and bug-fix support during user
                acceptance testing.
             c.    Implèmentation consists of defining, customizing and integrating the following (please refer to
                   Appendix I for complexþ definitions):
                   r
                  FortY eigft (a8) high complexity interview soneens
                   .
                  Thirteen (13) medium complexity interview screens
                r Nine (9) low complexity interview screens
       20.   PeopleSoft AssetManagement
             r. Asset Management will be implemented in conjunotion and go live at the same time as the existing
                overall PeopleSoft Implementafion'
       21.   Oracle WebCenter Port¿l
             a. WebCenter pages will be developed to rneet the ussr interaction requirements of the use cases.
             b.    WebCe¡ter Portal architecture        will follow   standards previously defined   by Oregon Dopartment of
                Humans Services (DHS) and Oregon Health Authority (OIIA).
       22.   Oracle SOA Suite
             a. SOA processes will be developed to support the integration requirements of the use cases.
             b. SOA architecture and govemance will follow standards previously defined by DHSiOHA.
       23.   Foundational Services Migration
             a. Foundational Servioes consists of the implemented functionality and configurations for the following
                 Oracle soflware product families:
                 r Master Data Management ('MDM");
                 r ldentity Management ("lDM');
                 r WebCenter Content (also known as Universal Content Management or "UCM');
                   .    Service Oriented Architechrre   ('SOA');   and
                   e Business lntelligence ("Bf'),
             b.    Application frrnctionality consists     of the functionality and configurations for the following     Oraole
                   softwa¡e product families:
                   r Siebel;
                   o PeopleSoft;
                   r WebCenter; and
                   r    OPA.
              c.       Application functionality will
                                                  be migrated at the start of the project.
              d.   Cover Oregon Foundæional Services funotionality will be provided as copies at tegulat intervals by
                   DHS/OIIA through Decernber 31, 2013.
              e.   Customization and new functionalþ for Cover Oregon Foundational Services are out of scope except
                   for changes limited to configuration changes necessary for the Foundational Services to operate in the
                   Cover Oregon environment.
              f.   Cover Oregon Applicafion functionality will be reconfigured to access the Cover Oregon Foundational
                   Services.



3.   Rates. Estimated Fees and Expenses.
     A.   The services described services specified above are provided on a time and rnaterials ("T&M") basis; that is, you
          shall pay Otacle for all of the time spent perforrring such services, plus materials, taxes and expenses.




200959 Cover Oregon ODTME 04282013                                                                             Page 12   of24


                                                                                                         EXHIBIT C
                                                                                                     PAGE 83 OF 189
            Case 3:14-cv-01279-BR Document 18-2 Filed 09/08/14 Page 13 of 55
            Case 3:14-cv-01532-BR Document 1-3 Filed 09/25/14 Page 84 of 86




   B.   For a period of one year fi'om the effective date of the ordering document, the services will be prodded at the
        rates set fortlr below. The rates set forth below include an amount for expenses incurred by Oracle in providing
        the services under this exhibit.




                    I               Sr. PracticelTech Director              $374.10

                    I                Practice/Tech Director                 s34.40
                    7                Praotice/Tech Manager                  $303.22

                    6M           Managing Principal Consultant              $285.67

                    6T               Sr. Principal Consultant               $28s.67

                    5                  Principal Consultant                 $2s6.64

                    4                   Senior Consultant                   $229.s1

                    3                    StaffConsultant                    s207.23

                    2                 Associate Consultant                  s177.45

                    4              Reston Delivery Center Sr.               $201.50
                                          Consultant
                    3             Reston Delivery Center Staff               $201.s0
                    ,)          Reston Delivery Center Associate             9177.45

                    4              Reston Delivery Center Sr                 $164.00
                                       Consultant-Remote
                    3            Reston Delivery Center Staff-               $164.00
                                             Remote
                    1           Reston Delivery Center Associate-            $r39.E8
                                             Remote



   C, Atl fees and expeûses will be invoiced   monthly. The fee estimate for labor, travel and out of pocket expenses
        performed under this exhibit is Forty Five Million Three Hundred Twenty Two Thousand One Hundred Fourteen
        dollars (545,322,114). These estimates and any other estimates related to this orhibit are intended only to be for
        your budgeting and Oracle's resource scheduling purposes; these estimates do not include taxes. Oracle will
        invoice you for actu¿l time spent performing the services, plus materials, and tæres; such invoice may exceed the
        total estimated amount documented above. Once fees for services reach the estimate, Oracle will cooperate with
        you to provide continuing services on a T&M basis.

   D.   The parties acknowledge thæ temporary living reimbursements to Oracle provided resources(s) may be deemed
        compensatory under federal, state, and local tax laws if a resource's assignment in a particular location will
                                           'Where
        exceed or has exceeded one year.          reasonably possible, Oracle will ptan with you to limit the duration of a
        resource's assignment in a particular location to less th¿n one yôar. If the requirements of the services are such
        that it becomes necessary for a resource's services in a particular location to continue for a year or more and as a
        resul! the reimbursement of such resource's living expenses ar€ deerned compensatory for tax purposes, ther¡
        Oracle shall be paid the amount of additional compensation provided to such resourc€ to compensate for taxes
        irnposed.




200959 Cover Oregon ODTME 042E2013                                                                          Page 13 of24



                                                                                                   EXHIBIT C
                                                                                               PAGE 84 OF 189
           Case 3:14-cv-01279-BR Document 18-2 Filed 09/08/14 Page 14 of 55
           Case 3:14-cv-01532-BR Document 1-3 Filed 09/25/14 Page 85 of 86




   E.   Project Finanoial Holdbacks

        For the first seven (7) montls of the ploject (May l, 2013-November 30, 2013), frve (5) percent of the total
        invoiced value for each monthly invoice shall be withheld as the Project Holdback Amount, In months three (3),
        five (5) and seven Q), wtExecutive Status Meeting will be conducted to reviewthe Monthly Project Reports and
        the overall project progr€ss to dæe. If the work performed is in accordance with the defined project plan and
        defined activities as set forth in this Exhibit and as may be revised by the parties using standard Change Control
        procedures during the course of performance, Cover Oregon shall authorize release of a partial amount of the
        cumulative Project Holdback Amount (a'oRelease") in accordance with the schedule setforth below, by
        signature of the Project Holdbaok Release form. The estimated values ofthe invoices and holdback smounts âre
        listed in the table below. Due to the time and materials nature of the work to be performed under this Exhibit,
        the actual amounts invoiced for each month may vary; however, unless there is significant deviation in the
        estimated invoice amounts, Cover Oregon agrees to keep the Holdbaok Release Amount as listed below. In the
        event of a significant deviation, a new schedule will be defined using the standard Change Conhol procedures In
        addition, all HoldbackAmounts will be released upon reaching a production ready environment, or ifthe
        contract is terminated for convenience in accordance with the Agreement, whichever event may occur flrst.

        Month                         úl            o\             t3l           ltì              t5)            fól               (71

        Estimated Invoice Total   $6,295,806     $6227,680      $5,178,448    s4,7@,278        $4,423,69s     $1,856,447      $t,856,447
        Cumulativo Invoicc        $6.295,806    112,523,486    $17 701,934   Î22,462212       $26,885,907    s28,742,354     $30,598,801
        Total
        Hotdback Amount (5%        $3r4J90        $3 I 1,384     s2s8922       $238,014         $221,r85         $9?-822
        oer invoice)
        Cumulative Holdback        $3 I 4,790     î626,t74       $885,096     $1,123,1   I0    $t,3,14,295    $ 1,437,117
        Amount
        Holdback Release                                         $400,000                       $500,000                          $537,t r?
        Amount
        RemaÍning Holdback         $3 r4,790      s626,174       $485,096      $723,1    l0     $444,295       $537,1   t7
        Balancc




200959 CoverOregon ODTME 04282013                                                                                       Page 14   of24


                                                                                                            EXHIBIT C
                                                                                                        PAGE 85 OF 189
             Case 3:14-cv-01279-BR Document 18-2 Filed 09/08/14 Page 15 of 55
             Case 3:14-cv-01532-BR Document 1-3 Filed 09/25/14 Page 86 of 86




C)leACL€
                                     PROJECT HOLDBACK RELEASE X'ORM
                                                                                              Number:


Customer:         Cover   Oregon                              Proiect #: 300388671

Project: Cover Oregon     IID(                                Task (s) #:

Initiated   by:                                               Date:
Reference:

Proj ect llold bsck Description:

Please list the project holdback description and amount(s) assooiated with this Project Holdback Release Form:

                                                                                             s

                                                                                             s

                                                                                             $

Include detailed explanation where necessalyz {delete as approprtatu}

{Insert detuílecl explanøtÎo   nl



Signed   for Cover Oregon                              Date




Signed for Oracle America, Inc.                          Dúe




200959 Cover Oregon ODTME 04282013                                                                        Page 15   of24


                                                                                                 EXHIBIT C
                                                                                             PAGE 86 OF 189
